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        Allison Mendoza, in their official capacities
    9
   10                       IN THE UNITED STATES DISTRICT COURT
   11                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   12                                        CIVIL DIVISION
   13
   14   JAMES MILLER et al.,                             Case No. 3:19-cv-01537-BEN-JLB
   15                                      Plaintiffs,
                                                         DECLARATION OF JOHN D.
   16                 v.                                 ECHEVERRIA IN SUPPORT OF
   17                                                    DEFENDANTS’ BRIEF IN
                                                         RESPONSE TO THE COURT’S
   18   CALIFORNIA ATTORNEY                              ORDER ENTERED ON
        GENERAL ROB BONTA et al.,                        DECEMBER 15, 2022
   19
                                        Defendants. Courtroom: 5A
   20                                               Judge:        Hon. Roger T. Benitez
                                                    Action Filed: August 15, 2019
   21
   22
   23
   24
   25          1
                Rob Bonta has succeeded former Attorney General Xavier Becerra as the
   26   Attorney General of the State of California, and Allison Mendoza is the current
        Acting Director of the Bureau of Firearms. Pursuant to Federal Rule of Civil
   27   Procedure 25(d), Attorney General Bonta and Acting Director Mendoza, in their
   28   respective official capacities, are substituted as the defendants in this case.
                                                       1
          Declaration of John D. Echeverria in Support of Defendants’ Brief in Response to the Court’s
                        Order Entered on December 15, 2022 (3:19-cv-01537-BEN-JLB)
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    1   I, John D. Echeverria, declare as follows:
    2            1.   I am a Deputy Attorney General with the California Department of
    3   Justice and serve as counsel to Defendants in the above-captioned matter. Except
    4   as otherwise stated, I have personal knowledge of the facts set forth in this
    5   declaration, and if called upon as a witness I could testify competently as to those
    6   facts.
    7            2.   Attached hereto as Exhibit 1 is a true and correct copy of the
    8   Declaration of Dennis Baron, dated November 7, 2022, filed in the matter, Duncan
    9   v. Bonta, U.S. District Court for the Southern District of California, Case No. 17-
   10   cv-1017-BEN-JLB.
   11            3.   Attached hereto as Exhibit 2 is a true and correct copy of the
   12   Supplemental Expert Report and Declaration of Colonel (Ret.) Craig Tucker, dated
   13   January 6, 2023, filed in the matter, Rupp v. Bonta, U.S. District Court for the
   14   Central District of California, Case No. 8:17-cv-00746-JLS-JDE.
   15            4.   Attached hereto as Exhibit 3 is a true and correct copy of the
   16   Declaration of Kevin Sweeney, dated February 5, 2023, filed in the matter, Oregon
   17   Firearms Fed’n v. Brown, U.S. District Court for the District of Oregon, Case Nos.
   18   2:22-cv-01815-IM, 3:22-cv-01859-IM, 3:22-cv-01862-IM, 3:22-cv-01869-IM.
   19        I declare under penalty of perjury under the laws of the United States of
   20   America that the foregoing is true and correct. Executed on February 10, 2023, at
   21   San Francisco, California.
   22                                                           s/ John D. Echeverria
                                                                 John D. Echeverria
   23
   24
   25
   26
   27
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                                                       2
          Declaration of John D. Echeverria in Support of Defendants’ Brief in Response to the Court’s
                        Order Entered on December 15, 2022 (3:19-cv-01537-BEN-JLB)
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      Exhibit                       Description                      Page No.


         1        Declaration of Dennis Baron, dated November 7,      1-22
                  2022, filed in the matter, Duncan v. Bonta, U.S.
                  District Court for the Southern District of
                  California, Case No. 17-cv-1017-BEN-JLB


         2        Supplemental Expert Report and Declaration of       23-39
                  Colonel (Ret.) Craig Tucker, dated January 6,
                  2023, filed in the matter, Rupp v. Bonta, U.S.
                  District Court for the Central District of
                  California, Case No. 8:17-cv-00746-JLS-JDE


         3        Declaration of Kevin Sweeney, dated February        40-73
                  5, 2023, filed in the matter, Oregon Firearms
                  Fed’n v. Brown, U.S. District Court for the
                  District of Oregon, Case Nos. 2:22-cv-01815-
                  IM, 3:22-cv-01859-IM, 3:22-cv-01862-IM,
                  3:22-cv-01869-IM
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                                EXHIBIT 1




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        official C(J]Jacity as Attorney General of the
    8   Slate of California
    9                      IN THE UNITED STATES DISTRICT COURT
   10                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   11                                     CIVIL DIVISION
   12
   13 VIRGINIA DUNCAN, RICHARD                        Case No. 17-cv-1017-BEN-JLB
      LEWIS, PATRICK LOVETTE,
   14 DAVID MARGUGLIO,
      CHRISTOPHER WADDELL, and                       DECLARATION OF DENNIS
   15 CALIFORNIA RIFLE & PISTOL                      BARON
      ASSOCIATION, INC., a California
   16 corporation,                                    Courtroom:    5A
                                                      Judge:        Hon. Roger T. Benitez
   17                                     Plaintiffs, Action Filed: May 17, 2017
   18               v.
   19
      ROB BONTA, in his official ca�acity as
   20 Attorner General of the State of
      California; and DOES 1-10,
   21
                                 Defendants.
   22
   23
   24
   25
   26
   27
   28
                                       Declaration of Dennis Barron
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    1                        DECLARATION OF DENNIS BARON
    2        I, Dennis Baron, declare under penalty of perjury that the following is true and
    3   correct:
    4          1.    I have been retained by the State of California to provide expert
    5   opinion and testimony regarding Corpus Linguistics research. I am being
    6   compensated at a rate of $350 per hour.
    7         2.     I have evaluated the historical use of the terms arms and
    8   accoutrements in order to show that large-capacity magazines (henceforth, LCMs ),
    9   along with magazines in general, ammunition cases, cartridge cases or boxes, and
   10   other ammunition storage containers or devices are not arms but are part of the
   11   category known as accoutrements from the Founding Era through the period
   12   following the ratification of the Fourteenth Amendment.
   13                      BACKGROUND AND QUALIFICATIONS
   14         3.     I am a resident of Champaign, Illinois, and I am currently Professor
   15   Emeritus and Research Professor at the University of Illinois, where I have served
   16   as a member of both the Department of English and the Department of Linguistics
   17   since 1975. I served as Head of the Department of English for six years and before
   18   that as Director of Rhetoric at the university for 11 years. I earned my Ph.D. in
   19   English language and literature from the University of Michigan in 1971, with a
  20    dissertation on historical aspects of the English language from Old English to
  21    Present-Day English, and I continue to publish widely on matters of historical
  22    language use, and on topics related to language and law. I am a life member of the
  23    Linguistic Society of America, the American Dialect Society, and the Modem
  24    Language Association, as well as a member of the National Council of Teachers of
  25    English. I have held a Fulbright Fellowship (to France), a National Endowment for
  26    the Humanities Fellowship, for work on a book on language and law, and, most
  27    recently, a Guggenheim Fellowship, for work on my latest book on language and
  28
                                                   1
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    1   law. I have also published books on language reform, on usage, and on gender in
    2   language.
    3         4.     Most relevant for this report, I published two books on language and
    4   law: The English-Only Question: An Official Language for Americans? (Yale Univ.
    5   Press, 1990) and You Can't Always Say What You Want: The Paradox ofFree
    6   Speech (Cambridge Univ. Press, January 2023). In addition, I served as lead author
    7   on what came to be called "the Linguists Brief' in District of Columbia v. Heller
    8   (2008), a brief cited both by J. Scalia in his opinion in the case, and by J. Stevens in
    9   his dissent. I was a co-author on another brief by professors of linguistics and
   10   corpus linguistics, in New York State Rifle and Pistol Ass 'n. v. Bruen (No. 20-843,
   11   2022), which J. Breyer cited in his dissent. In that dissent, J. Breyer also quoted
   12   directly from my essay "Corpus evidence and the meaning of 'bear arms"'
   13   (Hastings Constitutional Law Quarterly, 46.3: 2019). I have spoken about historical
   14   meaning and the Second Amendment at the Federalist Society at the Univ. of
   15   Chicago Law School, at the Neubauer Symposium on Historical Semantics at the
   16   Univ. of Chicago, at Brigham Young Univ. Law School, at Stanford University,
   17   and at the conference "Heller after Ten Years" at Hastings College of Law. I've
   18   also written opinion essays on historical meaning and the Second Amendment for
   19   the Washington Post and the Los Angeles Times. And I have submitted a
  20    declaration on behalf of the State of Rhode Island in Ocean State Tactical, LLC, et
  21    al. v. State ofRhode Island (Case No. 1:22-cv-00246-JJM-PAS) (D. R.1.). In the
  22    past twenty years I have been an expert consultant in perhaps a dozen cases
  23    involving document interpretation.
  24          5.     My forthcoming essay, "Look It Up in Your Funk and Wagnalls: How
  25    Courts Define the Words of the Law," an analysis of how courts incorporate
  26    information from dictionaries and digitized corpora as they ascertain legal meaning,
  27    will appear in the next issue of the academic journal of the Dictionary Society of
  28    North America, Dictionaries.
                                                    2
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    1         6.     This report is made based on my professional knowledge and
    2   expertise, and on my research using accepted scientific linguistic methodology in
    3   the field of Corpus Linguistics, the analysis of large digitized corpora consisting of
    4   many millions of words.
    5                                        OPINIONS
    6   I.   SUMMARY OF CONCLUSIONS

    7         7.     Historical evidence from a number of large textual databases, or
    8   corpora, shows that during the Founding Era and the Reconstruction Era, arms is
    9   used as a general term for weapons (typically swords, knives, rifles, and pistols),
   10   but arms does not include ammunition, ammunition containers, flints, scabbards,
   11   holsters, armor, or shields, which are included in the category accoutrements. Nor
   12   does arms refer to parts of weapons, for example the trigger of a gun, the hilt of a
   13   sword, the cartridge box or magazine which holds the bullets. Instead, when this
   14   additional equipment is mentioned, we find phrases like arms and ammunition;
   15   arms and accoutrements; or arms, ammunition, and accoutrements. A phrase like
   16   arms and accoutrements is frequently used in military contexts to distinguish
   17   weaponry from the rest of a soldier or militia member's kit, or equipment. For
   18   example, militia requirements often specify that soldiers have certain arms (pistols,
   19   swords, rifles, according to their rank) as well as certain accoutrements or
  20    equipment (including horses, saddles, cartridge cases or boxes, scabbards, flints,
  21    and so on). When the term accoutrements occurs alone, as in the accoutrements of a
  22    soldier, it may include both arms and accessories. But when the word arms occurs
  23    alone, as it does in the Second Amendment, for example, it does not include these
  24    accessories. And when arms and accoutrements occurs as a phrase, there is a clear
  25    distinction made between weapons and the soldier's accessories.
  26          8.     Militia regulations in the Founding Era often specified the types of
  27    arms required for officers and troops (for example, pistols and/or swords for the
  28    officers; rifles for the lower ranks). And they often specified, separately, the
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    1   different accessories that officers and the rank and file soldiers were also required
    2   to have.
    3   II.   THEORY AND METHODOLOGY

    4          9.    Corpus linguistics as a field developed in the late 1960s, when scholars
    5   began using computer programs to analyze large bodies of digitized text. Initial
    6   work in corpus linguistics did not typically involve legal issues. Literary scholars
    7   developed computerized concordances to the works of Shakespeare, Milton, and
    8   other major English writers. Scholars plotted the frequency of words and phrases in
    9   order to develop a picture of an author's style, and to determine authorship of a
   10   particular work when the provenance was in doubt. Soon, in addition to solving
   11   literary mysteries, the methodologies developed by corpus linguists were
   12   successfully applied in a number of criminal cases in the US and in England
   13   involving, for example, the authorship of a ransom note or an email.
   14         10. Lexicographers, who began compiling large analog databases of text in
   15   the late 19th century, began to digitize their libraries of paper data and to add to that
   16   material, assembling computerized databases of historical and contemporary text
   17   and, more recently, of spoken language as well, in order to arrive at more precise
   18   definitions of the multiple senses of words and phrases.
   19         11.    As a graduate student at the Univ. of Michigan in 1970, I coded analog
  20    texts from the Oxford English Dictionary files to help build the computerized
  21    database for the Dictionary of Early Modem English, the period from 1500--1800
  22    that is particularly relevant to the language of the Founding Era. Today, major
  23    dictionaries like the Oxford English Dictionary and the Merriam-Webster suite of
  24    dictionaries rely on public databases of oral and written language, as well as their
  25    own proprietary databases, in order to revise older definitions and to track the
  26    spread of new words and meanings. The great dictionary makers of Europe use
  27    similar databases in their own work.
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                                                   4
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    1        12. Over the past twenty years, Legal Corpus Linguistics (LCL) has
    2   developed as a subset of Corpus Linguistics. LCL involves the analysis of digitized
    3   corpora of current and historical English to establish meaning-often referred to as
    4   Original Public Meaning (OPM}-in statutes and in the Constitution. The promise
    5   of LCL attracted jurists as well as scholars with a specific interest in language and
    6   law. In Muscarello v. United States (524 US 125 1998), a case which held that "a
    7   person who knowingly possesses and conveys firearms in a vehicle, including in its
    8   glove compartment or truck, can be deemed to be within the scope of the statutory
    9   phrase 'carries a firearm,"' J. Breyer searched two computerized newspaper
   10   databases (Lexis/Nexis for the New York Times and Westlaw, for "US News") to
   11   clarify the meaning of the words carry, vehicle, and weapon. In her dissent, J.
   12   Ginsburg expressed skepticism that either dictionary evidence, or Breyer's
   13   innovative newspaper searches, were useful in determining what Congress intended
   14   by the verb carry in the law in question. Her critique did not deter courts from
   15   performing other computerized data searches to determine legal meaning. In 2012,
   16   Judge Richard Posner, then Chief Judge of the Seventh Circuit, was perhaps the
   17   first jurist to use a general internet search in order to determine a word's meaning in
   18   a statute. Not satisfied with the dictionary definition that the government relied on
   19   in the case before him, Posner ran a Google search to confirm that the word harbor
  20    in the Immigration Act of 1917 does not mean 'shelter,' as the government claimed,
  21    but rather 'hide, conceal from view,' as he felt it must mean in the context of the
  22    statute (United States v. Costello, 2012). Subsequent research by trained corpus
  23    linguists pointed out that a more-structured internet search revealed that harbor can
  24    indeed mean 'provide shelter' as well as the narrower sense, 'hide someone from
  25    the authorities.' But in the context of the Immigration Act, harbor appears
  26    alongside other terms involving secret, illegal activity, and so even though, using
  27    more rigorous parameter's showed that Posner's Google search may have been
  28    flawed, his understanding of the word in context seems clearly to be correct.
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    1        13. More principled, scientific database searches soon followed, and in 2018
    2   Judge Thomas Lee, of the Utah Supreme Court, a long-time champion of corpus
    3   linguistics, together with the legal scholar Stephen Mouritsen, published "Judging
    4   Ordinary Meaning" (Yale Law Journal 127), summarizing the latest research in
    5   corpus linguistics and championing LCL as a way to determine ordinary meaning,
    6   and more specifically, OPM, with more clarity. Jurists over the past few years have
    7   found that in several cases, LCL proves more useful than the period dictionaries
    8   (for example, the dictionaries of Samuel Johnson and Noah Webster) that courts
    9   have often relied on to determine historical meaning. LCL often supplements the
   10   historical interpretations found in older dictionaries and in the Oxford English
   11   Dictionary, as well, allowing a more precise interpretation of historical text data.
   12        14. In addition to the publication of several significant law review articles by
   13   experts in the field of corpus linguistics, there have been several conferences on
   14   Legal Corpus Linguistics in the past few years, and a number of continuing-
   15   education seminars on LCL are now offered for judges and lawyers. As a result,
   16   Corpus Linguistics has drawn increased attention from the courts, including recent
   17   mentions in decisions in the Sixth, Seventh, and Ninth Circuits, as well as a
   18   comment by J. Alito in his concurrence in Facebook v. Duguid (2021), where he
   19   suggested that LCL may one day provide a useful alternative to the canons of
  20    interpretation. Over the past decade, LCL has become an important tool in helping
  21    to determine original public meaning when such meaning is in doubt.
  22         15. Several large databases have come online in the past few years that
  23    facilitate LCL research. They have proved invaluable to me in compiling this
  24    report. Brigham Young University's Center for Law and Corpus Linguistics
  25    sponsors the Corpus of Founding Era American English (COFEA), with more than
  26    126,000 texts, comprising close to 137 million words, covering the years 1760--
  27    1799. BYU's Corpus of Early Modem English (COEME), covering the years
  28    1475-1800, contains over 40,000 texts and 1.1 billion words. For the nineteenth
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    1   century, the Corpus of Historical American English (COHA), which was initially
    2   developed at BYU as well but is now independent of that institution, currently
    3   contains 475 million words of text from 1820-2020. The size of these databases
    4   continues to grow as more works are digitized, coded, and added to the corpora.
    5        16. Critics ofLCL have complained that databases like COFEA and COEME
    6   contain only texts written by "elites," whose language may differ from that of
    7   "ordinary people" who do not write at all, or who for various reasons do not write
    8   texts likely to be included in the available corpora. It is certainly the case that many
    9   printed books and periodicals, along with documents like the Constitution, its
   10   amendments, and state and federal statutes, tend to be written by educated
   11   specialists and professional writers, and although ordinary people are expected to
   12   understand the language of the Constitution, the Declaration of Independence, and
   13   other founding documents, as well as the laws that govern the nation, such texts
   14   typically require specialized knowledge. A reading-difficulty formula like the
   15   commonly-used Flesch-Kincaid scale suggests that the Declaration of
   16   Independence and the Constitution require a fifteenth-grade reading level, while
   17   according to one comprehensive study, Adult Literacy in America (US Department
   18   of Education, 1993 ), the average American today tends to have a seventh-grade
   19   reading level.
  20         17. In order to counter any "elite" bias that may be found in databases like
  21    COFEA, COEME, and COHA, I rely as well on five digitized newspaper databases
  22    covering the period 1750--1900, focusing for this report on the Founding Era and on
  23    the period of Reconstruction after the passage of the Fourteenth Amendment. Print
  24    technology remained relatively static between the 1450s, when printing presses first
  25    appeared in Europe, and the early 19th century, when the Industrial Revolution
  26    drastically changed print technology. The first printing press was adapted by
  27    Gutenberg from the design of the traditional wine press, and printing was a slow
  28    and labor intensive process. As a result, newspapers in the founding era were small,
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    1   averaging four to eight pages. Publication was less frequent as well. Papers tended
    2   to appear weekly or semi-weekly, rather than daily. Even so, newspapers in the
    3   Founding Era and later, during Reconstruction, provided average Americans with
    4   their principal access to all the critical events and documents of their time, along
    5   with coverage of local and international news. Even though newspaper subscribers
    6   tended to be "elites," newspaper content was widely shared by word-of-mouth:
    7   ultimately, most Americans in the Founding Era, including those who would be
    8   classified as illiterate or poorly educated by today's standards, got their news from
    9   newspapers.
   10        18. The invention of the steam engine in the 19th century, along with growth
   11   of paper mills that facilitated the production from wood pulp of large and
   12   inexpensive rolls of newsprint, led to a revolution in print technology. This led to
   13   an explosion in the size of newspapers and the frequency of their publication, to the
   14   point where, at their height, papers in big cities were publishing several editions a
   15   day. This growth in newspapers, along with a substantial increase in periodical and
   16   book production, paralleled a growth in literacy in the US and Europe that tracked
   17   the industrial revolution and the subsequent rise in universal public education. By
   18   the end of the Civil War, there were more readers than ever, and they demanded
   19   more reading material.
  20         19. As for the question of"elites," as the principal means of communicating
  21    news and information, the newspapers of the 18th and 19th centuries embodied
  22    much of the language of the "ordinary people" who read them. Newspapers also
  23    provide researchers with more data for the 19th century than a corpus like COHA,
  24    which covers the same period but tends to focus on literary and specialized texts
  25    rather than material for the general reader.
  26         20. Since the 1960s, database compilers have been able to track
  27    contemporary spoken English more successfully, though for obvious reasons, none
  28    of the databases for the Founding Era and for the post-Civil War period cover the
                                                   8
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    1   spoken language of Americans. Although scholars can reconstruct some of that oral
    2   language, we are always doing so through the lens of print versions purporting to
    3   represent or comment on ordinary speech.
    4          21. The newspaper databases I have examined are Readex Historical
    5   American Newspapers; Chronicling America (newspapers digitized by the Library
    6   of Congress); the British Newspaper Archive (digitized by the British Library); and
    7   two private subscription services, newspapers.com and newspaperarchive.com. For
    8   this report, newspapers.com provides the most-complete picture of the language of
    9   the Founding Era newspapers as well as the ordinary language of the later 19th
   10   century.
   11          22. All the databases contain some duplicates. COFEA and COEME digitize
   12   multiple editions of the same work; and the newspaper databases contain a number
   13   of duplicate stories because, particularly in the period of newspaper growth during
   14   the 19th century-in an age before the wire services and syndication appeared, and
   15   before the larger papers began to set up news bureaus in key areas around the
   16   country and around the world-newspapers routinely printed each other's stories,
   17   sometimes acknowledging their source and sometimes not. Still, the databases often
   18   offer more insight into the meaning of words and phrases than simply going to a
   19   dictionary. Jurists from Learned Hand to Felix Frankfurter to Frank Easterbrook
   20   and Richard Posner have warned their colleagues not to make a fortress of the
   21   dictionary. The corpora are by necessity incomplete. LCL doesn't replace
   22   dictionary look-ups, but it does provide an important supplement to them.
   23   III.   THE MEANING OF ARMS AND ACCOUTREMENTS IN THE DATABASES

   24          23. I was asked to look at the meaning of arms and accoutrements, along
   25   with the phrase arms and accoutrements, current in the Founding Era and during
   26   the period immediately following the adoption of the Fourteenth Amendment,
   27   focusing on whether the word accoutrements may be considered analogous to the
   28   present-day use of the term magazine in reference to firearms.
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    1        24. In the eighteenth and nineteenth centuries, magazine was a word that
    2   meant 'storehouse, depot.' A magazine was a place, often a building or warehouse,
    3   to store goods and supplies. When used in a military sense, a magazine was a
    4   designated area for storing gunpowder, and as such, it was subject to strict
    5   regulation: because gunpowder was an explosive substance, some towns banned or
    6   heavily regulated the storage of gunpowder within city limits. The term magazine
    7   was not used to refer to the compartment of a gun containing bullets until late in the
    8   nineteenth century, and the term was relatively rare until the 1920s. Before that
    9   time, bullets were kept in cartridge boxes or cartridge cases, and these bullet
   10   storage containers were part of the general category of military accoutrements, not
   11   arms.
   12        25. The data on accoutrements suggest that the analogous LCMs are not
   13   arms, but accoutrements, the ancillary equipment associated with soldiering, or
   14   service in the military. Cartridges, cartridge boxes and later, magazines, are not
   15   arms in and of themselves.
   16        26. The Oxford English Dictionary (OED), the standard dictionary of the
   17   English language compiled on historical principles, defines accoutrements as, items
   18   of apparel; (more generally) additional pieces of dress or equipment, trappings;
   19   (Military) the outfit of a soldier other than weapons and garments. [OED online,
   20   s.v. accoutrement; the OED and the corpus evidence make clear that accoutrements
   21   typically occurs as a plural.]
   22        27. Accoutrements in its non-military sense typically refers to specialized
   23   clothing-that associated with certain professions (for example, clerical robes) or
   24   suitable for fancy-dress occasions (ball gowns, tuxes, and other formal attire). But
   25   the military sense of accoutrements generally refers not to uniforms or to weaponry,
   26   but to other military accessories worn or carried by soldiers. The example given to
   27   illustrate this second, military, sense is from the Duke of Wellington's dispatches in
   28   1813: "In order to collect the wounded and their arms and accoutrements." Here
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    1   Wellington, recognized by all as a consummate soldier who would soon defeat
    2   Napoleon at the Battle of Waterloo in 1815, makes a clear distinction between arms
    3   and accoutrements.
    4        28. The term accoutrement-maker, though not defined separately by the
    5   OED, is illustrated with examples referring to a manufacturer of military
    6   accessories rather than arms; and the term accoutrement shop has this 1831
    7   example where guns and accoutrements are differentiated: "The crowd was so great
    8   in the Rue de Richelieu, ... especially about the gunsmiths and accoutrement shops
    9   in the vicinity of the Palais Royal." [United Service Jrnl. i. 325]
   10        29.   The OED definitions are instructive. But in order to determine more
   11   specifically what the term accoutrements refers to, I consulted two digitized
   12   historical databases, or corpora. A COFEA database search for the occurrence
   13   accoutrements within 6 words of arms returned 873 hits (including a small number
   14   of duplicates). A similar search of COEME returned 126 hits, the earliest from
   15   1656. I determined that the two search terms, arms and accoutrements, often appear
   16   together as a single phrase, arms and accoutrements, typically in military contexts
   17   having to do with an army or militia unit. Accoutrements often occurs in a list
   18   alongside, but separate from, ammunition: arms, accoutrements, (and) ammunition,
   19   though when ammunition is not listed separately, the term accoutrements will
   20   generally include ammunition. Accoutrements sometimes occurs in a list alongside
   21   clothing, suggesting it may not always include uniforms (this finding informs the
   22   OED definition: military equipment other than arms and uniforms). But
   23   occasionally, accoutrements may include items classified as part of a uniform
   24   (influenced, most likely, by the general, nonmilitary sense of accoutrements, where
   25   the term usually refers to clothing associated with particular professions or
   26   activities). In sum, in the vast majority of examples, accoutrements functions as a
   27   catch-all term for military equipment separate from, and not including, arms.
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    1        30. But English usage is never simple. As linguists often say, "all grammars
    2   leak"-which is to say, there are always a few counterexamples in the data. The
    3   existence of counterexamples does not invalidate the data or undercut an
    4   interpretation: it simply shows that although the users of a language share a
    5   common sense of what words and grammatical constructions mean, variation in
    6   meaning and usage is a necessary aspect of all human language. It is not surprising,
    7   then, that rarely, in COFEA, accoutrements does encompass arms, as it does in this
    8   example:
    9        A few years since, some boys, equipped in mock military
   10        accoutrements, such as paper-caps, paper-belts, wooden swords,
   11        &c. were beating up for recruits in Parliament-street, Boston. [The
   12        Americanjest book: Part I[-11], 1789; emphasis added; here military
   13        accoutrements includes toy swords.]
   14        31. This cite from 1776 refers to guns and other military accoutrements,
   15   implying, too, that arms may be a subcategory of accoutrements:
   16        [He] shall be provided with a fire arm and other military accoutrements
   17        provided by the militia law.
   18        32. But besides a handful of exceptions, in literally hundreds and hundreds of
   19   cases, arms and accoutrements are treated as separate items of military gear. Here
   20   are some typical examples from the Founding Era:
   21        1776: Fire arms and accoutrements
   22        1780: arms, ammunition, accoutrements, drums and fifes in
   23        possession of the respective regiments.
   24        1795: you will march ... with arms and accoutrements in good order.
   25        If any volunteer should want arms and ammunition, bring them
   26        forward, and they shall be supplied as well as possible. [COEME;
   27        the other examples are from COFEA]
   28        1798: To hold his powder and his ball, his gun, accoutrements
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    1        and all ... [This example rhymes because it's from a poem,
    2        indicating that the idiomatic phrase arms and accoutrements has
    3        become part of the general language available not just to military
    4        specialists but also to poets and novelists.]
    5        33. A second COFEA search, for accoutrements alone, returned 1,235 hits.
    6   COEME yields 771 hits. These searches add a number of non-military contexts,
    7   where accoutrements refers to religious gear (robes, mitres, and so on) as well as
    8   other sorts of fancy or special clothing. These non-military examples do not
    9   reference weapons, ammunition, or other military equipment.
   10        34. I supplemented my COFEA search with a search of the newspaper
   11   database, newspapers.com, for the Founding Era period, 1750-1800. The
   12   newspaper databases do not permit the kind of collocate searches that COFEA,
   13   COEME, and COHA allow. Entering two search terms returns results in which
   14   either one or both terms occur on the same page, though not necessarily in the same
   15   sentence, or even in the same article, and not necessarily as linked terms. There are
   16   1,392 hits for accoutrements. There are 692 matches for the exact phrases arms and
   17   accoutrements.
   18        35. Here's a mid-18th century British example from the newspapers.com
   19   corpus where arms and accoutrements are separate categories, as is ammunition:
   20        36. This Militia shall receive their Arms, Accoutrements, and
   21        Ammunition from the Ordnance. Derby Mercury, 1756.
   22        37. Similarly, there's this "ploughshares into swords" example of a
   23   Cambridge University library to be converted to a military barracks:
   24        [T]he new Building intended for a publick Library ... may be
   25        converted into a Barrack, and be supplied with Provisions, Arms,
   26        and Accoutrements, at the Expence of the University. 1756
   27        38. A search of the Readex database of America's Historical Newspapers
   28   returns 3,103 hits from 1750-1800; and 2,036 hits from 1868-1880. This early
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    1   example from the colonial period appeared in the Boston Evening Post in 1750. It
    2   distinguishes arms from uniforms, accoutrements, and other military equipment:
    3        All Gentlemen Volunteers [in Nova Scotia] ... shall be completely
    4        Cloathed in blue Broad Cloth, receive Arms, Accoutrements, Provisions,
    5        and all other Things necessary for a Gentleman Ranger.
    6        39. This cite from the Pittsburgh Gazette in 1789 reflects a clear sense that
    7   arms and accoutrements are distinct categories in the new nation as well:
    8        The militia ... must be considered as the palladium of our security ....
    9        The formation and discipline of the militia of the continent should be
   10        absolutely uniform; and that the same species of arms, accoutrements, and
   11        military apparatus, should be introduced in every part of the United States.
   12        40. The text of a bill in Congress to establish a uniform militia appeared in
   13   the New York Journal, in 1790. It confirms the Founding-Era sense that arms,
   14   ammunition, and accoutrements make up distinct and separate elements of a
   15   soldier's kit:
   16        There shall be appointed an adjutant general for each state ... whose duty
   17        it shall be to ... report[] the actual situation of their arms, accoutrements,
   18        and ammunition... Every non-commissioned officer or private ... for
   19        appearing at such meeting or rendezvous without his arms, ammunition, or
   20        accoutrements, as directed by this act, shall pay the sum of twenty-five
   21        cents.
   22        41. And this cite from 1868 clearly distinguishes what counts as arms, and
   23   what counts, separately, as accoutrements:
   24        At Watertown Arsenal, Massachusetts ... the following Arms, &c., will
   25        be sold:10,699 rifled and smooth-bore Muskets ... ; 261 Carbines ... ; 305
   26        Sabres ... ; lot of cavalry accoutrements, consisting of Bayonet Scabbards,
   27        Cap Pouches, Cartridge Boxes, Gun Slings, Waist Belts, &c."
   28        42. The newspaper data parallels that of COFEA: the phrase arms and
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    1   accoutrements is almost always military. The phrase sometimes occurs alongside
    2   ammunition as a separate list item. Accoutrements, when it appears alone, is a more
    3   general term, used both for military and other gear, though in non-military contexts
    4   it is more directed toward clothing rather than 'equipment' (priests' robes,
    5   ministerial garb, fancy ball gowns, badges of office), as is also indicated in the
    6   OED citations. In non-military contexts, accoutrements carries the suggestion of
    7   ceremonial gear, and less commonly, nonmilitary tools of the trade.
    8        43. It's clear that arms and accoutrements was, during the 18th and 19th
    9   centuries, a common military phrase, in both England and America. English often
   10   yokes terms commonly found together into idiomatic pairings, sometimes called
   11   binomials, like bacon and eggs, salt and pepper, or, in a legal context, assault and
   12   battery or breaking and entering. Such pairs take on the characteristics of a
   13   formula, and often appear in the same order (this order may be dictated by logical
   14   succession of events, or it may be random). Eggs and bacon is rarer than bacon and
   15   eggs. And it would be unusual to find battery and assault. Such ordered pairs are
   16   called "irreversible binomials," though there's nothing but custom (as in salt and
   17   pepper) and sometimes logic (as in breaking and entering) to prevent anyone from
   18   reversing the order.
   19        44. The word accoutrements typically occurs in a list after arms (more rarely,
   20   it may occur before arms as well), and it is typically a separate category from arms
   21   (though not always, as the above examples show).
   22        45. There are over 47,000 citations in newspapers.com for arms or
   23   accoutrements in the period 1868-1900, and 15,799 cites for the exact phrase arms
   24   and accoutrements. Examining a selection of the 15,799 citations of the phrase
   25   confirms that both in England and the US, arms and accoutrements are separate
   26   categories. Here is one example from Gloucestershire, in England, dated 1868:
   27        [A] letter was received from the Home Secretary, pointing out the danger
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    1        of permitting an accumulation of arms and accoutrements to take place in
    2        prisons, and requesting, if there were any arms or munitions of war stored
    3        in the prison, that they should be removed to the nearest military depot.
    4        46. A similar cite from Iowa in 1868: "Persons having in their possession any
    5   arms, accoutrements or ammunition belonging to the State, are requested to return
    6   the same at once to the Adjutant General, as proper places have been provided by
    7   the State for the safe keeping of all such property."
    8        47. And this, from Stroudsburg, PA, also 1868: "More than half of the
    9   Seventh Cavalry (Custer's) decamped with their horses, arms, and accoutrements,
   10   and probably made their way to the gold regions of Colorado and Montana."
   11        48. The circa-1868 data confirmed the Founding Era data that accoutrements
   12   is primarily a military term, and that when accoutrements co-occurs with arms, the
   13   terms refer to separate categories of equipment.
   14        49. One final note on accoutrements. The U.S. Supreme Court's recent
   15   decision in New York State Rifle and Pistol Association v. Bruen (No. 20-843,
   16   2022) references North Carolina v. Huntley (25 N.C. 418, 1843), a decision by the
   17   North Carolina Supreme Court affirming Huntley's conviction for carrying a
   18   shotgun illegally "to the terror of the people," as forbidden by the Statute of
   19   Northampton in 1328. In that decision, the Court states, A gun is an 'unusual
   20   weapon,' wherewith to be armed and clad. No man amongst us carries it about with
   21   him, as one of his everyday accoutrements-as a part of his dress.
   22        50. In the citation above, accoutrements does not refer to weaponry, but to
   23   the more general category of 'everyday attire, or clothing.' It may be normal to
   24   wear a shirt, or a belt, or shoes, but it's not normal, the Court is saying, to wear a
   25   gun in North Carolina in 1843. It's legal-the Court agrees-to carry a gun for any
   26   lawful purpose, "either of business or amusement"-but it's not normal or typical
   27   to do so. In affirming Huntley's conviction, the Court noted that his purpose in
   28   carrying a shotgun was not a legal one.
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    1   IV.   SOME IDSTORICAL NOTES ON THE USE OF THE WORD MAGAZINE

    2         51. Since the technology of arms and ammunition was changing by the mid-
    3   nineteenth century, I also searched for new uses of the term magazine in relation to
    4   arms and accoutrements. With advances in the design and manufacture of guns and
    5   ammunition, by the mid-nineteenth century, the term magazine starts to appear in
    6   the sense 'ammunition container' (replacing the earlier cartridge box or cartridge
    7   case). According to the OED, in the 18th and early 19th centuries, magazine
    8   referred generally to 'a storehouse,' and in military contexts it referred specifically
    9   to a storehouse for gunpowder. (The sense of 'storehouse' also led to the use of
   1o   magazine to refer by the 18th century to a print publication containing a variety of
   11   articles, and its sense of 'depot, warehouse,' is cognate with the French word
   12   magasin, 'a shop or store').
   13         52. Although most uses of the word magazine still refer to printed
   14   periodicals, during the 19th century, one sense of the term magazine narrows,
   15   referring more and more to an 'ammunition container,' a primary sense of the word
   16   in reference to firearms today. The OED defines sense IV b. of magazine as "A
   17   container or (detachable) receptacle in a repeating rifle, machine-gun, etc.,
   18   containing a supply of cartridges which are fed automatically to the breech," with
   19   the earliest citation in this sense from 1868, the time period that marks the
   20   ratification of the Fourteenth Amendment and so is relevant to this LCL analysis.
   21         53. COFEA and COEME do not cover the period past 1800. COHA, which
   22   does have 19th century coverage, turns up only a handful of uses of magazine in
   23   collocation with bullets, guns, rifles, or weapons, none of them before the 1890s.
   24   Most COHA cites refer to print magazines; a smaller number from 1820-1880 refer
   25   to gunpowder storehouses. Searching the word magazine in newspapers.com results
   26   in more than 3.3 million hits, the vast majority of them also referring to print
   27   journals. Magazines meaning 'devices for holding bullets' form only a very small
   28   subset of these citations. It took some thirty to forty years for the 'bullet holder'
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    1   sense of the word magazine to become more common, and even then, text
    2   references to ammunition magazines often appear, not in general discourse, but in
    3   legislation restricting their size or use.
    4        54. Most militia laws and regulations from the Founding Era specify
    5   minimum requirements for soldiers' weapons, ammunition, and accoutrements.
    6   Most laws regulating weapons in the mid-19th century restrict or ban specific kinds
    7   of weapons, often enumerating them, sometimes in terms we find colorful today but
    8   which were common at the time (Arkansas toothpicks, Bowie knives, slung shots,
    9   swords in canes, pistols capable of being concealed in a pocket). Occasionally these
   10   laws further identified such weapons as those used by "brawlers," thieves, robbers,
   11   or others bent on illegal activities. Other weapons restrictions follow the English
   12   tradition of limiting possession of weapons by social class, nationality, or race.
   13        55. Although militia laws do specify weapons and other required
   14   accoutrements or pieces of military equipment, including horses for the officers,
   15   those laws that prohibit certain kinds of weapons during the two critical periods
   16   (1789-1810; 1868-1880) do not single out parts of weapons. Here is one
   17   exception, from a 1776 Maryland statute: "Resolved, that no muskets or rifles,
   18   except by the owner thereof on his removal to reside out of this province, or any
   19   gun barrels, gun locks, or bayonets, be carried out of his province, without the leave
   20   of the council of safety for the time being." [1776 Md. Laws 146].
   21        56. I surveyed the gun regulations in the Duke Historical Database from the
   22   early medieval period through 1885 to see what terminology was used. None of the
   23   laws that prohibit weapons, aside from the Maryland statute above, specifies a gun
   24   part or ammunition case or accoutrements of any kind. Although many present a list
   25   of banned or prohibited weapons-usually without defining them [the assumption
   26   is that the reader knows what they refer to], none of the laws mention cartridge
   27   boxes, bullets, barrels, or other parts of any weapons.
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    1        57. Later, however, in the decades after the introduction of magazines as
    2   'carriers or holders of bullets,' laws and regulations against their nonmilitary use
    3   started to appear. Here's a 1919 Maine law banning guns with loaded magazines:
    4   No person shall have a rifle or shotgun, either loaded or with a cartridge in the
    5   magazine thereof, in or on any motor vehicle while the same is upon any highway
    6   or in the fields or forests.
    7        58. Laws banning machine guns or firearms with magazines capable of firing
    8   multiple times without reloading appear in Vermont (1923), Rhode Island (1927),
    9   and Massachusetts (1927), among other states. Rhode Island's law bans magazines
   10   which fire automatically or which hold more than twelve rounds: "machine gun"
   11   shall include any weapon which shoots automatically and any weapon which shoots
   12   more than twelve shots semi-automatically without reloading.
   13        59. A 1933 Texas law bans "machine guns" capable of firing "more than five
   14   (5) shots or bullets."
   15        60. Finally, the Federal Firearms Act of 1934, which introduced a nationwide
   16   system of taxes, fees, and registration requirements for the transfer of certain types
   17   of guns, specifies in great detail the nature of the "firearms" covered by the statute,
   18   including their barrel length and type of firing mechanisms: "(a) The term 'firearm'
   19   means a shotgun or rifle having a barrel of less than eighteen inches in length, or
   20   any other weapon, except a pistol or revolver, from which a shot is discharged by
   21   an explosive if such weapon is capable of being concealed on the person, or a
   22   machine gun, and includes a muffler or silencer for any firearm whether or not such
   23   firearm is included within the foregoing definition."
   24        61. The Act also provides a specific definition of"machine gun": "(b) The
   25   term 'machine gun' means any weapon which shoots, or is designed to shoot,
   26   automatically or semiautomatically, more than one shot, without manual reloading,
   27   by a single function of the trigger." [48 Stat. 1236. 73rd Congress, 2nd Session, Ch.
   28   757, HR 9741].
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       1   V.   CONCLUSION
       2        62. In effect, then, accoutrements, when it occurs alone, in a specifically
       3   military context, may function as a general term that includes arms, though it does
       4   not always include arms. In non-military contexts this does not apply: the
       5   accoutrements suitable for the clergy or the office worker do not normally include
       6   weaponry.
       7        63. But there is no data that I have found showing that arms includes
       8   accoutrements, magazines, or any other parts of weapons.
       9        64. In addition, 'bullet holders,' whether they are called cartridge cases,
      10   magazines, or simply, machine guns, both automatic and semi-automatic, regularly
      11   appear in legislation specifying or limiting their size or, in some cases, banning
      12   them outright.
      13        65. To repeat, there is no data that I have found showing that arms includes
      14   accoutrements, magazines, or any other parts of weapons.
      15
      16        I declare under penalty of perjury under the laws of the United States of

      17   America that the foregoing is true and correct.
                 Executed on November 7 2022 at Champaign                 IL
      18                             -'     '
      19
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                                                          Dennis Baron
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                                         Declaration of Dennis Baron
                                           (17-cv-1017-BEN-JLB)


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                               EXHIBIT 2




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   1   ROB BONTA
       Attorney General of California
   2   P. PATTY LI
       Supervising Deputy Attorney General
   3   ANNA FERRARI
       Deputy Attorney General
   4   State Bar No. 261579
       JOHN D. ECHEVERRIA
   5   Deputy Attorney General
       State Bar No. 268843
   6    455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-7004
   7    Telephone: (415) 510-3479
        Fax: (415) 703-1234
   8    E-mail: John.Echeverria@doj.ca.gov
       Attorneys for Defendant    Rob Bonta,
   9   in his official capacity 1
  10
                          IN THE UNITED STATES DISTRICT COURT
  11
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12
                                      WESTERN DIVISION
  13
  14
  15   STEVEN RUPP; STEVEN                          8:17-cv-00746-JLS-JDE
       DEMBER; CHERYL JOHNSON;
  16   MICHAEL JONES;                               SUPPLEMENTAL EXPERT
       CHRISTOPHER SEIFERT;                         REPORT AND DECLARATION
  17   ALFONSO VALENCIA; TROY                       OF COLONEL (RET.) CRAIG
       WILLIS; and CALIFORNIA RIFLE                 TUCKER
  18   & PISTOL ASSOCIATION,
       INCORPORATED,
  19
                                      Plaintiffs, Courtroom:     8A
  20                                              Judge:         The Honorable Josephine
                    v.                                           L. Staton
  21
  22   ROB BONTA, in his official capacity          Action Filed: April 24, 2017
       as Attorney General of the State of
  23   California; and DOES 1-10,
  24                                Defendants.
  25
  26
             1 Rob Bonta has succeeded former Attorney General Xavier Becerra as the
  27   Attorney General of the State of California. Pursuant to Federal Rule of Civil
       Procedure 25(d), Attorney General Bonta, in his official capacity, is substituted as
  28   the defendant in this case.
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   1          SUPPLEMENTAL EXPERT REPORT AND DECLARATION
                     OF COLONEL (RET.) CRAIG TUCKER
   2
   3        I, Colonel (Ret.) Craig Tucker, declare under penalty of perjury that the
   4   following is true and correct:
   5         1.     I have been asked by the Office of the Attorney General of the
   6   California Department of Justice to prepare an expert report and declaration on the
   7   purpose, use, and features of certain semiautomatic firearms. This supplemental
   8   expert report and declaration (“Report”) is based on my own personal knowledge
   9   and experience, and, if I am called as a witness, I could and would testify
  10   competently to the truth of the matters discussed in this Report.
  11                         PROFESSIONAL QUALIFICATIONS
  12         2.     I am a Colonel, US Marine Corps, (Retired). I served as an infantry
  13   officer in the Marine Corps for 25 years. I have commanded infantry units from
  14   platoon to regiment. I commanded Regimental Combat Team -7 (RCT-7) in Iraq
  15   from February 2004 to April 2005. During my time in Iraq, I commanded 22
  16   different US Marine, US Army, and Iraqi Army battalions and exercised tactical
  17   control over Naval Special Warfare and US Special Forces, and supported National
  18   Tier 1 assets. I commanded the Regiment in both Fallujah battles and numerous
  19   smaller battles. I was the target of 9 assassination attempts and was wounded in
  20   Husaybah Iraq in July 2004. Upon my return from Iraq, I was assigned to the US
  21   Marine Corps National Training Center and was responsible for training and
  22   certifying units for combat in Iraq and Afghanistan.
  23         3.     I have received two Legion of Merit awards for exceptional
  24   meritorious conduct in the performance of outstanding combat services, the
  25   Military Order of the Purple Heart, the Navy Commendation Medal for Heroic
  26   Action, the Combat Action Ribbon, and seven Sea Service Deployment Ribbons,
  27   among other awards.
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   1         4.     After I retired from military service in 2006, I served as an Assistant
   2   Deputy Administrator for the Office of Secure Transportation (OST), National
   3   Nuclear Security Agency. OST is a paramilitary organization consisting of federal
   4   agents armed with M4s.2 I was also the Department’s Render Safe program in
   5   Albuquerque NM.
   6         5.     In 2012, I joined Innovative Reasoning LLC, which provides
   7   professional support services to the U.S. Department of Defense and other
   8   government clients. While at Innovative Reasoning, I developed training programs
   9   and planning capabilities for the Marine Corps, and I developed and taught a
  10   training course on tactical decision-making for law enforcement officers.
  11         6.     Through my military service, I gained extensive knowledge and
  12   familiarity with the full range of US combat weapon systems. The automatic rifle
  13   is the foundational combat weapon system. Ground and aviation weapon systems
  14   are specifically designed to support the automatic rifle. My primary purpose in the
  15   latter stages of my career was coordinating, and teaching others to coordinate, air
  16   and ground weapon systems to support the rifleman and his automatic rifle.
  17         7.     I have fired the Colt AR-15 5.56 rifle and the Smith and Wesson 5.56
  18   AR rifle. Both are advertised as the civilian version of the M16 combat rifle. In
  19   addition to my automatic rifle experience, I have extensive experience with the
  20   AK-47, having been on the receiving end of hundreds of 7.62 rounds; an experience
  21   best typified during the Battle of Hit when a single individual with one rifle and
  22   apparently inexhaustible supply of 7.62 ammo and magazines kept nine Marines
  23   pinned down for 15 minutes until a LAV-25 20mm chain gun solved the problem. I
  24   have extensive experience with the Colt 1911 .45 caliber semi-automatic and the
  25   Berretta .9m semi-automatic pistol and used both weapons in Iraq.
  26
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               The M4 is a gas-operated, magazine-fed carbine. It is the shortened version
  28   of the M16 assault rifle.
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   1           8.       I currently serve as a trainer and planner for the City of Albuquerque’s
   2   Office of Emergency Management.
   3           9.       I hold a B.S. in Criminal Justice from the University of Dayton, a
   4   Master of Military Art and Science from U.S. Army Command and General Staff
   5   College and the U.S. Army School of Advanced Military Studies, and a Master’s
   6   degree in National Security and Strategic Studies from the College of Naval
   7   Warfare, where I graduated with the highest distinction.
   8           10.      A copy of my curriculum vitae is attached as Exhibit A to this Report.
   9           11.      I have been retained by the California Department of Justice to serve
  10   as an expert witness in this case. I am being compensated at a rate of $200 per
  11   hour.
  12                                           OPINIONS
  13           12.      I have reviewed the statutory definitions of an “assault weapon,” as
  14   defined under California’s Assault Weapons Control Act (AWCA) in California
  15   Penal Code section 30515(a).3 Under Penal Code section 30515(a), a
  16   semiautomatic centerfire rifle that does not have a fixed magazine qualifies as an
  17   assault weapon if it has any of the following features: (1) a pistol grip that
  18   protrudes conspicuously beneath the action of the weapon; (2) a thumbhole stock;
  19   (3) a folding or telescoping stock; (4) a grenade or flare launcher; (5) a flash
  20   suppressor; or (6) a forward pistol grip.4 A semiautomatic centerfire rifle also
  21   qualifies as an assault weapon if it is equipped with a fixed magazine with the
  22   capacity to hold more than 10 rounds or has an overall length of less than 30
  23   inches.5 I have also reviewed the list of rifles that qualify as “assault weapons”
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  25
               3
  26               See Cal. Penal Code § 30515, https://bit.ly/3CtxfEj.
               4
  27               Cal. Penal Code § 30515(a)(1)(A)-(F).
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  28               Cal. Penal Code § 30515(a)(2)-(3).

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   1   under California Penal Code § 30510(a), which have many of the same features and
   2   accessories listed in § 30515(a).
   3         13.    I am familiar with the features, accessories, and capabilities of rifles
   4   regulated by Penal Code § 30515(a). The AR-15, like the M4, is an offensive
   5   combat weapon system. The only difference is the AR-15 cannot fire on full-auto
   6   (continual shots fired in succession so long as the trigger is pulled) or burst (several
   7   shots fired in succession with a single pull of the trigger)—a picayune difference
   8   that cannot serve to support a non-combat role for the AR-15. In my experience,
   9   soldiers are trained to set select-fire weapons to semi-auto mode, so that a single
  10   round is fired with each pull of the trigger. An M4 or M16 on full-automatic is an
  11   area fire weapon: the auto rate of fire makes the weapon too difficult to control on a
  12   point target. Rifle fire on full automatic is not aimed fire, uses an excessive amount
  13   of ammunition and will damage the weapon if used too often. In fact, in my 14
  14   months of combat, I did not once see an M4 or M16 fired on full auto. Semi-auto
  15   function is used almost exclusively in combat. When operated in semi-auto mode,
  16   the AR-15 and M4 share the same rates of fire, the same maximum effective range,
  17   the same maximum range, use the same magazines designed for combat and the
  18   same ammunition. The AR-15 and M4 are both designed to fire a .223 round that
  19   tumbles upon hitting flesh and rips thru the human body. A single round is capable
  20   of severing the upper body from the lower body, or decapitation. The round is
  21   designed to kill, not wound, and both the AR-15 and M4 contain barrel rifling to
  22   make the round tumble upon impact and cause more severe injury. The
  23   combination of automatic rifle and .223 round is a very efficient killing system.
  24   The same can be said of the AR-15.
  25         14.    Automatic rifles, like the M-16 and its more modern carbine variant
  26   M4, are functionally similar to semiautomatic rifles regulated under California’s
  27   AWCA and often are equipped with the very same features, like pistol grips and
  28   adjustable stocks. It is my opinion, based on my military service, that these
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   1   features, individually and in combination, make semiautomatic rifles more lethal
   2   and most useful in combat settings, as described in more detail below.
   3         15.    Detachable magazines: In order for a rifle to qualify as an assault
   4   weapon under California Penal Code § 30515(a), the rifle must have the capability
   5   of accepting a detachable ammunition magazine (by not having a fixed magazine).
   6   Detachable magazines improve the killing efficiency of automatic rifles, allowing
   7   the combat rifleman to efficiently carry a combat load of 120 rounds in four 30-
   8   round magazines, to rapidly change magazines in combat, and to increase killing
   9   efficiency by significantly reducing reload time. Changing magazines during
  10   intense combat is the most important individual skill taught to Marines. During
  11   intense combat, the detachable magazine provides a rifleman the capability to fire
  12   120 rounds on semi-automatic in three minutes at a high-sustained rate of 45 rounds
  13   per minute. In a civilian self-defense context, by contrast, an individual would not
  14   have a need for such a high rate of fire.
  15         16.    Pistol grip protruding beneath the action of a rifle: I am a 15th Award
  16   Expert on the M16 and M4. I carried an M4 every day for 14 months during my
  17   time in command of RCT-7 in Iraq. I used an M4 in combat, and I killed with it.
  18   The pistol grip beneath the action of an automatic rifle serves only two purposes.
  19   First, the pistol grip allows the rifleman to pull the rifle into her shoulder with each
  20   shot, an action which increases stock weld, reduces semi-automatic/automatic
  21   recoil, and reduces barrel rise. Stock weld or cheek weld refers to the firmness of
  22   the contact between the rifle stock, the shooter’s cheek, and the shooter’s shoulder.
  23   A firm stock weld is required for effective semi-automatic and automatic rapid fire.
  24   Absent any pistol grip, a semi-automatic rifle would be difficult to operate when
  25   fired rapidly, as the rifle barrel would seesaw up and down with each shot fired in
  26   succession. Second, the pistol grip functions as a hand rest to reduce hand/finger
  27   fatigue during long combat engagements. Both actions increase the killing
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   1   efficiency of automatic rifles and are necessities in sustained combat operations of
   2   weeks or months when firing a rifle rapidly.
   3         17.    Forward pistol grip: The forward pistol grip provides leverage to
   4   tighten a stock weld on short barrel automatic weapons and reduces recoil and
   5   barrel rise on short barrel automatic rifles. Forward pistol grips were added to the
   6   M4 to increase M4 killing efficiency.
   7         18.    Folding stock: A folding stock causes weapon instability. For that
   8   reason, folding stock automatic rifles are designed for military personnel, whose
   9   primary weapon is vehicle or air-mounted (tank, Bradly, Apache), who may be
  10   required to escape from a mangled vehicle, or who may need to abandon a
  11   destroyed weapon system and need a substitute weapon for offensive combat.
  12   Outside of the military context, folding stocks that are not properly locked in place
  13   can cause significant safety risks to the shooter due to recoil.
  14         19.    Grenade or flare launcher: A Marine Corps fireteam consists of a
  15   fireteam leader, a rifleman, an assault gunner, and a grenadier. The grenadier is
  16   armed with a grenade launcher. The grenadier uses the grenade launcher to
  17   suppress or kill human beings so the rest of the fireteam can maneuver into position
  18   to kill those humans with automatic rifle fire. The launcher is a separate weapon
  19   system attached to as few rifles as possible dependent on the combat mission. In
  20   my experience, grenade launchers attached to rifles are cumbersome, difficult to
  21   aim, difficult to carry, and are not as effective as a standalone grenade launcher.
  22   They have no legitimate use in self-defense.
  23         20.    Flash suppressor/flash hider: The purpose of the flash suppressor is to
  24   reduce combat signature by cooling and dispersing burning gases. This makes it
  25   more difficult for the enemy to pinpoint a rifleman’s location, especially in low
  26   light conditions. The flash suppressor facilitates night combat operations by
  27   reducing muzzle flash and mitigating muzzle flash impact on night vision goggles.
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   1   This accessory serves specific combat-oriented purposes and is not needed for self-
   2   defense.
   3         21.    Fixed magazine with the capacity to accept more than 10 rounds:
   4   Automatic rifles are offensive combat weapons systems designed to kill efficiently
   5   and effectively. Any increase to magazine capacity increases the killing efficiency
   6   of the automatic rifle. A 30-round fixed magazine can fire more rounds in a given
   7   amount of time than three 10-round detachable magazines, which would need to be
   8   reloaded to fire the same number of rounds, slowing down the rate of fire.
   9   Similarly, a 100-round drum magazine can fire more rounds in a given period of
  10   time than ten 10-round detachable magazines. As noted above in connection with
  11   detachable magazines, an individual using a rifle in self-defense would not need
  12   such a high, continuous rate of fire.
  13         22.    The AR-15 is an offensive combat weapon no different in function or
  14   purpose than an M4. In my opinion, both weapons are designed to kill as many
  15   people as possible, as efficiently as possible, and serve no legitimate sporting or
  16   self-defense purpose. Self-defense and military combat are different. The weapons
  17   and accessories needed in one may not be needed or appropriate in the other. For
  18   instance, when I was serving in the military, I carried my M4 for offensive combat
  19   and a handgun for self-defense. Defensive combat is generally up close and very
  20   personal. At that range, it is very difficult to use a rifle as a defensive weapon,
  21   except as a blunt force instrument. My 9mm pistol was the self-defense weapon of
  22   choice, and we were trained to expend only 1-2 rounds per adversary in pistol
  23   combat. The features identified in California Penal Code § 30515(a) enhance the
  24   lethality of both semiautomatic and automatic rifles and are most appropriate for
  25   combat applications when used in conjunction with those types of weapons
  26   systems.
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   1         I declare under penalty of perjury that the foregoing is true and correct.
   2         Executed on January 6, 2023 at Sandia Park, New Mexico
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   5
                                                     Col. (Ret.) Craig Tucker
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                               EXHIBIT A




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                                      76
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  505-504-4289




  CITY OF ALBUQUERQUE OFFICE OF EMERGENCY MANAGEMENT (07/2021-PRESENT)
            •   Training and Education Coordinator/Acting Senior OEM Planner
                    o Coordinate with County and State agencies to develop training and exercise
                        programs that prepare the City of Albuquerque to mitigate, respond to, and
                        recover from disasters.
                    o Develop response plans for wildfire, flood, earthquake, and weapons release
                        and test the plans in tabletop exercises and drills.
                    o In coordination with Albuquerque Public Schools developed and executed a
                        school drill assessment/evaluation program.
                    o Created, developed, and initiated training for APS, APD, and AFR on a doctrinal,
                        best-practices-based approach to “Command and Control, Active Shooter, in a
                        School, School in Session”
                    o Develop a training and exercise program to meet FEMA National Qualification
                        Standards.
                    o Serve as the Operations Chief for EOC activations and training.
                    o Responsible for Plans updates and revisions, including a rewrite of the CABQ
                        Comprehensive Emergency Management Plan.
                    o Write and manage OEM Grants, including SHSGP, EMPG and Hazard Mitigation
                        Grants.

  RAVENSWOOD SOLUTIONS INC. (10/2019 – 06/2021)

            •   Program Manager, US Marine Corps Operations

                   o   Provide subject matter expertise and develop capture plans to provide live,
                       virtual, and constructive capabilities in support of the Commandant’s Planning
                       Guidance.

                   o   Project Manager for Ravenswood Solutions live-instrumented training and AAR
                       support to MAGTF Warfighting Exercise-20 (MWX 20), the largest instrumented
                       exercise in USMC history.

                   o    Co-authored White Paper on the application of machine-learning and Artificial
                       intelligence to support unit readiness reporting.

                   o   Provided subject matter expertise to support ML/AI Wargaming prototype
                       development.

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                                      76
  Craig A. Tucker
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            •   Project Director, Middle East Operations

                    o   Lead planner and primary proposal author of a of a multi-corporation proposal
                        to develop an 800-structure urban live fire and maneuver range in a Gulf Coast
                        Coalition country.

                    o   Lead planner and primary proposal author of a multi-corporation proposal to
                        develop a comprehensive training program for an emergent Marine Corps in a
                        Gulf Coast Country.

            •   Program Manager, National Security Operations

                    o   Provide subject matter expertise, develop, and supervise training services in
                        support of Department of Energy nuclear security and non-proliferation
                        operations.

            •   Independent Contractor (01/2022 – 06/2022)

                    o   Acted as the Ravenswood Solutions Inc. US Marine Corps subject matter expert.

                    o   Acted as the Ravenswood Solutions Inc., training and leadership subject matter
                        expert.

  INNOVATIVE REASONING, LLC (08/2012 - 09/2019)

            •   Director, Studies and Analysis

                    o   Provided analyses, recommendations and participated as the senior tactical SME
                        in support of the following Marine Corps Combat Development Command
                        requirements.

                          • Development of the U.S. Marine Corps post-war on terror Training Strategy.

                          • Development of an adaptive planning capability employing multi-agent
                            modeling, experiential learning theory, and machine learning.

                          • Improving Small Unit Leader Decision-making through training in
                            Recognition Primed Decision-making and experiential learning
                            theory.

                          • Chaired US Marine Corps 3d Annual Maneuver Warfare
                            Conference (2018).

            •   Director, Federal Programs

                    o   Provided direction, supervision, and oversight to 5 program managers assigned
                        to DOD and Department of Energy contracts in the United States and overseas.


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            •   Program Director, Law Enforcement Tactical Decision-making

                   o   Created, certified, and taught tactical decision -making courses focused on
                       making decision in high risk, low occurrence, fast moving circumstances with
                       risk of death, serious injury.

                   o   Developed and taught 400+ series of National Incident Management Courses to
                       support local law enforcement requirements.

  DEPARTMENT OF ENERGY (09/2006 – 07/2012)

                   o   Render Safe, Program Manager (SES)

                              Responsible for the Department of Energy (DOE) operational elements
                               conducting nuclear counterterrorism and nuclear accident response in
                               support of Tier 1 elements.

                              Responsible for organizing, resourcing, developing, and executing crisis
                               response render-safe operations in support of Presidential and National
                               Security policy.

                   o   Assistant Deputy Administrator (SES), Office of Secure Transportation (OST)

                              Responsible for the safe and secure transportation of nuclear weapons,
                               materials, and components in the continental United States.

                              Acted as the Senior Energy Official and National Nuclear Security
                               Administration Incident Commander for incidents involving OST assets
                               and during DHS-directed NIMS National Training Programs

                              Provided leadership, vision, and direction to a 1000+ mixed para-
                               military and civilian workforce.

                              Developed and implemented innovative security practices focused on
                               intelligence-driven operations, leadership, and performance-based
                               approach to training. Resulting security Doctrine provided a blueprint
                               for significant changes to DOE physical security doctrine.

                              Provided astute and responsible management of a $270 million budget.

  UNITED STATES MARINE CORPS (06/1981- 08/2006)

                   o   Director of Training, Tactical Training Exercise Control Group (TTECG) (07/2005-
                       08/2006)

                              Selected by the Commandant to rebuild and lead the Marine Corps

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                                      76
  Craig A. Tucker
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  505-504-4289
                           Service-level pre-deployment training program.

                          Responsible for the successful integration of emergent and innovative
                           urban operations with conventional combined arms operations. Trained
                           organizations from the US and numerous allied countries.

                          Managed a training budget of $30 million. Developed and implemented
                           new approaches to training to maximize effective use of increased
                           training budget. Increased the number of Marines/units trained per
                           year and successfully integrated complex, multi-discipline training
                           requirements into a coherent, effective training program

                o   Commanding Officer, Regimental Combat Team 7 (RCT-7) (06/2003 - 07/2005)

                          Commanded U.S. Marine Corps Regimental Combat Team 7 during
                           Operation Iraqi Freedom II. Tour included 14 months of continuous
                           combat command in Al Anbar Province.

                          Commanded RCT-7 during major urban combat operations to include
                           battles of Fallujah I, Al Fajr (Fallujah II), Husaybah, Ramadi, and Hit.

                          Developed and implemented successful strategic plans for
                           reconstruction of western Iraq; managed over $200 million in
                           construction and procurement contracts. Responsibilities included
                           establishing border security, counter-terrorism operations,
                           infrastructure development, and security forces training.

                          Acted as Superintendent for an elementary school system consisting of
                           12 elementary schools throughout Al AnBar province. Constructed the
                           schools, hired teachers, hired administrators, and provided safety and
                           security for students, teachers, and staff.

                          Responsible for the Force Protection and security of US bases and
                           approximately 20,000 military and contractor personnel.

                o   Director of Operations, Training and Education Command (06/2002-05/2003)

                          Responsible for the Marine Corps’ training programs, with an 80,000+
                           personnel annual throughput.

                          Developed and successfully initiated programming and procurement for
                           the Marine Corps’ 10-year range modernization and instrumentation
                           plan. Established and chaired Range Instrumentation Working Group.

                          U.S. Marine Corps Service-level representative to the OSD working
                           group responsible for developing training transformation strategies.

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                                      76
  Craig A. Tucker
  Colonel, US Marine Corps, (Ret)
  65 Harms Rd
  Sandia Park NM 87047
  catucker@protonmail.com
  505-504-4289
                               Successfully led USMC effort to meet the congressionally mandated
                                requirement to replace Vieques Island with a CONUS based amphibious
                                live-fire training capability within the year.

                    o   Commander, 2nd Battalion,7th Marine Regiment,

                    o   Director of Operations, 7th Marine Regiment.

                    o   Director of Operations, 13th Marine Expeditionary Unit (13th MEU).

                               Responsible for leadership and performance of a task-organized team
                                with 1000+ members.

                               Served as primary planner in Naval and Joint crisis action planning and
                                execution, to include the development of training plans, equipment
                                procurement, and exercise development for the organization’s
                                worldwide contingency operations.

                    o   Operations Planner, I Marine Expeditionary Force (I MEF). Primary planner and
                        architect for a multi-national effort to rewrite the operations plan for defense of
                        the Republic of Korea.

                    o   Commander, Presidential Security Force, Camp David, MD

                               Commanding Officer of Marine Corps Detachment responsible for the
                                security of the Presidential Retreat at Camp David.
                               Successfully balanced a 33% reduction in force structure with
                                implementation of an innovative physical security plan that integrated
                                personnel reductions, new technologies, and manpower, while
                                increasing the security posture.

                    o   Commanding Officer:
                            Weapons Company, Marine Infantry Battalion. (1988-1989)
                            Infantry Company, Marine Infantry Battalion. (1986-1988)
                            Guard Company, Nuclear Weapons Security, Adak, AK. (1984-1986)
                            Headquarters Company, Supply Battalion. (1983-1984)



  AWARDS
  (2) Legions of Merit with Combat Valor device, Purple Heart, Navy Commendation Medal for Heroic
  Action, Combat Action Ribbon, (7) Sea Service Deployment Ribbons, numerous other awards, and


                                               Page 5 of 6

                                                                                 Ex. 2_Echeverria Decl.
                                                                                               Page 38
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                                      76
  Craig A. Tucker
  Colonel, US Marine Corps, (Ret)
  65 Harms Rd
  Sandia Park NM 87047
  catucker@protonmail.com
  505-504-4289
  decorations.


  PAPERS
  •   “On Demand Readiness for Army Commanders Through AI and Machine Learning” (2020) (White
      Paper for Army Applied Laboratory and the Office of Naval Research. (co-authored with SOMETE
      Technology and Lockheed Martin)

  •    “Band of Brothers: The 2D Marine Division and the Tiger Brigade in the Persian Gulf War”
       An Analysis of the Impact of Organizational Culture on Tactical Joint Warfare (School of Advanced
       Military Studies, US Army Command and General Staff College)

  •    “False Prophets: The Myth of Maneuver Warfare and the Inadequacies of FMFM ‘Warfighting’”
       (School of Advanced Military Studies, US Army Command and General Staff College,

  •    “Towards an Intellectual Component to Joint Doctrine: The Philosophy and Practice of Experiential
       Intelligence” (Naval War College)



  EDUCATION
  •   B.S. Criminal Justice, University of Dayton
  •   MMAS, U.S. Army Command and General Staff College
  •   MMAS, US Army School of Advanced Military Studies
  •   MA, National Security and Strategic Studies, College of Naval Warfare (Highest Distinction)




                                                Page 6 of 6

                                                                                 Ex. 2_Echeverria Decl.
                                                                                               Page 39
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                               EXHIBIT 3




                                                           Ex. 3_Echeverria Decl.
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                                        76
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   Han-yWilson@MarkowitzHerbold.com
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   MARKOWITZ HERBOLDHERBOLD PC  PC
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                       Suite 1900
   Portland, OR
   Portland, OR 97201-3412
                 97201-3412
   (503) 295-3085
   (503) 295-3085

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          Special Assistant Attorneys General for Defendants
                                      General for Defendants

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         F. Rosenblum,    OSB #753239
                               #753239
   Attorney General
   Attorney  General
   Brian Simmonds
   Brian  Simmonds Marshall,
                      Marshall, OSB
                                OSB #196129
                                      #196129
   Senior Assistant Attorney
   Senior Assistant Attorney General
                              General
   Brian.S.Marshall@doj.state.or.us
   Brian.S.Marshall@doj.state.or.us
   DEPARTMENT OF
   DEPARTMENT         OF JUSTICE
                           JUSTICE
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   100      Market Street
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   Portland, OR
   Portland, OR 97201
                97201
   (971) 673-1880
   (971) 673-1880

          Attorneys for
          Attorneys     Defendants
                    for Defendants


                                UNITED STATES
                                UNITED        DISTRICT COURT
                                       STATES DISTRICT COURT

                                       DISTRICT OF
                                       DISTRICT OF OREGON
                                                   OREGON

                                       PENDLETON DIVISION
                                       PENDLETON DIVISION


   OREGON FIREARMS
   OREGON  FIREARMS FEDERATION,
                    FEDERATION, INC.,
                                INC.,                  Case No.
                                                       Case No. 2:22-cv-01815-IM  (lead case)
                                                                2:22-cv-01815-IM (lead  case)
   et al.,
   et al.,                                                      3:22-cv-01859-IM (trailing
                                                                3:22-cv-01859-IM (trailing case)
                                                                                           case)
                                                                3:22-cv-01862-IM (trailing
                                                                3:22-cv-01862-IM (trailing case)
                                                                                           case)
                                         Plaintiffs,
                                         Plaintiffs,            3:22-cv-01869-IM (trailing
                                                                3:22-cv-01869-IM (trailing case)
                                                                                           case)

                         v.
                         v.                            DECLARATION OF
                                                       DECLARATION OF KEVIN
                                                                      KEVIN SWEENEY
                                                                            SWEENEY

   TINA KOTEK, et
   TINA KOTEK,    al.,
               et al.,

                                       Defendants,
                                       Defendants,

                         and
                         and

   OREGON ALLIANCE
   OREGON ALLIANCE FOR
                   FOR GUN
                       GUN SAFETY,
                           SAFETY,

                              Intervenor-Defendant.
                              Intervenor-Defendant.


   Page 1 -- DECLARATION
   Page 1    DECLARATION OF
                         OF KEVIN M. SWEENEY
                            KEVIN M. SWEENEY
                                                                              Ex. 3_Echeverria Decl.
                                                                                            Page 41
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                                        76
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  MARK FITZ,
  MARK FITZ, et al.,
             et al.,

                                       Plaintiffs,
                                       Plaintiffs,

                        v.
                        v.

  ELLEN F. ROSENBLUM,
  ELLEN F. ROSENBLUM, et al.,
                      et al.,

                                     Defendants.
                                     Defendants.
  KATERINA B.
  KATERINA B. EYRE, et al.,
              EYRE, et al.,

                                       Plaintiffs,
                                       Plaintiffs,

                        v.
                        v.

  ELLEN F. ROSENBLUM,
  ELLEN F. ROSENBLUM, et al.,
                      et al.,

                                     Defendants,
                                     Defendants,
                       and
                       and

    OREGON ALLIANCE
    OREGON ALLIANCE FOR
                    FOR GUN
                        GUN SAFETY,
                            SAFETY,

                    Intervenor-Defendant.
                    Intervenor-Defendant.
  DANIEL AZZOPARDI,
  DANIEL AZZOPARDI, et al.,
                    et al.,

                                       Plaintiffs,
                                       Plaintiffs,

                        v.
                        v.

  ELLEN F. ROSENBLUM,
  ELLEN F. ROSENBLUM, et al.,
                      et al.,

                                     Defendants.
                                     Defendants.

                          DECLARATION OF
                          DECLARATION OF KEVIN M. SWEENEY
                                         KEVIN M. SWEENEY
         I, Kevin M.
         I, Kevin M. Sweeney, declare the
                     Sweeney, declare the following:
                                          following:
         1.
         1.     II am
                   am over
                      over the
                           the age
                               age of
                                   of eighteen
                                      eighteen (18) years, competent
                                               (18) years, competent to
                                                                     to testify
                                                                        testify to
                                                                                to the
                                                                                   the matters
                                                                                       matters
  contained in
  contained in this
               this declaration,
                    declaration, and
                                 and testify
                                     testify based
                                             based on
                                                   on my
                                                      my personal
                                                         personal knowledge
                                                                  knowledge and
                                                                            and information.
                                                                                information.

         2.
         2.     II am
                   am aa Professor
                         Professor of
                                   of History
                                      History emeritus at Amherst
                                              emeritus at Amherst College.
                                                                  College. From
                                                                           From 1989
                                                                                1989 to
                                                                                     to 2016,
                                                                                        2016, II
  taught history
  taught history and
                 and American
                     American Studies at Amherst.
                              Studies at Amherst. II regularly
                                                     regularly offered
                                                               offered courses on colonial
                                                                       courses on colonial
  American history,
  American history, the
                    the era
                        era of
                            of the
                               the American
                                   American Revolution,
                                            Revolution, and
                                                        and early American material
                                                            early American material culture,
                                                                                    culture, which
                                                                                             which
  focused on studying
  focused on studying the
                      the production
                          production and
                                     and use of home
                                         use of home furnishings and other
                                                     furnishings and other artifacts
                                                                           artifacts in
                                                                                     in common
                                                                                        common use
                                                                                               use



  Page 2 -- DECLARATION
  Page 2    DECLARATION OF
                        OF KEVIN M. SWEENEY
                           KEVIN M. SWEENEY
                                                                                 Ex. 3_Echeverria Decl.
                                                                                               Page 42
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                                        76
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  dating from
  dating from the
              the 1600s,
                  1600s, 1700s,
                         1700s, and
                                and early
                                    early 1800s.
                                          1800s. During
                                                 During these
                                                        these years,
                                                              years, in my own
                                                                     in my own research
                                                                               research on
                                                                                        on
  material culture,
  material culture, II made
                       made use
                            use of
                                of colonial-era
                                   colonial-era probate
                                                probate inventories
                                                        inventories to
                                                                    to study
                                                                       study such
                                                                             such topics
                                                                                  topics as
                                                                                         as home
                                                                                            home
  furnishings in
  furnishings    an effort
              in an        to discover
                    effort to          what types
                              discover what types of
                                                  of possession
                                                     possession were
                                                                were commonly found in
                                                                     commonly found in households,
                                                                                       households,
  to measure
  to measure changes
             changes in standards of
                     in standards of living, and to
                                     living, and to gain
                                                    gain insights
                                                         insights into          architecture.1 II also
                                                                       domestic architecture.1
                                                                  into domestic                   also
  examined critically
  examined critically and
                      and wrote
                          wrote about
                                about the
                                      the strengths
                                          strengths and
                                                    and weaknesses
                                                        weaknesses of
                                                                   of these
                                                                      these sources,
                                                                            sources, their
                                                                                     their
  usefulness and
  usefulness     pitfalls.2 For
             and pitfalls.2 For decades, historians who
                                decades, historians who are
                                                        are aware
                                                            aware of
                                                                  of these
                                                                     these records'
                                                                           records’ usefulness
                                                                                    usefulness and
                                                                                               and
  their limitations
  their limitations have
                    have used
                         used estate inventories to
                              estate inventories to study
                                                    study agricultural
                                                          agricultural changes in England,
                                                                       changes in          wealth and
                                                                                  England, wealth and
  social structures
  social structures in
                    in England and its
                       England and its colonies,
                                       colonies, the
                                                 the institution
                                                     institution of
                                                                 of slavery
                                                                    slavery in
                                                                            in colonial
                                                                               colonial American
                                                                                        American and
                                                                                                 and
  the lives
  the lives of
            of slaves,
               slaves, and
                       and household
                           household possessions
                                     possessions in
                                                 in America,
                                                    America, England,     France.3
                                                                      and France.3
                                                             England, and
          3.
          3.      My current
                  My current research on seventeenth
                             research on seventeenth and
                                                     and eighteenth-century
                                                         eighteenth-century firearms and militias
                                                                            firearms and militias
  utilizes similar
  utilizes similar types
                   types of
                         of methodologies,
                            methodologies, documentary
                                           documentary sources,
                                                       sources, and
                                                                and period
                                                                    period artifacts.
                                                                           artifacts. This project,
                                                                                      This project,
  which has
  which has been
            been going
                 going on
                       on for over aa decade,
                          for over    decade, was
                                              was initially
                                                  initially inspired
                                                            inspired by
                                                                     by my
                                                                        my skepticism
                                                                           skepticism of
                                                                                      of the
                                                                                         the
  controversial claims
  controversial claims and
                       and pretended
                           pretended use
                                     use of
                                         of evidence
                                            evidence from probate inventories
                                                     from probate inventories in Michael A.
                                                                              in Michael A.
  Bellesiles, Arming
  Bellesiles, Arming America:
                     America: The
                              The Origins of aa National
                                  Origins of    National Gun
                                                         Gun Culture
                                                             Culture (New York: Alfred
                                                                     (New York: Alfred A.
                                                                                       A.
  Knopf, 2000).
  Knopf, 2000). As
                As part
                   part of
                        of my
                           my on-going
                              on-going project,
                                       project, II have
                                                   have given
                                                        given papers
                                                              papers at
                                                                     at the
                                                                        the annual
                                                                            annual meetings
                                                                                   meetings of
                                                                                            of the
                                                                                               the
  American Historical
  American Historical Association
                      Association and
                                  and the
                                      the Organization
                                          Organization of
                                                       of American
                                                          American Historians,
                                                                   Historians, at
                                                                               at conferences
                                                                                  conferences on
                                                                                              on
  firearms and society
  firearms and society at
                       at Stanford and Wesleyan
                          Stanford and Wesleyan Universities,
                                                Universities, and
                                                              and elsewhere, and published
                                                                  elsewhere, and published two
                                                                                           two
  essays "Firearms
  essays “Firearms Militias,
                   Militias, and
                             and the
                                 the Second Amendment” (2013)
                                     Second Amendment" (2013) and
                                                              and "Firearms
                                                                  “Firearms Ownership
                                                                            Ownership and
                                                                                      and


          1
          1Kevin M.
           Kevin M. Sweeney,   “Furniture and
                     Sweeney, "Furniture   and the
                                                the Domestic
                                                     Domestic Environment
                                                               Environment in   Wethersfield,
                                                                             in Wethersfield,
  Connecticut, 1640-1800
  Connecticut, 1640-1800 inin Material
                              Material Life
                                       Life in America, 1600-1860,
                                            in America,   1600-1860, Robert
                                                                       Robert B.
                                                                              B. St. George, editor
                                                                                 St. George,  editor
  (Boston: Northeastern
  (Boston: Northeastern University
                         University Press,
                                    Press, 1988),
                                           1988), 261-261-290.
                                                    261-261-290.
         2
           Kevin M.
         2 Kevin M. Sweeney,   “Using Tax
                     Sweeney, "Using   Tax Lists   to Detect
                                             Lists to  Detect Biases
                                                              Biases in Probate Inventories,”
                                                                     in Probate               Early
                                                                                Inventories," Early
  American Probate
  American  Probate Inventories:
                     Inventories: Dublin
                                  Dublin Seminar
                                          Seminar forfor New
                                                         New England
                                                              England Folklife
                                                                       Folklife Annual
                                                                                Annual Proceedings
                                                                                       Proceedings
  1987, Peter
  1987, Peter Benes,
              Benes, editor
                     editor (Boston:
                            (Boston: Boston
                                     Boston University
                                              University Press,
                                                           Press, 1989),
                                                                  1989), 32-40.
                                                                         32-40.
          3
          3Some   notable examples
           Some notable    examples which
                                      which also
                                              also contain
                                                   contain informed
                                                            informed observations
                                                                      observations on
                                                                                    on the
                                                                                        the use
                                                                                            use of
                                                                                                 of probate
                                                                                                    probate
  inventories, their
  inventories, their biases,
                     biases, and
                             and how
                                  how to
                                       to deal
                                           deal with
                                                with the
                                                     the biases
                                                         biases see:
                                                                see: James  Horn, Adapting
                                                                     James Horn,   Adapting to   a New
                                                                                              to a New
  World:  English Society
  World: English   Society in
                            in the Seventeenth-Century Chesapeake
                               the Seventeenth-Century                  (Chapel Hill:
                                                          Chesapeake (Chapel    Hill: University
                                                                                      University of of
  North Carolina
  North  Carolina Press,
                   Press, 1994);
                          1994); Gloria
                                  Gloria L.  Main, Tobacco
                                          L. Main,  Tobacco Colony:    Life in
                                                              Colony: Life     Early Maryland,
                                                                            in Early Maryland, 1650-
                                                                                                  1650-
  1720 (Princeton:
  1720  (Princeton: Princeton
                     Princeton University
                                University Press,
                                             Press, 1982),
                                                    1982), esp.
                                                           esp. 49,
                                                                49, 282-286171-174;
                                                                    282-286171-174; Philip
                                                                                        Philip D.
                                                                                               D. Morgan,
                                                                                                   Morgan,
  Slave Counterpoint:
  Slave                 Black Culture
         Counterpoint: Black    Culture in
                                         in the Eighteenth-Century Chesapeake
                                            the Eighteenth-Century    Chesapeake & & Lowcountry
                                                                                      Lowcountry
  (Chapel Hill:
  (Chapel  Hill: University
                 University of
                             of North
                                North Carolina
                                       Carolina Press,
                                                 Press, 1998);
                                                         1998); Carole
                                                                Carole Shammas,
                                                                        Shammas, The     Pre-Industrial
                                                                                    The Pre-Industrial
  Consumer
  Consumer in    England and
             in England   and America
                                America (Oxford:
                                          (Oxford: Oxford
                                                    Oxford University
                                                             University Press,
                                                                        Press, 1990).
                                                                               1990). esp.
                                                                                       esp. 19-20;
                                                                                            19-20; Lorna
                                                                                                     Lorna
  Weatherill, Consumer
  Weatherill,             Behaviour &
               Consumer Behaviour     & Material
                                          Material Culture
                                                    Culture in  Britain 1660-1760,
                                                             in Britain 1660-1760, 2nd.
                                                                                     2nd. ed.
                                                                                          ed. (London:
                                                                                               (London:
  Routledge, 1996),
  Routledge,  1996), esp.
                      esp. 201-207.
                           201-207.


  Page 3 -- DECLARATION
  Page 3    DECLARATION OF
                        OF KEVIN M. SWEENEY
                           KEVIN M. SWEENEY
                                                                                     Ex. 3_Echeverria Decl.
                                                                                                   Page 43
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  Militias in
  Militias in Seventeenth- and Eighteenth-Century
              Seventeenth- and Eighteenth-Century England and America"
                                                  England and America” (2019).
                                                                       (2019). A
                                                                               A third
                                                                                 third essay is
                                                                                       essay is
  forthcoming on
  forthcoming on "Revolutionary
                 “Revolutionary State Militias in
                                State Militias    the Backcountry
                                               in the Backcountry and
                                                                  and Along
                                                                      Along the
                                                                            the Frontiers,"
                                                                                Frontiers,” and
                                                                                            and II
  am currently
  am currently working
               working on
                       on aa fourth
                             fourth essay
                                    essay as
                                          as well
                                             well as
                                                  as working
                                                     working on
                                                             on aa book-length
                                                                   book-length manuscript.
                                                                               manuscript. My
                                                                                           My
  curriculum vitae,
  curriculum vitae, detailing
                    detailing my
                              my education,
                                 education, experience,
                                            experience, and
                                                        and publications,
                                                            publications, is
                                                                          is attached
                                                                             attached to
                                                                                      to this
                                                                                         this
  declaration as
  declaration as Exhibit
                 Exhibit A.
                         A.
         4.
         4.      II have
                    have been
                         been retained
                              retained by
                                       by the
                                          the State of Oregon
                                              State of Oregon Defendants
                                                              Defendants to
                                                                         to provide
                                                                            provide an
                                                                                    an expert
                                                                                       expert
  opinion on
  opinion on repeating
             repeating firearms in eighteenth-century
                       firearms in                    America. II make
                                   eighteenth-century America.    make this
                                                                       this declaration
                                                                            declaration on
                                                                                        on the
                                                                                           the
  basis of
  basis of my
           my training,
              training, professional
                        professional expertise, and research.
                                     expertise, and           For my
                                                    research. For my work
                                                                     work in
                                                                          in this
                                                                             this case,
                                                                                  case, II am
                                                                                           am being
                                                                                              being
  compensated at
  compensated at aa rate of $50
                    rate of     per hour.
                            $50 per hour.
         5.
         5.      During the
                 During the 1700s,
                            1700s, most
                                   most gun
                                        gun owners
                                            owners in
                                                   in the
                                                      the British
                                                          British American
                                                                  American colonies
                                                                           colonies and
                                                                                    and in
                                                                                        in the
                                                                                           the
  newly independent
  newly independent republic
                    republic of
                             of the
                                the United
                                    United States possessed and
                                           States possessed and used
                                                                used single
                                                                     single shot,
                                                                            shot, muzzle-loading,
                                                                                  muzzle-loading,
  flintlock
  flintlock firearms. As Harold
            firearms. As Harold Peterson
                                Peterson stated
                                         stated in
                                                in his
                                                   his classic
                                                       classic 1956
                                                               1956 book
                                                                    book --
                                                                         -- Arms
                                                                            Arms and
                                                                                 and Armor
                                                                                     Armor in
                                                                                           in
  Colonial America, 1526-1783:
  Colonial America, 1526-1783:“The period began
                              "The period began in
                                                in 1689
                                                   1689 with
                                                        with the
                                                             the muzzle-loading
                                                                 muzzle-loading smooth-bore
                                                                                smooth-bore
  musket and
  musket and pistol
             pistol as
                    as the
                       the most
                           most popular
                                popular weapons.
                                        weapons. In 1783, almost
                                                 In 1783, almost aa hundred
                                                                    hundred years
                                                                            years later,
                                                                                  later, the
                                                                                         the period
                                                                                             period
  ended with
  ended with the
             the same
                 same weapons
                      weapons [i.e.
                              [i.e. muzzle-loading
                                    muzzle-loading smooth-bore
                                                   smooth-bore muskets
                                                               muskets and
                                                                       and pistols]
                                                                           pistols] still
                                                                                    still
  supreme, and
  supreme, and without
               without even
                       even any
                            any notable
                                notable improvements
                                        improvements in
                                                     in their
                                                        their design    construction."44 Peterson
                                                                     or construction.”
                                                              design or                  Peterson
  continued: "Breech-loaders
  continued: “Breech-loaders and
                             and repeaters
                                 repeaters had
                                           had appeared
                                               appeared frequently
                                                        frequently on
                                                                   on the
                                                                      the scene
                                                                          scene but
                                                                                but had
                                                                                    had made
                                                                                        made
  little impression upon
  little impression      it.”5
                    upon it."5
         6.
         6.      Evidence compiled during
                 Evidence compiled during aa decade
                                             decade of
                                                    of research
                                                       research using
                                                                using eighteenth-century
                                                                      eighteenth-century probate
                                                                                         probate
  inventories, militia
  inventories, militia muster
                       muster lists, newspapers, and
                              lists, newspapers, and other
                                                     other documentary
                                                           documentary sources
                                                                       sources confirms
                                                                               confirms the
                                                                                        the validity
                                                                                            validity
  of Peterson's
  of Peterson’s basic
                basic conclusions
                      conclusions while
                                  while offering
                                        offering three
                                                 three minor
                                                       minor modifications.
                                                             modifications. First,
                                                                            First, these
                                                                                   these weapons
                                                                                         weapons
  described by
  described by Peterson
               Peterson [i.e.,
                        [i.e., the
                               the muzzle-loading
                                   muzzle-loading smooth-bore
                                                  smooth-bore musket
                                                              musket and
                                                                     and pistol]
                                                                         pistol] were
                                                                                 were still
                                                                                      still
  “supreme” in
  "supreme" in 1800
               1800 and
                    and probably
                        probably as
                                 as late
                                    late as
                                         as 1810.
                                            1810. Second, most muzzle-loading,
                                                  Second, most muzzle-loading, flintlock
                                                                               flintlock long
                                                                                         long

  arms that
  arms that were
            were privately
                 privately owned
                           owned and
                                 and used
                                     used during
                                          during this
                                                 this period
                                                      period were
                                                             were not
                                                                  not muskets,
                                                                      muskets, but
                                                                               but lighter
                                                                                   lighter firearms
                                                                                           firearms

  that were
  that were usually cheaper and
            usually cheaper and had
                                had narrower
                                    narrower bores
                                             bores than
                                                   than did muskets. Finally,
                                                        did muskets. Finally, it
                                                                              it is
                                                                                 is more
                                                                                    more accurate
                                                                                         accurate to
                                                                                                  to

         4
         4 Harold L.
           Harold L. Peterson,
                     Peterson, Arms
                               Arms and
                                     and Armor
                                         Armor in
                                               in Colonial America 1526-1783
                                                  Colonial America 1526-1783 (Harrisburg,
                                                                             (Harrisburg,
  Penn.: Stackpole
  Penn.:           Publishing 1956),
         Stackpole Publishing  1956), 221.
                                      221.
         5
         5
                Ibid., 221.
                Ibid., 221.


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       4 -- DECLARATION
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  say that
  say that repeaters had occasionally
           repeaters had occasionally appeared
                                      appeared on
                                               on the
                                                  the scene
                                                      scene and
                                                            and not “frequently” as
                                                                not "frequently" as Peterson
                                                                                    Peterson
  believed. Here,
  believed. Here, he
                  he was
                     was probably
                         probably misled
                                  misled by
                                         by the
                                            the preference
                                                preference that
                                                           that private
                                                                private collectors
                                                                        collectors and
                                                                                   and institutional
                                                                                       institutional
  collections had
  collections had (and
                  (and still
                       still have)
                             have) for obtaining rare
                                   for obtaining rare examples
                                                      examples of
                                                               of unusual
                                                                  unusual or
                                                                          or innovative
                                                                             innovative firearms.
                                                                                        firearms.
  I.
  I.      Firearms Owned By
          Firearms Owned By Eighteenth-Century Americans
                            Eighteenth-Century Americans

          7.
          7.      Today, we tend
                  Today, we tend to
                                 to refer
                                    refer to
                                          to any
                                             any muzzle-loading
                                                 muzzle-loading eighteenth-century
                                                                eighteenth-century gun as aa
                                                                                   gun as
  musket, and
  musket, and this
              this is
                   is what
                      what Peterson
                           Peterson did
                                    did in
                                        in the
                                           the statement
                                               statement quoted
                                                         quoted above.
                                                                above. However,
                                                                       However, Peterson
                                                                                Peterson knew
                                                                                         knew
  better, as
  better, as did Ben Franklin.
             did Ben Franklin. In the mid-1740s,
                               In the mid-1740s, Franklin
                                                 Franklin informed the readers
                                                          informed the         of his
                                                                       readers of his Philadelphia
                                                                                      Philadelphia
  newspaper that
  newspaper that aa "Musket"
                    “Musket” was
                             was "the
                                 “the Name
                                      Name of
                                           of aa particular
                                                 particular Kind
                                                            Kind of Gun.”6 An
                                                                 of Gun."6 An eighteenth-century
                                                                              eighteenth-century
  musket was
  musket was aa sturdy,
                sturdy, muzzle-loading
                        muzzle-loading military
                                       military firearm
                                                firearm that
                                                        that fired
                                                             fired aa single
                                                                      single lead
                                                                             lead ball
                                                                                  ball weighing
                                                                                       weighing about
                                                                                                about
  an ounce,
  an ounce, had
            had aa sling
                   sling for
                         for ease
                             ease of
                                  of carrying on long
                                     carrying on long marches,
                                                      marches, and
                                                               and had
                                                                   had aa lug
                                                                          lug near
                                                                              near the
                                                                                   the muzzle
                                                                                       muzzle for
                                                                                              for

  attaching aa bayonet.
  attaching    bayonet. It
                        It weighed
                           weighed about
                                   about 10
                                         10 to
                                            to 11
                                               11 pounds
                                                  pounds and
                                                         and was
                                                             was .69
                                                                 .69 caliber
                                                                     caliber in
                                                                             in its bore if
                                                                                its bore    French
                                                                                         if French
  or .75
  or .75 caliber
         caliber if
                 if English, with an
                    English, with an average
                                     average barrel
                                             barrel length
                                                    length of
                                                           of 44 inches.77 On
                                                              44 inches.   On aa battlefield,
                                                                                 battlefield, aa musket
                                                                                                 musket
  was more
  was more than
           than just
                just aa firearm:
                        firearm: because
                                 because of
                                         of its weight and
                                            its weight and sturdy
                                                           sturdy construction
                                                                  construction and
                                                                               and because
                                                                                   because of
                                                                                           of its
                                                                                              its
  bayonet, aa musket
  bayonet,    musket also
                     also functioned as aa club
                          functioned as    club and
                                                and aa spear.
                                                       spear. These
                                                              These capabilities were integral
                                                                    capabilities were integral to
                                                                                               to its
                                                                                                  its
  role as
  role as an
          an eighteenth-century
             eighteenth-century military
                                military arm.
                                         arm. The combination of
                                              The combination of these
                                                                 these features and capabilities
                                                                       features and capabilities
  made aa musket
  made    musket "a
                 “a Universal Weapon.”8
                    Universal Weapon."8
          8.
          8.      Eighteenth-century muskets did
                  Eighteenth-century muskets did have
                                                 have two
                                                      two serious
                                                          serious drawbacks
                                                                  drawbacks which
                                                                            which they
                                                                                  they shared
                                                                                       shared
  with all
  with all flintlock, muzzle-loading smoothbores.
           flintlock, muzzle-loading smoothbores. First,
                                                  First, their
                                                         their accuracy
                                                               accuracy and
                                                                        and range
                                                                            range were
                                                                                  were limited.
                                                                                       limited.
  The round ball
  The round ball fired
                 fired by
                       by these
                          these weapons
                                weapons was
                                        was not
                                            not very
                                                very aerodynamic,
                                                     aerodynamic, and
                                                                  and this
                                                                      this produced
                                                                           produced aa great
                                                                                       great deal
                                                                                             deal
  of drag
  of drag that
          that reduced
               reduced its
                       its velocity.
                           velocity. A
                                     A musket's
                                       musket’s smooth-bore
                                                smooth-bore barrel
                                                            barrel also
                                                                   also lacked rifling, which
                                                                        lacked rifling, which were
                                                                                              were
  spiral grooves
  spiral         cut inside
         grooves cut        the barrel.
                     inside the barrel. When
                                        When aa ball
                                                ball traveled
                                                     traveled down
                                                              down aa barrel
                                                                      barrel with
                                                                             with rifling,
                                                                                  rifling, the
                                                                                           the grooves
                                                                                               grooves

  imparted aa spin
  imparted    spin to
                   to the
                      the ball
                          ball that
                               that stabilized
                                    stabilized and
                                               and flattened its trajectory,
                                                   flattened its trajectory, increasing
                                                                             increasing its
                                                                                        its distance and
                                                                                            distance and
  accuracy. (The
  accuracy. (The effect
                 effect of
                        of rifling on aa rifle
                           rifling on    rifle ball's
                                               ball’s flight
                                                      flight can be compared
                                                             can be          to throwing
                                                                    compared to throwing aa spiral
                                                                                            spiral pass
                                                                                                   pass


          6
          6
                    “Form of
                    "Form    of Association"
                                 Association” in
                                               in The  Papers of
                                                  The Papers   of Benjamin
                                                                   Benjamin Franklin,
                                                                             Franklin, ed.,
                                                                                        ed., Leonard W.
                                                                                             Leonard W.
  Labaree,  et al.,
  Labaree, et  al., 40
                    40 volumes
                        volumes toto date
                                     date (New
                                          (New Haven:
                                                Haven: Yale
                                                        Yale University
                                                              University Press,
                                                                         Press, 1959-),
                                                                                1959-), Vol.
                                                                                        Vol. 3, 208.
                                                                                             3, 208.
         7
           Author’s estimate
         7 Author's     estimate of
                                  of barrel
                                     barrel averages
                                            averages calculated
                                                     calculated from
                                                                from data found in
                                                                     data found  in George
                                                                                    George C.
                                                                                            C. Neumann,
                                                                                                Neumann,
  Battle Weapons
  Battle Weapons of   of the American Revolution,
                         the American   Revolution, (Texarkana,
                                                    (Texarkana, Texas:
                                                                 Texas: Scurlock,  1998), 121-141.
                                                                        Scurlock, 1998),  121-141.
         8
         8 Stuart    Reid, The
           Stuart Reid,          Flintlock Musket:
                            The Flintlock  Musket: Brown
                                                   Brown Bess
                                                          Bess and
                                                                and Charleville
                                                                    Charleville 11715-1865(Oxford:
                                                                                  715-1865(Oxford:
  Osprey, 2016),
  Osprey,  2016), 61,61, 55-60.
                          55-60.


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  in football
  in football which
              which also
                    also flattens
                         flattens trajectory
                                  trajectory and
                                             and improves
                                                 improves accuracy.)
                                                          accuracy.) While
                                                                     While aa smooth-bore
                                                                              smooth-bore musket
                                                                                          musket
  may have
  may have been
           been just
                just as
                     as accurate
                        accurate as
                                 as an
                                    an eighteenth-century muzzle-loading rifle
                                       eighteenth-century muzzle-loading       at distances
                                                                         rifle at distances of
                                                                                            of up
                                                                                               up
  to 50
  to    yards, most
     50 yards, most authorities
                    authorities agree
                                agree that
                                      that aa musket
                                              musket was
                                                     was not
                                                         not very
                                                             very accurate
                                                                  accurate at
                                                                           at ranges
                                                                              ranges beyond
                                                                                     beyond 100
                                                                                            100
  yards.9 Today,
  yards.9        pistols and
          Today, pistols and most
                             most long
                                  long arms
                                       arms other
                                            other than
                                                  than shotguns
                                                       shotguns have
                                                                have rifled
                                                                     rifled barrels.
                                                                            barrels.
          9.
          9.      Loading and reloading
                  Loading and reloading eighteenth-century muskets was
                                        eighteenth-century muskets was aa complicated and
                                                                          complicated and
  relatively slow
  relatively slow process
                  process by
                          by today's
                             today’s standards.
                                     standards. To
                                                To load
                                                   load aa musket,
                                                           musket, aa shooter
                                                                      shooter held
                                                                              held it
                                                                                   it in
                                                                                      in front of him
                                                                                         front of him

  parallel to
  parallel to the
              the ground,
                  ground, pulled
                          pulled back
                                 back the
                                      the gun’s
                                          gun's cock to its
                                                cock to its half
                                                            half cock
                                                                 cock position
                                                                      position to
                                                                               to prevent
                                                                                  prevent aa premature
                                                                                             premature
  discharge, and
  discharge, and then
                 then took
                      took from
                           from aa cartridge box an
                                   cartridge box an individual
                                                    individual paper
                                                               paper cartridge that contained
                                                                     cartridge that contained aa pre-
                                                                                                 pre-
  measured load
  measured      of gunpowder
           load of           and aa ball.
                   gunpowder and    ball. Next
                                          Next one
                                               one opened
                                                   opened the
                                                          the priming
                                                              priming pan,
                                                                      pan, bit
                                                                           bit the
                                                                               the cartridge
                                                                                   cartridge and
                                                                                             and
  poured aa small
  poured    small amount
                  amount of
                         of powder
                            powder into the priming
                                   into the priming pan
                                                    pan which
                                                        which was
                                                              was then
                                                                  then closed shut. Following
                                                                       closed shut. Following
  this, the
  this, the shooter
            shooter placed
                    placed the
                           the musket
                               musket upright
                                      upright on
                                              on the
                                                 the ground
                                                     ground and
                                                            and poured
                                                                poured the
                                                                       the remainder
                                                                           remainder of
                                                                                     of the
                                                                                        the
  cartridge’s gun
  cartridge's gun powder
                  powder down
                         down the
                              the barrel,
                                  barrel, and
                                          and then
                                              then crammed the paper
                                                   crammed the paper cartridge
                                                                     cartridge with
                                                                               with its ball into
                                                                                    its ball into
  the barrel.
  the barrel. (The
              (The cartridge's
                   cartridge’s paper
                               paper wrapper
                                     wrapper served
                                             served as
                                                    as wadding,
                                                       wadding, holding the ball
                                                                holding the ball in
                                                                                 in place.)
                                                                                    place.) A
                                                                                            A
  ramrod was
  ramrod was used
             used to
                  to push
                     push the
                          the cartridge
                              cartridge paper
                                        paper and
                                              and ball
                                                  ball down
                                                       down the
                                                            the barrel,
                                                                barrel, after
                                                                        after which
                                                                              which the
                                                                                    the ramrod
                                                                                        ramrod
  was recovered
  was recovered and
                and secured
                    secured in its resting
                            in its resting place
                                           place under
                                                 under the
                                                       the barrel.
                                                           barrel. The
                                                                   The musket
                                                                       musket was
                                                                              was then
                                                                                  then raised,
                                                                                       raised,
  placed on
  placed on full cock, aimed,
            full cock, aimed, and
                              and the
                                  the trigger
                                      trigger pulled.
                                              pulled. Pulling
                                                      Pulling the
                                                              the trigger
                                                                  trigger released
                                                                          released the
                                                                                   the cock, which
                                                                                       cock, which
  held aa flint
  held          that moved
          flint that moved forward,
                           forward, striking
                                    striking aa steel
                                                steel frizzen,
                                                      frizzen, creating sparks that
                                                               creating sparks that ignited
                                                                                    ignited the
                                                                                            the powder
                                                                                                powder in
                                                                                                       in
  the priming
  the priming pan
              pan which
                  which in
                        in turn
                           turn ignited
                                ignited the
                                        the charge
                                            charge of
                                                   of powder
                                                      powder placed
                                                             placed in
                                                                    in the
                                                                       the barrel,
                                                                           barrel, creating
                                                                                   creating an
                                                                                            an
  explosion that—finally—discharged
  explosion that—finally—discharged the
                                    the musket
                                        musket ball.
                                               ball. As
                                                     As aa rule,
                                                           rule, aa musket
                                                                    musket could
                                                                           could realistically
                                                                                 realistically be
                                                                                               be
  loaded and
  loaded and fired
             fired two
                   two or
                       or three
                          three times
                                times aa minute
                                         minute in
                                                in combat by well-equipped
                                                   combat by well-equipped and
                                                                           and trained soldiers.10
                                                                               trained soldiers.1°
          10.
          10.     The process of
                  The process of loading
                                 loading and
                                         and reloading
                                             reloading aa musket
                                                          musket took
                                                                 took even
                                                                      even longer if instead
                                                                           longer if instead of
                                                                                             of
  using aa prepared
  using    prepared paper
                    paper cartridge,
                          cartridge, one
                                     one used
                                         used gunpowder
                                              gunpowder from
                                                        from aa powder
                                                                powder horn
                                                                       horn to
                                                                            to prime
                                                                               prime the
                                                                                     the pan
                                                                                         pan and
                                                                                             and


          9
          9Reid, Flintlock
           Reid, Flintlock Musket,
                            Musket, 34.
                                     34. For
                                         For aa claim
                                                claim that
                                                      that aa rifle
                                                              rifle had
                                                                    had an
                                                                         an advantage
                                                                             advantage over
                                                                                          over aa musket
                                                                                                  musket at
                                                                                                          at
  distances greater
  distances         than 50
            greater than     yards see
                          50 yards see John F. Winkler,
                                       John F.  Winkler, Point
                                                         Point Pleasant,
                                                                  Pleasant, 1774:
                                                                              1774: Prelude
                                                                                      Prelude toto the
                                                                                                   the
  American Revolution
  American  Revolution (Oxford:
                         (Oxford: Osprey,
                                   Osprey, 2014),
                                           2014), 29.
                                                    29. For
                                                        For aa claim
                                                                claim that
                                                                       that aa rifle and aa musket
                                                                               rifle and    musket were
                                                                                                     were
  equally accurate
  equally accurate at
                    at 100
                       100 yards
                           yards see
                                 see Alexander
                                     Alexander Rose,
                                                 Rose, American
                                                        American Rifle,
                                                                     Rifle, A
                                                                            A Biography
                                                                               Biography (New
                                                                                            (New York:
                                                                                                    York:
  Delta Trade
  Delta Trade Paperbacks,
               Paperbacks, 2009),
                             2009), 20.
                                    20.
         10
         1° Jeremy Black, European
            Jeremy Black, European Warfare,  1660-1815 (New
                                    Warfare, 1660-1815  (New Haven:
                                                              Haven: Yale
                                                                     Yale University
                                                                          University Press,
                                                                                     Press,
  1994), 40;
  1994), 40; Hew
             Hew Strachen,  European Armies
                  Strachen, European Armies and
                                             and the
                                                 the Conduct of War
                                                     Conduct of     (London: George
                                                                War (London: George Allen
                                                                                     Allen &&
  Unwin, 1983),
  Unwin,  1983), 17.
                 17.


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   then poured
   then poured into
               into the
                    the horn's
                        horn’s measuring
                               measuring cap the amount
                                         cap the amount of
                                                        of powder
                                                           powder needed
                                                                  needed to
                                                                         to charge
                                                                            charge the
                                                                                   the barrel.
                                                                                       barrel.
   With this
   With this procedure
             procedure one
                       one also
                           also had
                                had to
                                    to remove
                                       remove an
                                              an individual musket ball
                                                 individual musket ball from
                                                                        from aa shot
                                                                                shot pouch
                                                                                     pouch and
                                                                                           and
   place it
   place it in
            in the
               the barrel
                   barrel after
                          after pouring
                                pouring down
                                        down the
                                             the measured
                                                 measured charge of powder.
                                                          charge of powder. The ball was
                                                                            The ball was then
                                                                                         then
   rammed home.
   rammed home. Using
                Using this
                      this method
                           method of
                                  of loading
                                     loading not
                                             not only
                                                 only took
                                                      took longer,
                                                           longer, but
                                                                   but also
                                                                       also lacked
                                                                            lacked the
                                                                                   the wadding
                                                                                       wadding
   provided by
   provided by aa paper
                  paper cartridge
                        cartridge which
                                  which helped
                                        helped hold
                                               hold the
                                                    the ball
                                                        ball in
                                                             in place.
                                                                place. According
                                                                       According to
                                                                                 to the
                                                                                    the results
                                                                                        results of
                                                                                                of
   one modern
   one modern test,
              test, wadding
                    wadding also
                            also increased
                                 increased aa smoothbore's
                                              smoothbore’s muzzle
                                                           muzzle velocity
                                                                  velocity by
                                                                           by about 30%.11 Most
                                                                              about 30%.11 Most
   hunters, backwoods
   hunters, backwoods men
                      men with
                          with muzzle-loading
                               muzzle-loading rifles,
                                              rifles, and
                                                      and many
                                                          many colonial
                                                               colonial militiamen
                                                                        militiamen lacked
                                                                                   lacked
   cartridge boxes
   cartridge boxes and
                   and paper
                       paper cartridges and instead
                             cartridges and         used powder
                                            instead used powder horns
                                                                horns and
                                                                      and shot
                                                                          shot bags.
                                                                               bags.
          11.
          11.     Even with these
                  Even with these drawbacks,
                                  drawbacks, colonial
                                             colonial governments
                                                      governments and
                                                                  and later
                                                                      later state
                                                                            state governments
                                                                                  governments
   armed troops
   armed troops with
                with these
                     these muskets
                           muskets during
                                   during the
                                          the French
                                              French and
                                                     and Indian
                                                         Indian War
                                                                War (1754-1763)
                                                                    (1754-1763) and
                                                                                and the
                                                                                    the
   Revolutionary War
   Revolutionary War (1775-1783).
                     (1775-1783). There really weren't
                                  There really weren’t serious
                                                       serious alternatives.
                                                               alternatives. As
                                                                             As aa result,
                                                                                   result, the
                                                                                           the
   British Ordnance
   British Ordnance Office
                    Office loaned
                           loaned colonial
                                  colonial governments 22,000 muskets
                                           governments 22,000 muskets to
                                                                      to arm
                                                                         arm provincial
                                                                             provincial troops
                                                                                        troops
   raised for
   raised     active service
          for active service in
                             in the
                                the field
                                    field during the French
                                          during the French and
                                                            and Indian War, and
                                                                Indian War, and at
                                                                                at least
                                                                                   least 100,000
                                                                                         100,000
   European muskets—most of
   European muskets—most of them
                            them French—were
                                 French—were imported during the
                                             imported during the American
                                                                 American War
                                                                          War for
                                                                              for
                 12
   Independence.
   Independence.12  During the
                    During the French
                               French and
                                      and Indian
                                          Indian War, the British
                                                 War, the British also
                                                                  also sent
                                                                       sent muskets
                                                                            muskets to
                                                                                    to arm
                                                                                       arm
   Georgia and
   Georgia and North
               North Carolina
                     Carolina militiamen
                              militiamen who
                                         who lacked
                                             lacked arms,
                                                    arms, and
                                                          and state
                                                              state governments
                                                                    governments sometimes
                                                                                sometimes
   provided arms
   provided arms for mobilized militiamen
                 for mobilized militiamen during the Revolutionary
                                          during the               War.13
                                                     Revolutionary War.13
          12.
          12.     As aa rule,
                  As          American colonists
                        rule, American colonists preferred
                                                 preferred lighter
                                                           lighter firearms that were
                                                                   firearms that were better
                                                                                      better suited
                                                                                             suited
   than muskets
   than muskets for
                for pest
                    pest control, birding, or
                         control, birding, or hunting.
                                              hunting. Especially popular in
                                                       Especially popular in New
                                                                             New England were
                                                                                 England were
   locally made
   locally made or
                or imported
                   imported smoothbore
                            smoothbore and
                                       and fusils that weighed
                                           fusils that weighed only
                                                               only 66 to
                                                                       to 7
                                                                          7 pounds
                                                                            pounds and
                                                                                   and had
                                                                                       had
   narrower bores
   narrower bores of
                  of .60
                     .60 to
                         to .65
                            .65 caliber, with average
                                caliber, with average barrel
                                                      barrel lengths of 50
                                                             lengths of    inches.14 The
                                                                        50 inches.14     narrower
                                                                                     The narrower

          11
          11 Glenn   Foard, Battlefield
             Glenn Foard,   Battlefield Archaeology
                                        Archaeology of
                                                     of the English Civil
                                                        the English Civil War British Series
                                                                          War British Series 570
                                                                                             570
   (Oxford: British
   (Oxford:  British Archaeological
                     Archaeological Reports,
                                      Reports, 2012),
                                               2012), 105.
                                                      105.
          12
          12 De Witt
             De Witt Bailey,
                     Bailey, Small
                             Small Arms
                                   Arms of
                                        of the British Forces
                                           the British Forces in America 1664-1815
                                                              in America  1664-1815 (Woonsocket,
                                                                                     (Woonsocket,
    R.I.: Mowbray,
   R.I.:  Mowbray, 2009),
                   2009), 120-123;
                          120-123; George
                                   George D.
                                           D. Moller,
                                              Moller, American
                                                       American Military
                                                                 Military Shoulder
                                                                          Shoulder Arms,
                                                                                   Arms,
   22 volumes
      volumes (Albuquerque,
              (Albuquerque, N.M.,
                             N.M., 2011),
                                   2011), Vol.
                                          Vol. 1,
                                               1, Appendix
                                                  Appendix 5,  484-485.
                                                            5, 484-485.
          13
          13 Kevin M.
             Kevin   M. Sweeney,   “Firearms, Militias,
                         Sweeney, "Firearms,   Militias, and
                                                         and the
                                                             the Second  Amendment” in
                                                                 Second Amendment"      in Saul Cornell
                                                                                           Saul Cornell
   and Nathan
   and Nathan Kozuskanich,
                Kozuskanich, eds.
                               eds. The Second Amendment
                                    The Second  Amendment on  on Trial:
                                                                 Trial: Critical Essays on
                                                                        Critical Essays  on District
                                                                                            District of
                                                                                                     of
   Columbia
   Columbia v.    Heller (Amherst:
              v. Heller  (Amherst: University
                                    University of
                                               of Massachusetts
                                                  Massachusetts Press,
                                                                  Press, 2013),
                                                                         2013), 335,  348, 351-352.
                                                                                 335, 348, 351-352.
          14
             Author’s estimate
          14 Author's   estimate of
                                 of barrel
                                    barrel averages
                                           averages calculated
                                                    calculated from
                                                                from data found in
                                                                     data found   in Neumann,
                                                                                     Neumann, Battle
                                                                                                Battle
   Weapons
   Weapons ofof the  American Revolution,
                 the American  Revolution, 150-166.
                                            150-166.


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        7 -- DECLARATION
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  bores used
  bores used smaller
             smaller and
                     and lighter
                         lighter projectiles,
                                 projectiles, required
                                              required less powder for
                                                       less powder for each
                                                                       each shot,
                                                                            shot, and
                                                                                  and thus
                                                                                      thus reduced
                                                                                           reduced
  the weight
  the weight of
             of the
                the lead
                    lead ammunition
                         ammunition one carried.15 Some
                                    one carried.15      New England
                                                   Some New         fowlers could
                                                            England fowlers could outrange
                                                                                  outrange
  muskets and
  muskets and some
              some were
                   were modified
                        modified to
                                 to carry    bayonet.16 However,
                                    carry aa bayonet.16 However, because
                                                                 because of
                                                                         of their
                                                                            their lighter
                                                                                  lighter weights
                                                                                          weights
  and sleeker
  and sleeker construction, they were
              construction, they were not
                                      not necessarily
                                          necessarily as
                                                      as sturdy
                                                         sturdy or
                                                                or as
                                                                   as "soldier-proof'
                                                                      “soldier-proof” as
                                                                                      as aa musket
                                                                                            musket
  nor as
  nor as effective
         effective as
                   as aa club.
                         club.
          13.
          13.     Many residents
                  Many residents living
                                 living in the colonies
                                        in the          stretching from
                                               colonies stretching from New
                                                                        New York
                                                                            York to
                                                                                 to Virginia
                                                                                    Virginia owned
                                                                                             owned
  “trade guns."
  "trade guns.” These
                These were
                      were inexpensive, muzzle-loading, single
                           inexpensive, muzzle-loading, single shot,
                                                               shot, smooth-bore
                                                                     smooth-bore firearms
                                                                                 firearms
  designed and
  designed and produced
               produced for
                        for trade
                            trade with
                                  with Native
                                       Native Americans.
                                              Americans. Some of these
                                                         Some of these guns
                                                                       guns weighed
                                                                            weighed as
                                                                                    as little
                                                                                       little as
                                                                                              as
                                                                                     17
  5.5 pounds, had
  5.5 pounds, had bores
                  bores of
                        of .57
                           .57 to
                               to .62
                                  .62 caliber, and barrels
                                      caliber, and barrels only
                                                           only 36
                                                                36 to
                                                                   to 40
                                                                      40 inches
                                                                         inches long.
                                                                                long.17 Because of
                                                                                        Because of
  these features,
  these features, they
                  they were
                       were much
                            much easier
                                 easier to
                                        to handle
                                           handle than
                                                  than aa musket
                                                          musket and
                                                                 and employed
                                                                     employed about
                                                                              about half
                                                                                    half the
                                                                                         the weight
                                                                                             weight
  of lead
  of lead and
          and powder
              powder than
                     than compared to aa musket
                          compared to    musket for
                                                for each
                                                    each shot.
                                                         shot. However,
                                                               However, these
                                                                        these light, often cheaply
                                                                              light, often cheaply
  constructed firearms
  constructed firearms did not function
                       did not function well
                                        well as
                                             as clubs and were
                                                clubs and were not
                                                               not designed
                                                                   designed to
                                                                            to carry
                                                                               carry aa bayonet.
                                                                                        bayonet.
          14.
          14.     In the backcountry
                  In the backcountry of
                                     of Pennsylvania
                                        Pennsylvania and
                                                     and the
                                                         the colonies
                                                             colonies further
                                                                      further south
                                                                              south there
                                                                                    there was
                                                                                          was aa
  distinct minority
  distinct minority of
                    of men
                       men who
                           who owned
                               owned more
                                     more expensive locally made
                                          expensive locally made long
                                                                 long rifles. As aa rule,
                                                                      rifles. As          these
                                                                                    rule, these
  firearms weighed from
  firearms weighed from 77 to
                           to 88 pounds,
                                 pounds, had
                                         had .58
                                             .58 to
                                                 to .62
                                                    .62 caliber bores—though some
                                                        caliber bores—though some were
                                                                                  were even
                                                                                       even
  smaller—and barrels
  smaller—and barrels averaging
                      averaging 42
                                42 inches
                                   inches in length, and
                                          in length, and fired
                                                         fired projectiles
                                                               projectiles weighing
                                                                           weighing much
                                                                                    much less
                                                                                         less than
                                                                                              than
  musket balls.18 Because
  musket balls."  Because of
                          of the
                             the barrel's
                                 barrel’s rifling,
                                          rifling, these
                                                   these guns
                                                         guns were
                                                              were more
                                                                   more accurate
                                                                        accurate than
                                                                                 than smoothbore
                                                                                      smoothbore
  muskets and
  muskets and outranged
              outranged them.
                        them. However,
                              However, they
                                       they took
                                            took more
                                                 more time
                                                      time to
                                                           to reload because riflemen
                                                              reload because riflemen had
                                                                                      had to
                                                                                          to use
                                                                                             use
  powder horns
  powder horns and
               and bullet
                   bullet pouches
                          pouches instead
                                  instead of
                                          of paper
                                             paper cartridges,
                                                   cartridges, and
                                                               and reloading became harder
                                                                   reloading became harder as
                                                                                           as



          15
          15 Steven
             Steven C.C. Eames,
                         Eames, Rustic
                                  Rustic Warriors:
                                            Warriors: Warfare     and the
                                                        Warfare and        Provincial Soldier
                                                                       the Provincial   Soldier on
                                                                                                on the New
                                                                                                   the New
  England   Frontier, 1689-1748
  England Frontier,    1689-1748 (New         York: New
                                     (New York:      New York
                                                           York University
                                                                 University Press,
                                                                              Press, 2011),
                                                                                     2011), 121-122;
                                                                                             121-122;
  Neumann, Battle
  Neumann,    Battle Weapons
                      Weapons of of the   American Revolution,
                                     the American     Revolution, 206-210.
                                                                    206-210.
          16
             Douglas D.
          16 Douglas   D. Scott,  et al.,
                           Scott, et  al., "Colonial
                                           “Colonial Era
                                                       Era Firearm
                                                           Firearm Bullet
                                                                     Bullet Performance:
                                                                             Performance: Live
                                                                                            Live Fire
                                                                                                  Fire
  Experimental
  Experimental Study
                  Study for  Archaeological Interpretation”
                         for Archaeological                        (April 2017),
                                                 Interpretation" (April    2017), 26,
                                                                                  26, 36;
                                                                                      36; Tom   Grinslade,
                                                                                           Tom Grinslade,
  Flintlock Fowlers:
  Flintlock  Fowlers: The   First Guns
                        The First  Guns MadeMade in   America (Texarkana,
                                                   in America   (Texarkana, Texas:
                                                                              Texas: Scurlock    Publishing
                                                                                       Scurlock Publishing
  2005), 59,72,
  2005), 59,72, 73,
                  73, 75.
                      75.
          17
             M. L.
          17 M.     Brown, Firearms
                 L. Brown,   Firearms in   in Colonial  America: The
                                              Colonial America:          Impact on
                                                                    The Impact   on History
                                                                                     History and
                                                                                             and Technology
                                                                                                  Technology
  1497-1792 (Washington,
  1497-1792    (Washington, D.C.:
                              D.C.: Smithsonian        Institution Press,
                                       Smithsonian Institution     Press, 1980),
                                                                           1980), 283;
                                                                                  283; Neumann,
                                                                                         Neumann, Battle
                                                                                                    Battle
  Weapons
  Weapons of of the American Revolution,
                the American   Revolution, 203-205.
                                                203-205.
          18
             Author’s estimate
          18 Author's   estimate of
                                  of barrel
                                      barrel averages
                                               averages calculated
                                                         calculated from    barrels lengths
                                                                     from barrels           of individual
                                                                                    lengths of individual
  muskets given
  muskets          in Neumann,
            given in  Neumann, Battle
                                  Battle Weapons
                                             Weapons ofof the American Revolution,
                                                          the American    Revolution, 215-225.
                                                                                       215-225.


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                                                                   19
 gunpowder residue
 gunpowder residue built
                   built up
                         up in
                            in the
                               the grooves
                                   grooves of
                                           of the
                                              the barrel's
                                                  barrel’s rifling.
                                                           rifling.19 Additionally, these
                                                                      Additionally, these long
                                                                                          long rifles
                                                                                               rifles
 were not
 were not designed to take
          designed to take aa bayonet,
                              bayonet, and
                                       and they
                                           they could break if
                                                could break    used as
                                                            if used as aa club.
                                                                          club.
         15.
         15.     Muzzle-loading pistols
                 Muzzle-loading pistols were
                                        were not
                                             not as
                                                 as popular
                                                    popular as
                                                            as long arms which—as
                                                               long arms which—as experts
                                                                                  experts have
                                                                                          have
 pointed out—"could
 pointed out—“could economically
                    economically be
                                 be used
                                    used dually
                                         dually for protection and
                                                for protection     hunting.”20 Pistols
                                                               and hunting."2° Pistols were
                                                                                       were
 therefore found
 therefore found in only aa minority
                 in only    minority of
                                     of eighteenth-century probate inventories
                                        eighteenth-century probate             (Table 1).
                                                                   inventories (Table 1). It took
                                                                                          It took
 about 15
 about 15 seconds
          seconds to
                  to reload
                     reload aa pistol,
                               pistol, and
                                       and as
                                           as aa result, they were
                                                 result, they were often
                                                                   often made
                                                                         made in
                                                                              in pairs
                                                                                 pairs "so
                                                                                       “so that
                                                                                           that the
                                                                                                the owner
                                                                                                    owner
 might have
 might have two
            two shots
                shots at
                      at his command.”21 Instead
                         his command."21 Instead of
                                                 of taking
                                                    taking time
                                                           time to
                                                                to reload
                                                                   reload aa pistol
                                                                             pistol on
                                                                                    on aa battlefield,
                                                                                          battlefield,
 cavalry troopers
 cavalry troopers used
                  used discharged pistols as
                       discharged pistols as clubs
                                             clubs or
                                                   or threw
                                                      threw them
                                                            them at
                                                                 at enemy cavalrymen.22 As
                                                                    enemy cavalrymen.22 As it
                                                                                           it was,
                                                                                              was,
 period pistols
 period pistols were
                were discharged
                     discharged in close proximity
                                in close proximity to
                                                   to their
                                                      their targets
                                                            targets because
                                                                    because their
                                                                            their low muzzle velocity
                                                                                  low muzzle velocity
 of 330-440
 of 330-440 f/s
            f/s limited
                limited the
                        the range and impact
                            range and impact of
                                             of their
                                                their projectiles.
                                                      projectiles. By
                                                                   By comparison,
                                                                      comparison, muzzle
                                                                                  muzzle velocities
                                                                                         velocities
 produced by
 produced by reproductions
             reproductions of
                           of eighteenth-century muskets (780
                              eighteenth-century muskets (780 f/s to 870
                                                              f/s to     f/s), fowlers
                                                                     870 f/s),         (1160 f/s
                                                                               fowlers (1160 f/s to
                                                                                                 to
 1444 f/s)
 1444 f/s) and
           and rifles
               rifles (1195
                      (1195 f/s
                            f/s to
                                to 1320
                                   1320 f/s) are much
                                        f/s) are      higher.23
                                                 much higher.23
         16.
         16.     Civilian officials
                 Civilian officials and
                                    and military
                                        military officers
                                                 officers generally
                                                          generally had
                                                                    had aa low opinion of
                                                                           low opinion of trade
                                                                                          trade guns,
                                                                                                guns,
  fowlers and
  fowlers and even
              even the
                   the period's
                       period’s American-made
                                American-made long
                                              long rifles.
                                                   rifles. During
                                                           During the
                                                                  the French
                                                                      French and
                                                                             and Indian
                                                                                 Indian War,
                                                                                        War,
  firearms in use
  firearms in use in
                  in New
                     New Hampshire
                         Hampshire were
                                   were said
                                        said to
                                             to be
                                                be "in
                                                   “in general
                                                       general of
                                                               of the
                                                                  the meanest
                                                                      meanest Sort” while those
                                                                              Sort" while those in
                                                                                                in
 Connecticut "which
 Connecticut “which belong
                    belong to
                           to private
                              private persons
                                      persons [were]
                                              [were] mostly
                                                     mostly poor
                                                            poor and
                                                                 and undersized
                                                                     undersized and
                                                                                and unfit
                                                                                    unfit for
                                                                                          for an
                                                                                              an
  expedition.”24 In
  expedition."24    1756, most
                 In 1756, most of
                               of New
                                  New York's
                                      York’s militia
                                             militia were
                                                     were armed
                                                          armed with
                                                                with guns “chiefly for
                                                                     guns "chiefly     the Indian
                                                                                   for the Indian



         19
         19John  W. Wright,
           John W.           “The rifle
                     Wright, "The rifle in
                                        in the
                                           the American
                                               American Revolution,"
                                                        Revolution,” American
                                                                     American Historical
                                                                              Historical Review
                                                                                         Review
 Vol. 29,
 Vol. 29, No.
          No. 22 (January
                 (January 1924),
                          1924), 293-299.
                                 293-299.
         20
        Jeff Kinard, Pistols:
        Jeff Kinard,
         20          Pistols: An
                              An Illustrated
                                 Illustrated History
                                             History of
                                                     of their Impact (Santa
                                                        their Impact        Barbara,
                                                                     (Santa Barbara,
 CA: ABC-CLIO,
 CA: ABC-CLIO, 2004),
                2004), 45.
                        45.
         21
         21Harold L.
           Harold  L. Peterson,
                       Peterson, Treasury  of the
                                 Treasury of  the Gun  (New York:
                                                  Gun (New   York: Golden
                                                                    Golden Press,
                                                                            Press, 1962),
                                                                                   1962), 189.
                                                                                           189.
        22
           For use
       22 For   use of
                    of muzzle-loading
                       muzzle-loading pistols
                                        pistols as
                                                as clubs
                                                   clubs and
                                                         and missiles
                                                             missiles on
                                                                      on battlefields
                                                                         battlefields see
                                                                                      see C.
                                                                                          C. H.
                                                                                             H. Firth,
                                                                                                Firth,
  Cromwell’s Army 22 nd
  Cromwell's Army        ed. (Oxford:
                      nd ed.          Oxford University
                             (Oxford: Oxford   University Press,
                                                          Press, 1911),
                                                                 1911), 142;
                                                                        142; David
                                                                             David Blackmore,
                                                                                     Blackmore, Arms
                                                                                                 Arms
  & Armour
  & Armour of
            of the English Civil
               the English   Civil Wars (London: Royal
                                   Wars (London:   Royal Armouries,
                                                          Armouries, 1990),
                                                                      1990), 49.
                                                                             49.
           23
           23 Scott,
              Scott, et al., "Colonial
                     et al., “Colonial Era   Firearm Bullet
                                        Era Firearm    Bullet Performance,"
                                                              Performance,” 26,
                                                                            26, 36;
                                                                                36; Douglas
                                                                                    Douglas D.
                                                                                             D. Scott,
                                                                                                Scott,
  et al.
  et al. "Firearm
         “Firearm Bullet
                   Bullet Performance:
                             Performance: Phase
                                            Phase II,
                                                   II, Live Fire Experimental
                                                       Live Fire Experimental Study  for Archaeological
                                                                              Study for  Archaeological
  Interpretation,”   31. Both
  Interpretation," 31.    Both reports
                                 reports are
                                         are available
                                             available online.
                                                        online.
         24
          “Blair Report
          "Blair
         24      Report on
                        on the
                           the State  of the
                               State of  the Colonies"
                                             Colonies” in
                                                       in Louis K. Koontz,
                                                          Louis K. Koontz, The
                                                                             The Virginia Frontier,
                                                                                 Virginia Frontier,
 1754-1763 (Baltimore:
 1754-1763 (Baltimore: The
                        The Johns  Hopkins Press,
                            Johns Hopkins    Press, 1925),
                                                    1925), 170,
                                                           170, hereafter
                                                                hereafter cited as the
                                                                          cited as the "Blair
                                                                                       “Blair
 Report”; Governor
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                   Thomas Fitch
                            Fitch to
                                  to Sir
                                      Sir Thomas   Robinson, August
                                          Thomas Robinson,   August 1,
                                                                     1, 1755
                                                                        1755 in
                                                                              in Collections  of the
                                                                                 Collections of  the
 Connecticut Historical Society,
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                                 Vol. 1,
                                      1, 265-266.
                                          265-266.


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  Trade,” and not
  Trade," and     muskets.25 Later,
              not muskets.25 Later, George
                                    George Washington
                                           Washington referred
                                                      referred to
                                                               to such
                                                                  such smooth-bore
                                                                       smooth-bore long
                                                                                   long arms
                                                                                        arms as
                                                                                             as
  “trash or
  "trash or light arms.”26 Over
            light arms."26 Over the
                                the course of the
                                    course of the Revolutionary
                                                  Revolutionary War,
                                                                War, he
                                                                     he and
                                                                        and his
                                                                            his officers
                                                                                officers even
                                                                                         even
  phased out
  phased out the
             the use
                 use of
                     of rifles
                        rifles in the Continental
                               in the Continental Army,
                                                  Army, rearming
                                                        rearming soldiers
                                                                 soldiers with
                                                                          with muskets
                                                                               muskets fitted
                                                                                       fitted with
                                                                                              with
  bayonets.27 Governor
  bayonets.27 Governor Thomas
                       Thomas Jefferson
                              Jefferson characterized most of
                                        characterized most of the
                                                              the privately
                                                                  privately owned
                                                                            owned smoothbore
                                                                                  smoothbore
  guns carried
  guns carried by
               by his
                  his state's
                      state’s militiamen
                              militiamen as
                                         as "such
                                            “such firelocks [i.e. flintlocks]
                                                  firelocks [i.e. flintlocks] as
                                                                              as they
                                                                                 they had
                                                                                      had provided
                                                                                          provided to
                                                                                                   to
                                                     28
  destroy noxious
  destroy noxious animals
                  animals which
                          which infest
                                infest their
                                       their farms.”
                                             farms."28
         17.
         17.       Data drawn
                   Data drawn from group of
                              from group of probate
                                            probate inventories
                                                    inventories of
                                                                of males
                                                                   males who
                                                                         who died
                                                                             died during the
                                                                                  during the
  second half
  second half of
              of the
                 the eighteenth-century
                     eighteenth-century confirm
                                        confirm these
                                                these period
                                                      period observations
                                                             observations concerning
                                                                          concerning the
                                                                                     the
  preferences of
  preferences of American
                 American gun owners (Table
                          gun owners (Table 1).
                                            1). These sources can
                                                These sources can be
                                                                  be particularly
                                                                     particularly useful
                                                                                  useful and
                                                                                         and
  quite reliable
  quite          for assessing
        reliable for assessing the
                               the preferences
                                   preferences of
                                               of period
                                                  period gunowners
                                                         gunowners for
                                                                   for different
                                                                       different types
                                                                                 types of
                                                                                       of firearms.
                                                                                          firearms.
  Even cursory descriptions
  Even cursory descriptions of
                            of firearms
                               firearms as
                                        as "a
                                           “a gun"
                                              gun” can be revealing
                                                   can be revealing when
                                                                    when combined with the
                                                                         combined with the price
                                                                                           price
  that individuals
  that individuals taking
                   taking the
                          the inventory
                              inventory assigned.
                                        assigned. Most
                                                  Most guns
                                                       guns in the inventory
                                                            in the           were long
                                                                   inventory were      arms
                                                                                  long arms
  valued at
  valued at £1 (i.e. 20
            £1 (i.e. 20 shillings),
                        shillings), which
                                    which was
                                          was the
                                              the usual
                                                  usual cost of aa single
                                                        cost of    single shot
                                                                          shot muzzle
                                                                               muzzle loading firearm.
                                                                                      loading firearm.

  Such weapons would
  Such weapons would have
                     have been
                          been affordable
                               affordable given the fact
                                          given the fact that
                                                         that aa daily wage during
                                                                 daily wage        the period
                                                                            during the period for
                                                                                              for
  unskilled day
  unskilled day labor usually varied
                labor usually varied between
                                     between 11 and
                                                and aa half
                                                       half and
                                                            and 22 shillings.
                                                                   shillings. While
                                                                              While there
                                                                                    there was
                                                                                          was an
                                                                                              an
  obvious preference
  obvious preference for
                     for long arms, muskets
                         long arms, muskets and
                                            and rifles
                                                rifles constituted
                                                       constituted aa minority
                                                                      minority of
                                                                               of such
                                                                                  such weapons.
                                                                                       weapons.
         18.
         18.       The more expensive
                   The more           guns found
                            expensive guns found in
                                                 in these
                                                    these 3,249
                                                          3,249 eighteenth-century probate
                                                                eighteenth-century probate
  inventories were
  inventories were also
                   also likely
                        likely to
                               to be
                                  be some
                                     some type
                                          type of
                                               of muzzle
                                                  muzzle loading,
                                                         loading, single-shot
                                                                  single-shot long arms. As
                                                                              long arms. As aa rule,
                                                                                               rule,
  rifles were
  rifles were valued
              valued at
                     at £2 to £3,
                        £2 to     which was
                              £3, which was twice
                                            twice or
                                                  or three
                                                     three times
                                                           times the
                                                                 the cost
                                                                     cost of
                                                                          of common
                                                                             common muzzle-
                                                                                    muzzle-
  loading smoothbore
  loading smoothbore long
                     long arms.
                          arms. Expensive smoothbore weapons
                                Expensive smoothbore weapons were
                                                             were likely
                                                                  likely to
                                                                         to be
                                                                            be imported
                                                                               imported
  fowlers or
  fowlers or guns
             guns ornamented
                  ornamented with
                             with silver
                                  silver mountings.
                                         mountings. Occasionally,
                                                    Occasionally, one
                                                                  one sees
                                                                      sees double
                                                                           double barreled
                                                                                  barreled guns
                                                                                           guns
  which, along
  which, along with
               with aa pair
                       pair of
                            of pistols,
                               pistols, was
                                        was the
                                            the period's
                                                period’s more
                                                         more realistic
                                                              realistic provision
                                                                        provision for being able
                                                                                  for being able to
                                                                                                 to

         25
         25   “Blair Report,"
              "Blair Report,” 171.
                              171.
         26
         26General   George Washington
           General George   Washington toto Gentlemen,  Feb. 7,
                                            Gentlemen, Feb.     1777 in
                                                             7, 1777 in Nathaniel
                                                                        Nathaniel Bouton,
                                                                                   Bouton, ed.,
                                                                                            ed.,
  Documents and
  Documents    and Records
                   Records Relating
                           Relating to
                                    to the State of
                                       the State of New
                                                    New Hampshire
                                                        Hampshire during
                                                                    during the Period of
                                                                           the Period  of the
                                                                                          the
  Revolution from
  Revolution  from 1776
                   1776 to 1783 (Concord,
                        to 1783 (Concord, N.H.:
                                            N.H.: Edward
                                                  Edward A.
                                                          A. Jenks,
                                                             Jenks, State Printer, 1874),
                                                                    State Printer, 1874), Vol.
                                                                                          Vol. 8,
                                                                                               8,
  485.
  485.
         27
          Wright, “Rifle in
          Wright, "Rifle
         27              in the
                            the American
                                American Revolution,"
                                           Revolution,” 297-298.
                                                         297-298.
         28
          Thomas
          Thomas Jefferson,
         28                   Notes on
                  Jefferson, Notes  on the State of
                                       the State of Virginia,
                                                    Virginia, edited by William
                                                              edited by         Peden (New
                                                                        William Peden (New York:
                                                                                           York:
  W. W.
  W. W. Norton,
        Norton, 1982),
                1982), 88.
                       88.


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   readily discharge
   readily discharge more
                     more than
                          than one
                               one shot.
                                   shot. Only
                                         Only one
                                              one gun
                                                  gun found
                                                      found in this database
                                                            in this database of
                                                                             of 3,249
                                                                                3,249 probate
                                                                                      probate
   inventories may
   inventories may have
                   have been
                        been aa repeater: an "air
                                repeater: an “air gun"
                                                  gun” owned
                                                       owned by
                                                             by Philippe
                                                                Philippe Guillaume Chion [Philip
                                                                         Guillaume Chion [Philip
   Williamson?], Charleston
   Williamson?], Charleston merchant,
                            merchant, who
                                      who died
                                          died in 1797.29 However,
                                               in 1797.29 However, as
                                                                   as is
                                                                      is noted
                                                                         noted below
                                                                               below in
                                                                                     in
   paragraph 40,
   paragraph 40, not
                 not all
                     all air
                         air guns available in
                             guns available in America
                                               America were
                                                       were repeaters.
                                                            repeaters.
      Table 1: Firearms
      Table 1: Firearms in
                        in Probate
                           Probate Inventories of Male
                                   Inventories of      Decedents Filed
                                                  Male Decedents Filed between 1740-1800
                                                                       between 1740-1800

                          Number ofof          Percentage of
                                                          of        Percentage of
                                                                               of        Percentage
                                                                                         Percentage         Percentage
                                                                                                            Percentage
                          Number               Percentage           Percentage                of
                                                                                             of                  of
                                                                                                                 of
       Region
       Region            Sampled Male
                         Sampled Male           Inventories
                                                Inventories          Inventories
                                                                     Inventories
                                                                                         Inventories
                                                                                         Inventories        Inventories
                                                                                                            Inventories
                          Inventories
                          Inventories          with Firearms
                                               with Firearms        with Muskets
                                                                    with Muskets         with Rifles
                                                                                              Rifles        with Pistols
                                                                                                                 Pistols
                                                                                         with               with
   New England
   New England
   1740-1798
   1740-1798                  1057
                              1057                  46.1%
                                                    46.1%                 0.8%
                                                                          0.8%               0.0%
                                                                                             0.0%              2.8%
                                                                                                               2.8%

   New York
   New York and
             and
   New Jersey
   New Jersey                  569
                               569                  35.0%
                                                    35.0%                 1.9%
                                                                          1.9%               0.5%
                                                                                             0.5%              5.8%
                                                                                                               5.8%
   1740-1798
   1740-1798
   Pennsylvania
   Pennsylvania
   1740-1797
   1740-1797                   532
                               532                  32.0%
                                                    32.0%                 0.2%
                                                                          0.2%               2.3%
                                                                                             2.3%              5.1%
                                                                                                               5.1%

   Maryland and
   Maryland  and
   Virginia 1740-
   Virginia 1740-              632
                               632                  58.4%
                                                    58.4%                 1.3%
                                                                          1.3%               5.1%
                                                                                             5.1%              9.0%
                                                                                                               9.0%
   1797
   1797
   South Carolina
   South Carolina
   1740-1797
   1740-1797                   459
                               459                  62.9%
                                                    62.9%                 3.7%
                                                                          3.7%                4.1%
                                                                                              4.1%             23.3%
                                                                                                               23.3%


   Totals
   Totals                     3249
                              3249                  46.6%*
                                                    46.6%*                1.4%*
                                                                          1.4%*              2.0%*
                                                                                             2.0%*              7.8%*
                                                                                                                7.8%*

  Note: *The
  Note: *The percentages
              percentages at at the
                                 the bottoms
                                     bottoms of  the columns
                                              of the columns areare not averages of
                                                                    not averages      the percentages
                                                                                   of the percentages inin the
                                                                                                           the columns,   but
                                                                                                               columns, but
  percentages of
  percentages  of the
                  the total
                      total of
                             of 3249
                                3249 inventories
                                       inventories found
                                                   found inin each category: 1514
                                                              each category:   1514 inventories
                                                                                     inventories with
                                                                                                  with firearms,
                                                                                                       firearms, 4545
  inventories with
  inventories with muskets,
                    muskets, 66 66 inventories
                                   inventories with
                                                with rifles  and 254
                                                      rifles and 254 inventories
                                                                      inventories with
                                                                                    with pistols.
                                                                                         pistols. Sources:
                                                                                                  Sources: The
                                                                                                            The sources
                                                                                                                  sources for
                                                                                                                          for
  the probate
  the probate inventories
              inventories used     in this
                             used in  this table
                                           table are
                                                 are listed
                                                     listed in
                                                            in Kevin
                                                               Kevin M.
                                                                      M. Sweeney,     “Firearms Ownership
                                                                          Sweeney, "Firearms      Ownership andand Militias
                                                                                                                    Militias
  in Seventeenth-
  in               and Eighteenth-Century
     Seventeenth- and   Eighteenth-Century England
                                                 England and
                                                           and America"
                                                                America” in in Jennifer
                                                                               Jennifer Tucker,    Barton C.
                                                                                         Tucker, Barton    C. Hacker,
                                                                                                              Hacker, and
                                                                                                                       and
  Margaret Vining,
  Margaret  Vining, eds.,   A Right
                      eds., A Right toto Bear
                                         Bear Arms?
                                              Arms? The
                                                      The Contested    History in
                                                            Contested History   in Contemporary    Debates on
                                                                                   Contemporary Debates     on the
                                                                                                                the Second
                                                                                                                    Second
  Amendment (Washington,
  Amendment   (Washington, D.C.:D.C.: Smithsonian
                                        Smithsonian Press,
                                                      Press, 2019),
                                                              2019), 70-71.
                                                                     70-71.

            19.
            19.      Partial militia
                     Partial militia returns
                                     returns from the state
                                             from the state of
                                                            of Virginia
                                                               Virginia dating
                                                                        dating from 1781 to
                                                                               from 1781 to 1784
                                                                                            1784 provide
                                                                                                 provide
   additional evidence
   additional evidence that
                       that American
                            American consumers
                                     consumers preferred
                                               preferred smoothbore
                                                         smoothbore firearms
                                                                    firearms that
                                                                             that were
                                                                                  were not
                                                                                       not
   muskets. Even
   muskets.      though state
            Even though state law
                              law required
                                  required "every
                                           “every militia-man
                                                  militia-man to
                                                              to provide
                                                                 provide himself
                                                                         himself with
                                                                                 with arms
                                                                                      arms [i.e.
                                                                                           [i.e.

   muskets] usual
   muskets] usual in
                  in regular service [i.e.
                     regular service [i.e. the
                                           the Continental
                                               Continental Army]
                                                           Army] .. .. .. this
                                                                          this injunction
                                                                               injunction was
                                                                                          was always
                                                                                              always in
                                                                                                     in


            29
             Inventory of Philippe
             Inventory of
            29            Philippe Guillaume   Choin, 1797,
                                   Guillaume Choin,   1797, South  Carolina Inventories
                                                            South Carolina              and
                                                                            Inventories and
   Appraisement Books,
   Appraisement  Books, Vol.
                         Vol. C,
                               C, 1793-1800,
                                  1793-1800, 212-213.
                                              212-213. at
                                                       at Fold
                                                          Fold 33 by
                                                                  by Ancestry
                                                                     Ancestry
   https://www.fold3.com/publication/700/south-carolina-estate-inventories-and-bills-of-sale-1732-
   https://www.fold3.com/publication/700/south-carolina-estate-inventories-and-bills-of-sale-1732-
   1872. <Accessed
   1872.  <Accessed online
                    online 1/23/2023
                           1/23/2023 at
                                      at 6:00 P.M.>
                                         6:00 P.M.>


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  differently complied
  differently          with.”30 Most
              complied with."3° Most did
                                     did not
                                         not own
                                             own muskets,
                                                 muskets, even in wartime.
                                                          even in wartime. Only
                                                                           Only about
                                                                                about 16.7%
                                                                                      16.7% of
                                                                                            of
  the privately
  the privately owned
                owned long
                      long arms
                           arms were
                                were muskets,
                                     muskets, while
                                              while another
                                                    another 20.3%
                                                            20.3% were
                                                                  were rifles
                                                                       rifles owned
                                                                              owned by
                                                                                    by
  residents of
  residents of the
               the state's
                   state’s western counties.31 By
                           western counties.31 By contrast,
                                                  contrast, 63.0% of the
                                                            63.0% of the privately
                                                                         privately owned
                                                                                   owned long arms
                                                                                         long arms
  were smoothbores
  were smoothbores that
                   that were
                        were not muskets.32
                             not muskets.32
      Table 2: Partial
      Table 2:         Virginia Militia
               Partial Virginia Militia Returns
                                        Returns Indicating
                                                Indicating Types of Arms
                                                           Types of Arms in
                                                                         in Use, 1781-1784
                                                                            Use, 1781-1784
                 Number
                 Number       Number
                              Number          Number
                                              Number         Number of
                                                             Number  of     Number
                                                                            Number          Number
                                                                                            Number     Total
                                                                                                       Total
     Year
     Year        of
                 of           of public
                              of public       of private
                                              of private     private
                                                             private        of private
                                                                            of  private     of private
                                                                                            of private Number
                                                                                                       Number
                 Counties
                 Counties     muskets
                              muskets         muskets
                                              muskets        long arms*
                                                             long arms*     rifles
                                                                            rifles          pistols
                                                                                            pistols    of Guns
                                                                                                       of Guns

     1781
     1781               27
                        27       1502
                                 1502           1333
                                                1333            4225
                                                                4225            1293
                                                                                1293           204
                                                                                               204          8557
                                                                                                            8557


     1782
     1782               10
                        10       565
                                 565             242
                                                 242            2113
                                                                2113             767
                                                                                 767            60
                                                                                                60          3747
                                                                                                            3747


     1784
     1784               15
                        15       541
                                 541             441
                                                 441            1260
                                                                1260              392
                                                                                  392           68
                                                                                                68          2702
                                                                                                            2702


      ALL
      ALL               52
                        52       2608
                                 2608           2016
                                                2016            7598
                                                                7598             2452
                                                                                 2452           332
                                                                                                332        15006
                                                                                                           15006
  Note: *Number
  Note: *Number of    “private long
                   of "private long arms"
                                    arms” are
                                          are privately
                                              privately owned  long arms
                                                        owned long  arms that
                                                                         that were
                                                                              were not
                                                                                    not muskets and not
                                                                                        muskets and not rifles.
                                                                                                         rifles.
  Sources: Militia Returns
  Sources: Militia Returns 1777-1784,
                            1777-1784, microfilm,
                                       microfilm, Accession
                                                  Accession 36929;
                                                            36929; State
                                                                    State Government    Records Collection;
                                                                          Government Records    Collection;
  “General Return
  "General  Return of  Arms, Accoutrements,
                    of Arms,  Accoutrements, and
                                              and Military
                                                  Military Stores, 19th May,
                                                           Stores, 19th May, 1784,"
                                                                             1784,” Accession
                                                                                    Accession 36912,
                                                                                              36912, House
                                                                                                     House of of
  Delegates, Executive
  Delegates, Executive Communications,
                        Communications, Library
                                          Library of
                                                  of Virginia,
                                                     Virginia, Richmond
                                                               Richmond

          20.
          20.       A large
                    A large portion
                            portion of
                                    of the
                                       the firearms
                                           firearms used
                                                    used in eighteenth-century America
                                                         in eighteenth-century America would
                                                                                       would have
                                                                                             have
  been imported
  been imported from
                from England. At the
                     England. At the time,
                                     time, most
                                           most English
                                                English firearms were fabricated
                                                        firearms were            by large-scale
                                                                      fabricated by large-scale
  putting-out systems
  putting-out systems that
                      that obtained
                           obtained barrels
                                    barrels from
                                            from one
                                                 one set
                                                     set of
                                                         of suppliers,
                                                            suppliers, got
                                                                       got gunlocks
                                                                           gunlocks from other
                                                                                    from other
  sources, and
  sources, and assembled
               assembled the
                         the parts
                             parts at
                                   at yet
                                      yet another
                                          another site
                                                  site where
                                                       where the
                                                             the firearms also would
                                                                 firearms also would have
                                                                                     have been
                                                                                          been
  stocked by
  stocked by craftsmen who were
             craftsmen who were woodworkers.
                                woodworkers. By
                                             By the
                                                the mid-eighteenth-century,
                                                    mid-eighteenth-century, gun
                                                                            gun
  manufacturing in
  manufacturing    Birmingham, England
                in Birmingham,         involved "at
                               England involved “at least
                                                    least thirty
                                                          thirty different
                                                                 different ‘sub-trades’ or manual
                                                                           `sub-trades' or manual




          30
          3° Jefferson, Notes on
             Jefferson, Notes on the  State of
                                 the State  of Virginia,
                                               Virginia, 88.
                                                         88.
          31
             Calculated from
          31 Calculated  from data
                              data in Table 2.
                                   in Table  2.
          32
          32   Ibid..
               Ibid..


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 manufacturing processes.”33 In
 manufacturing processes."33    particular, this
                             In particular, this is
                                                 is how
                                                    how firearms were made
                                                        firearms were made for
                                                                           for the
                                                                               the British
                                                                                   British army
                                                                                           army
 and for
 and for the
         the export
             export trade
                    trade to
                          to Africa
                             Africa and
                                    and England’s colonies.34
                                        England's colonies.34
        21.
        21.      Other than
                 Other than American
                            American long
                                     long rifles
                                          rifles and
                                                 and some
                                                     some New
                                                          New England fowlers, most
                                                              England fowlers, most eighteenth-
                                                                                    eighteenth-
 century firearms
 century          used by
         firearms used by colonists
                          colonists were
                                    were not
                                         not likely
                                             likely to
                                                    to have
                                                       have been
                                                            been custom
                                                                 custom made
                                                                        made or
                                                                             or "one-off'
                                                                                “one-off” products.
                                                                                          products.
 During the
 During the years
            years from
                  from 1756
                       1756 to
                            to 1763,
                               1763, at
                                     at least 36,592 firearms
                                        least 36,592          were imported
                                                     firearms were imported into
                                                                            into the
                                                                                 the thirteen
                                                                                     thirteen
                                                       35
 American colonies
 American colonies from
                   from England
                        England for civilian customers.
                                for civilian customers.35 Another 18,900
                                                          Another 18,900 trade
                                                                         trade guns were
                                                                               guns were
 imported to
 imported to sell
             sell to
                  to Native
                     Native American customers.36 Advertisements
                            American customers.36 Advertisements indicate that urban
                                                                 indicate that urban gunsmiths
                                                                                     gunsmiths in
                                                                                               in
 the colonies
 the colonies sold
              sold imported
                   imported firearms and made
                            firearms and made use
                                              use of
                                                  of imported
                                                     imported gunlocks
                                                              gunlocks and
                                                                       and barrels.
                                                                           barrels. Most
                                                                                    Most of
                                                                                         of the
                                                                                            the
 pistols sold
 pistols sold in the colonies
              in the colonies were
                              were not
                                   not produced
                                       produced in
                                                in the colonies.37 A
                                                   the colonies.37 A rare surviving account
                                                                     rare surviving account book
                                                                                            book of
                                                                                                 of
 an inland
 an inland gunsmith,
           gunsmith, John Partridge Bull
                     John Partridge Bull of
                                         of Deerfield,
                                            Deerfield, indicates
                                                       indicates that
                                                                 that he
                                                                      he made
                                                                         made only
                                                                              only three
                                                                                   three new
                                                                                         new guns
                                                                                             guns
 over aa period
 over    period of
                of 20
                   20 years
                      years from
                            from 1768
                                 1768 to
                                      to 1788,
                                         1788, while
                                               while performing
                                                     performing 452
                                                                452 repairs on existing
                                                                    repairs on          firearms.38
                                                                               existing firearms.38
 When it
 When it came
         came to
              to his
                 his gunsmithing
                     gunsmithing business,
                                 business, this
                                           this skilled
                                                skilled craftsman may have
                                                        craftsman may have had
                                                                           had more
                                                                               more in
                                                                                    in common
                                                                                       common

 with aa twentieth-century
 with    twentieth-century TV
                           TV repairman
                              repairman than
                                        than he
                                             he did
                                                did with
                                                    with Samuel Colt or
                                                         Samuel Colt or Eli Whitney.
                                                                        Eli Whitney.
 II.
 II.    References to
        References to Repeating
                      Repeating Arms
                                Arms in
                                     in Eighteenth-Century
                                        Eighteenth-Century Media
                                                           Media

        22.
        22.      So, how common
                 So, how common were
                                were repeating
                                     repeating weapons
                                               weapons in
                                                       in eighteenth-century America? The
                                                          eighteenth-century America? The
 short answer
 short answer is
              is not
                 not very
                     very common;
                          common; they
                                  they were
                                       were in
                                            in fact
                                               fact extraordinarily rare. Information
                                                    extraordinarily rare.             drawn from
                                                                          Information drawn from
 eighteenth-century advertisements
 eighteenth-century advertisements and
                                   and news
                                       news reports
                                            reports found
                                                    found in America’s Historical
                                                          in America's Historical
 Newspapers—a searchable
 Newspapers—a searchable database of 5,000
                         database of       newspapers, with
                                     5,000 newspapers, with 450
                                                            450 dating
                                                                dating from
                                                                       from before
                                                                            before 1800—
                                                                                   1800—
 tells much
 tells much the
            the same story.39 This
                same story.39      newspaper database
                              This newspaper database was
                                                      was searched
                                                          searched by
                                                                   by entering
                                                                      entering the
                                                                               the terms
                                                                                   terms "gun,"
                                                                                         “gun,”


        33
        33  David Williams,
            David  Williams, The Birmingham Gun
                             The Birmingham  Gun Trade   (Stroud, Gloucestershire,
                                                   Trade (Stroud, Gloucestershire, Eng.:
                                                                                   Eng.: The
                                                                                          The
 History Press,
 History  Press, 2009),
                 2009), 21.
                        21.
        34
        34 Williams,  Birmingham Gun
            Williams, Birmingham   Gun Trade, 21-24; De
                                       Trade, 21-24;  De Witt
                                                         Witt Bailey,
                                                              Bailey, Small
                                                                      Small Arms
                                                                            Arms ofof the British
                                                                                      the British
 Forces in
 Forces     America 1664-1815
         in America  1664-1815 (Woonsocket,
                                (Woonsocket, R.I:
                                              R.I: Andrew
                                                   Andrew Mowbrey,
                                                           Mowbrey, 2009),
                                                                      2009), 93-102.
                                                                             93-102.
        35
        35   Bailey, Small
             Bailey, Small Arms,
                           Arms, 237.
                                 237.
        36
         De Witt
         De
        36   Witt Bailey,
                  Bailey, "The
                          “The Wilson
                                Wilson Gunmakers
                                       Gunmakers to
                                                 to Empire, 1730-1832” American
                                                    Empire, 1730-1832" American Society of
                                                                                Society of
 Arms Collectors
 Arms Collectors Bulletin
                 Bulletin No.
                          No. 85,
                              85, 19.
                                  19.
        37
        37 Jeff Kinard, Pistols:
           Jeff Kinard, Pistols: An
                                 An Illustrated
                                     Illustrated History
                                                 History of
                                                         of Their Impact (Santa
                                                            Their Impact  (Santa Barbara:
                                                                                  Barbara: ABC-
                                                                                           ABC-
 CLIO, 2003),
 CLIO,  2003), 46.
                46.
        38
        38 Susan  McGowan, "Agreeable
           Susan McGowan,     “Agreeable to to his
                                               his Genuis:
                                                   Genuis: John Partridge Bull
                                                           John Partridge  Bull (1731-1813),
                                                                                (1731-1813),
 Deerfield, Massachusetts"
 Deerfield, Massachusetts” (M.A.
                            (M.A. thesis,
                                    thesis, Trinity College, 1988),
                                            Trinity College, 1988), 5, 39-40, 74-75.
                                                                    5, 39-40, 74-75.
        39
        39 America’s Historical
           America's  Historical Newspapers
                                  Newspapers (Chester,
                                                (Chester, VT:
                                                          VT: Readex,
                                                              Readex, 2004).
                                                                        2004).


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  “musket,” "fowler,"
  "musket," “fowler,” "rifle,"
                      “rifle,” "pistol,"
                               “pistol,” "shot"
                                         “shot” and
                                                and "militia,"
                                                    “militia,” The search turned
                                                               The search turned up
                                                                                 up 99 references to
                                                                                       references to
  what appear
  what appear to
              to be
                 be repeating
                    repeating guns.
                              guns. To
                                    To the
                                       the information
                                           information discovered by searching
                                                       discovered by searching period
                                                                               period
  newspapers can
  newspapers     be added
             can be added one
                          one more
                              more well-known
                                   well-known instance of an
                                              instance of an unpublicized
                                                             unpublicized demonstration of aa
                                                                          demonstration of
  repeating firearm
  repeating         that took
            firearm that took place
                              place in Philadelphia in
                                    in Philadelphia    April of
                                                    in April of 1777.
                                                                1777. This makes aa total
                                                                      This makes    total of
                                                                                          of 10
                                                                                             10
  references to
  references to eighteenth-century
                eighteenth-century repeaters
                                   repeaters in
                                             in the
                                                the period
                                                    period from 1720 to
                                                           from 1720 to 1800.
                                                                        1800.
           23.
           23.       What do
                     What do these
                             these period
                                   period references to repeating
                                          references to repeating guns tell us
                                                                  guns tell us about
                                                                               about their
                                                                                     their features
                                                                                           features and
                                                                                                    and
  how they
  how they were
           were employed,
                employed, how
                          how they
                              they were
                                   were regarded,
                                        regarded, and
                                                  and why
                                                      why they
                                                          they remained
                                                               remained relatively uncommon
                                                                        relatively uncommon
  in eighteenth-century
  in eighteenth-century America?
                        America? The earliest known
                                 The earliest       reference in
                                              known reference in an
                                                                 an American
                                                                    American newspaper
                                                                             newspaper to
                                                                                       to aa
  repeating firearm
  repeating         is reported
            firearm is reported in
                                in the
                                   the Boston
                                       Boston News-Letter
                                              News-Letter of
                                                          of September 12, 1723:
                                                             September 12, 1723: "Delegates
                                                                                 “Delegates from
                                                                                            from
  several Nations
  several Nations of
                  of Indians were Entertained
                     Indians were             with the
                                  Entertained with the sight
                                                       sight of
                                                             of aa Gun
                                                                   Gun which
                                                                       which has
                                                                             has but
                                                                                 but one
                                                                                     one Barrel
                                                                                         Barrel and
                                                                                                and
  one Lock,"
  one Lock,” but
             but fired
                 fired "Eleven
                       “Eleven Bullets
                               Bullets successively
                                       successively in about Two
                                                    in about     Minutes” after
                                                             Two Minutes" after being
                                                                                being loaded only
                                                                                      loaded only
  once. This
  once. This firearm was made
             firearm was made by
                              by John Pimm, aa Boston
                                 John Pimm,    Boston gunsmith,
                                                      gunsmith, who
                                                                who was
                                                                    was active
                                                                        active in the 1720s,
                                                                               in the 1720s,
  but had
  but had died
          died by
               by 1730.
                  1730. This
                        This gun
                             gun was
                                 was not
                                     not being
                                         being offered
                                               offered for
                                                       for sale;
                                                           sale; no
                                                                 no examples of aa repeating
                                                                    examples of    repeating long-
                                                                                             long-

  arm by
  arm by Pimm
         Pimm survive;
              survive; it was aa novelty.
                       it was    novelty. There
                                          There is, however, aa six-shot
                                                is, however,    six-shot revolver
                                                                         revolver with
                                                                                  with aa flint
                                                                                          flint
  ignition system
  ignition system made
                  made by
                       by John Pimm in
                          John Pimm    the collection
                                    in the collection of
                                                      of the
                                                         the Cody
                                                             Cody Firearms
                                                                  Firearms Museum
                                                                           Museum at
                                                                                  at the
                                                                                     the
  Buffalo Bill
  Buffalo Bill Center
               Center of
                      of the West.40
                         the West.4°


           40
          40
              John   Pimm’s 1715
              John Pimm's       1715 revolver      with aa hand
                                       revolver with         hand rotated
                                                                    rotated cylinder
                                                                              cylinder and
                                                                                         and flint
                                                                                              flint priming
                                                                                                    priming system
                                                                                                                 system bears
                                                                                                                           bears
  an apparent    resemblance to
  an apparent resemblance         to aa modern
                                        modern Smith
                                                   Smith &  & Wesson
                                                               Wesson .38  .38 caliber
                                                                                caliber revolver.
                                                                                         revolver. Brown,
                                                                                                      Brown, Firearms
                                                                                                                  Firearms in  in
  Colonial    America, 255-256.
  Colonial America,        255-256. Cut Cut into
                                             into the
                                                   the rotating
                                                       rotating cylinder       were six
                                                                    cylinder were     six chambers
                                                                                           chambers intointo which
                                                                                                               which aa small
                                                                                                                          small
  amount of
  amount    of gunpowder
                gunpowder and  and aa ball
                                       ball could
                                            could bebe placed.
                                                        placed. The        shooter rotated
                                                                    The shooter     rotated byby hand
                                                                                                  hand thethe cylinder
                                                                                                               cylinder to to
  align one
  align  one of
              of the
                 the chambers
                       chambers with
                                   with both
                                           both the
                                                 the barrel
                                                     barrel andand firearm's
                                                                     firearm’s hammer
                                                                                  hammer which
                                                                                            which held
                                                                                                     held aa flint.
                                                                                                               flint. The
                                                                                                                       The
  shooter then
  shooter   then slid
                  slid open
                        open the
                               the priming
                                   priming ventvent on
                                                     on the
                                                         the cylinder
                                                               cylinder forfor the
                                                                               the chamber     aligned with
                                                                                    chamber aligned        with the
                                                                                                                  the hammer
                                                                                                                      hammer
  and the
  and  the barrel.
           barrel. He He then
                           then pulled
                                 pulled back
                                          back the
                                                the hammer
                                                     hammer by    by hand.
                                                                      hand. Finally,
                                                                               Finally, pulling
                                                                                          pulling the
                                                                                                   the trigger
                                                                                                        trigger caused
                                                                                                                   caused thethe
  hammer to
  hammer     to strike
                strike the
                         the metal
                             metal frizzen     with the
                                     frizzen with    the flint,   creating aa flash
                                                           flint, creating      flash which
                                                                                       which entered
                                                                                               entered the the open
                                                                                                                open vent
                                                                                                                       vent onon
  the cylinder
  the cylinder and
                 and set
                       set off
                            off the
                                the powder
                                     powder in in the
                                                   the chamber
                                                       chamber and   and discharged
                                                                           discharged thethe ball.
                                                                                             ball. To
                                                                                                    To fire     again, the
                                                                                                          fire again,   the
  shooter again
  shooter   again rotated
                   rotated by by hand
                                  hand the
                                         the cylinder
                                             cylinder to to align
                                                             align aa loaded    chamber with
                                                                       loaded chamber       with the
                                                                                                  the barrel
                                                                                                       barrel andand hammer
                                                                                                                      hammer
  and repeated
  and  repeated the
                  the process
                        process outlined
                                  outlined above.
                                              above. Primm's
                                                       Primm’s pistolpistol could    deliver six
                                                                             could deliver    six shots
                                                                                                   shots after
                                                                                                            after being
                                                                                                                   being
  loaded  once, but
  loaded once,    but itit was
                           was not
                                not aa rapid-fire
                                       rapid-fire weapon,
                                                    weapon, and  and it   took time
                                                                       it took  time to
                                                                                      to reload   the individual
                                                                                          reload the   individual
  chambers with
  chambers     with powder
                     powder and and ball.
                                     ball.
           Similar    pistols and
           Similar pistols     and long
                                    long arms
                                           arms with
                                                  with revolving
                                                         revolving cylinders
                                                                       cylinders moved
                                                                                    moved by by hand
                                                                                                 hand first    appeared in
                                                                                                         first appeared     in
  Germany between
  Germany     between 1490-1530.
                           1490-1530. Brown,
                                           Brown, Firearms
                                                     Firearms in   in Colonial     America, 50.
                                                                       Colonial America,            However, they
                                                                                               50. However,        they
  remained rare
  remained    rare in
                    in the
                        the American
                             American colonies,
                                          colonies, expensive,
                                                      expensive, and  and suffered
                                                                            suffered from     mechanical problems
                                                                                       from mechanical        problems
  because of
  because    of the
                the inability
                     inability of
                                of gunsmiths
                                    gunsmiths to  to fit  together the
                                                     fit together     the moving
                                                                           moving parts
                                                                                     parts with
                                                                                            with enough       precision to
                                                                                                  enough precision         to
  prevent loose
  prevent          powder from
            loose powder      from jamming
                                     jamming the  the cylinder
                                                      cylinder or  or producing
                                                                       producing an an accidental
                                                                                        accidental discharge
                                                                                                     discharge of   of the
                                                                                                                        the six
                                                                                                                             six
  chambers simultaneously.
  chambers     simultaneously. Brown,Brown, Firearms
                                               Firearms in   in Colonial,     America, 50-51;
                                                                Colonial, America,                 Graeme Rimer,
                                                                                          50-51; Graeme        Rimer, et    al.,
                                                                                                                         et al.,
  Smithsonian Firearms:
  Smithsonian     Firearms: An  An Illustrated
                                    Illustrated History,
                                                   History, (New
                                                               (New York:
                                                                        York: D.D. K.
                                                                                    K. Publishing
                                                                                        Publishing 2014),
                                                                                                      2014), 56.      The
                                                                                                                 56. The
  revolver patented
  revolver   patented by  by Samuel
                             Samuel ColtColt in
                                              in 1836
                                                 1836 andand produced
                                                               produced in  in his
                                                                               his factory
                                                                                    factory in   Paterson, New
                                                                                             in Paterson,      New Jersey
                                                                                                                      Jersey


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          24.
          24.     The next reference
                  The next reference in an American
                                     in an American newspaper
                                                    newspaper to
                                                              to aa repeating
                                                                    repeating firearm
                                                                              firearm is contained
                                                                                      is contained
  in an
  in an advertisement
        advertisement in the March
                      in the March 2,
                                   2, 1730
                                      1730 issue
                                           issue of
                                                 of Boston's
                                                    Boston’s New-England
                                                             New-England Weekly Journal. It
                                                                         Weekly Journal. It was
                                                                                            was
  for
  for aa firearm employing an
         firearm employing an uncertain
                              uncertain type
                                        type of
                                             of mechanism
                                                mechanism that
                                                          that made
                                                               made it
                                                                    it possible
                                                                       possible to
                                                                                to fire
                                                                                   fire aa succession
                                                                                           succession
  of twenty
  of twenty projectiles
            projectiles "at
                        “at once
                            once Loading.” This advertisement
                                 Loading." This advertisement also
                                                              also makes
                                                                   makes clear the novelty
                                                                         clear the novelty of
                                                                                           of such
                                                                                              such
  aa repeating
     repeating firearm.
               firearm. Samuel Miller, aa Boston
                        Samuel Miller,    Boston gunsmith, was charging
                                                 gunsmith, was charging Boston
                                                                        Boston residents
                                                                               residents 99 pence
                                                                                            pence
  each just
  each just to
            to see
               see the
                   the gun and 22 shillings—the
                       gun and    shillings—the equivalent of aa day's
                                                equivalent of    day’s wage
                                                                       wage of
                                                                            of unskilled
                                                                               unskilled labor—to
                                                                                         labor—to
  see it
  see it fired. Basically, this
         fired. Basically, this gun was being
                                gun was being used
                                              used in an eighteenth-century
                                                   in an eighteenth-century version
                                                                            version of
                                                                                    of aa sideshow.
                                                                                          sideshow.
  There is no
  There is no indication
              indication that
                         that Miller
                              Miller was
                                     was producing
                                         producing or
                                                   or selling
                                                      selling such
                                                              such firearms.
                                                                   firearms.

          25.
          25.     However, in
                  However, in the
                              the Boston
                                  Boston Gazette for April
                                         Gazette for April 12,
                                                           12, 1756,
                                                               1756, gunsmith
                                                                     gunsmith John Cookson
                                                                              John Cookson
  advertised for
  advertised for sale
                 sale aa gun
                         gun capable
                             capable of
                                     of firing
                                        firing 99 bullets
                                                  bullets in rapid succession.
                                                          in rapid succession. It was "A
                                                                               It was “A handy
                                                                                         handy Gun
                                                                                               Gun of
                                                                                                   of
  99 and
     and aa half
            half Weight;
                 Weight; having
                         having aa Place
                                   Place convenient
                                         convenient to
                                                    to hold
                                                       hold 99 Bullets,
                                                               Bullets, and
                                                                        and Powder
                                                                            Powder for
                                                                                   for 9 Charges and
                                                                                       9 Charges and
  99 Primings;
     Primings; the
               the said
                   said Gun will fire
                        Gun will fire 9
                                      9 Times distinctly, as
                                        Times distinctly, as quick, or slow
                                                             quick, or slow as
                                                                            as you
                                                                               you please,
                                                                                   please, which
                                                                                           which one
                                                                                                 one
  turn with
  turn with Handle
            Handle or
                   or the
                      the Said
                          Said Gun,
                               Gun, it doth charge
                                    it doth charge the
                                                   the Gun with Powder
                                                       Gun with Powder and
                                                                       and Bullet,
                                                                           Bullet, and
                                                                                   and doth
                                                                                       doth
  prime and
  prime and shut
            shut the
                 the Pan,
                     Pan, and
                          and cock
                              cock the
                                   the Gun."
                                       Gun.” The advertisement provides
                                             The advertisement provides aa spot-on
                                                                           spot-on description
                                                                                   description of
                                                                                               of
  three repeating
  three repeating firearms
                  firearms found in the
                           found in the collections
                                        collections of
                                                    of the
                                                       the Milwaukee
                                                           Milwaukee Public
                                                                     Public Museum,
                                                                            Museum, Royal
                                                                                    Royal
  Armouries Museum
  Armouries Museum in
                   in Leeds, and the
                      Leeds, and the Victoria
                                     Victoria and
                                              and Albert
                                                  Albert Museum
                                                         Museum in
                                                                in London that were
                                                                   London that were all
                                                                                    all
  produced sometime
  produced sometime around
                    around 1690
                           1690 by
                                by John Cookson, an
                                   John Cookson, an English gunsmith.41 These
                                                    English gunsmith.41 These were
                                                                              were
  expensive and
  expensive and heavy
                heavy firearms
                      firearms that
                               that weighed
                                    weighed about
                                            about 99 and
                                                     and aa half pounds unloaded
                                                            half pounds          and over
                                                                        unloaded and over 10
                                                                                          10
  pounds when
  pounds when loaded
              loaded with
                     with 99 balls
                             balls and
                                   and powder
                                       powder charges.
                                              charges.
          26.
          26.     Cookson’s English
                  Cookson's         repeater employed
                            English repeater employed what
                                                      what was
                                                           was known as the
                                                               known as the Lorenzoni breech-
                                                                            Lorenzoni breech-
                  42
  loading system. 42
  loading system.    This system placed
                     This system placed at
                                        at the
                                           the breech-end
                                               breech-end of
                                                          of the
                                                             the barrel
                                                                 barrel aa complex
                                                                           complex and
                                                                                   and delicate
                                                                                       delicate


  employed percussion
  employed   percussion caps
                         caps in its priming
                              in its  priming system
                                                system and
                                                       and remains   the first
                                                            remains the        practical revolver
                                                                         first practical revolver to
                                                                                                   to enter
                                                                                                      enter
  production. The
  production.       cylinder rotated
               The cylinder  rotated when
                                       when the
                                              the gun
                                                  gun was
                                                      was cocked
                                                           cocked and
                                                                   and fired
                                                                        fired when
                                                                               when the
                                                                                     the trigger
                                                                                         trigger was
                                                                                                  was
  pulled. However,
  pulled.  However, even
                     even sales
                           sales of
                                 of this
                                     this mechanically
                                           mechanically successful
                                                         successful firearm    were insufficient
                                                                    firearm were    insufficient to
                                                                                                  to prevent
                                                                                                     prevent
  the bankruptcy
  the bankruptcy in
                  in 1843
                     1843 of
                           of Colt's
                              Colt’s first
                                       first gun
                                             gun manufactory.
                                                 manufactory. See   Peterson, Treasury
                                                                See Peterson,   Treasury ofof the
                                                                                              the Gun,  211.
                                                                                                  Gun, 211.
          41
             Brown, Firearms
          41 Brown,  Firearms in
                               in Colonial     America, 144-146;
                                  Colonial America,     144-146; David
                                                                  David S.   Weaver and
                                                                          S. Weaver    and Brian
                                                                                            Brian Goodwin,
                                                                                                   Goodwin,
  “John Cookson,
  "John Cookson, gunmaker,"
                   gunmaker,” Arms
                                 Arms &     Armour, Vol.
                                         & Armour,   Vol. 19
                                                          19 (June
                                                              (June 2022),
                                                                    2022), 43-63.
                                                                            43-63.
          42
          42 Sometime    around 1660
             Sometime around     1660 Michele
                                      Michele Lorenzoni,
                                                Lorenzoni, aa Florentine
                                                              Florentine gunmaker,
                                                                         gunmaker, produced
                                                                                    produced aa repeating
                                                                                                 repeating
  flintlock firearm that
  flintlock firearm  that employed
                          employed aa lever system to
                                      lever system  to feed
                                                       feed into
                                                            into the
                                                                 the breech
                                                                     breech powder
                                                                            powder and
                                                                                    and shot.
                                                                                         shot. His
                                                                                               His firearm
                                                                                                   firearm
  drew upon
  drew   upon earlier
                earlier versions
                         versions of
                                   of this
                                       this system
                                            system developed
                                                     developed by by Giacomo
                                                                      Giacomo Berselli,
                                                                                Berselli, another
                                                                                           another Italian
                                                                                                    Italian
  gunsmith, who
  gunsmith,    who had
                    had built
                          built upon
                                upon earlier
                                      earlier innovations
                                               innovations byby gunsmiths,   Peter and
                                                                 gunsmiths, Peter  and Mathias
                                                                                         Mathias Kaltoff.
                                                                                                   Kaltoff.
  Brown, Firearms
  Brown,   Firearms inin Colonial America, 105-107,
                         Colonial America,   105-107, 144-145;
                                                       144-145; Peterson,
                                                                 Peterson, Treasury  of the
                                                                           Treasury of  the Gun, 229-231.
                                                                                            Gun, 229-231.


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  gunlock operated
  gunlock operated by
                   by aa handle
                         handle or
                                or lever attached to
                                   lever attached to the
                                                     the left side of
                                                         left side of the
                                                                      the lock.
                                                                          lock. Separate tubes in
                                                                                Separate tubes    the
                                                                                               in the
  stock of
  stock of the
           the firearm
               firearm were
                       were filled with priming
                            filled with priming powder,
                                                powder, gunpowder
                                                        gunpowder for
                                                                  for each
                                                                      each charge,
                                                                           charge, and
                                                                                   and 99 to
                                                                                          to 11
                                                                                             11
  balls. The
  balls.     shooter pointed
         The shooter pointed the
                             the gun
                                 gun barrel
                                     barrel towards
                                            towards the
                                                    the ground
                                                        ground and
                                                               and pushed
                                                                   pushed the
                                                                          the handle
                                                                              handle or
                                                                                     or lever
                                                                                        lever down
                                                                                              down
  and forward,
  and forward, which
               which rotated
                     rotated aa mechanism
                                mechanism located
                                          located inside the gun
                                                  inside the gun lock
                                                                 lock that
                                                                      that simultaneously
                                                                           simultaneously brought
                                                                                          brought
  forward one
  forward one ball,
              ball, enough
                    enough gunpowder
                           gunpowder to
                                     to discharge
                                        discharge it,
                                                  it, and
                                                      and enough primer to
                                                          enough primer to set
                                                                           set off
                                                                               off the
                                                                                   the charge in the
                                                                                       charge in the
  barrel when
  barrel when the
              the trigger
                  trigger was
                          was pulled.
                              pulled. To
                                      To recharge
                                         recharge and
                                                  and again
                                                      again fire
                                                            fire the
                                                                 the gun, the shooter
                                                                     gun, the shooter again
                                                                                      again pointed
                                                                                            pointed
  the barrel
  the barrel towards
             towards the
                     the ground, pushed on
                         ground, pushed on the
                                           the lever and then
                                               lever and then pulled
                                                              pulled the
                                                                     the trigger.
                                                                         trigger. If the parts
                                                                                  If the parts of
                                                                                               of the
                                                                                                  the
  gun lock
  gun lock did
           did not
               not fit tightly or
                   fit tightly or if
                                  if the
                                     the shooter
                                         shooter failed
                                                 failed to
                                                        to lock
                                                           lock it in the
                                                                it in the proper
                                                                          proper position
                                                                                 position when
                                                                                          when firing,
                                                                                               firing,

  flame might leak
  flame might leak back
                   back and
                        and explode
                            explode the
                                    the black
                                        black powder
                                              powder stored
                                                     stored in
                                                            in the
                                                               the butt.
                                                                   butt. Catastrophic
                                                                         Catastrophic failures
                                                                                      failures
  happened because
  happened because the
                   the period's
                       period’s methods
                                methods of
                                        of fabrication were not
                                           fabrication were not reliably capable of
                                                                reliably capable of producing
                                                                                    producing the
                                                                                              the
  fitting precision parts
  fitting precision parts needed
                          needed to
                                 to prevent
                                    prevent such
                                            such malfunctions
                                                 malfunctions caused
                                                              caused by
                                                                     by errant sparks.
                                                                        errant sparks.
          27.
          27.     Sometime before 1701,
                  Sometime before 1701, John Cookson moved
                                        John Cookson moved to Boston.43 Despite
                                                           to Boston.43 Despite Cookson's
                                                                                Cookson’s
  exceptional skill
  exceptional skill as
                    as aa gunsmith,
                          gunsmith, he
                                    he apparently
                                       apparently stopped
                                                  stopped making
                                                          making repeating
                                                                 repeating firearms during his
                                                                           firearms during his
  60 years in
  60 years in Boston.
              Boston. There
                      There are
                            are no
                                no surviving
                                   surviving eighteenth-century, American-made Cookson
                                             eighteenth-century, American-made Cookson
  repeaters.44 This
  repeaters.44      is actually
               This is actually not
                                not surprising
                                    surprising given
                                               given the
                                                     the fact
                                                         fact that
                                                              that American-made
                                                                   American-made guns were
                                                                                 guns were
  typically "utilitarian
  typically “utilitarian in nature, certainly
                         in nature,           nothing like
                                    certainly nothing      the fine
                                                      like the      magazine breech-loading
                                                               fine magazine breech-loading repeaters
                                                                                            repeaters
  normally associated
  normally associated with
                      with the
                           the name
                               name John Cookson.”45 The
                                    John Cookson."45     authors of
                                                     The authors of aa recent
                                                                       recent essay
                                                                              essay speculate
                                                                                    speculate
  that the
  that the 1756
           1756 newspaper
                newspaper advertisement
                          advertisement "could
                                        “could have
                                               have involved one of
                                                    involved one of the
                                                                    the repeaters which he
                                                                        repeaters which he had
                                                                                           had
  brought from
  brought from England
               England when
                       when he
                            he emigrated and which,
                               emigrated and which, at
                                                    at his
                                                       his age
                                                           age of
                                                               of 82 at the
                                                                  82 at the time,
                                                                            time, he
                                                                                  he had
                                                                                     had decided
                                                                                         decided
  to sell.”46 The
  to sell."46     four known
              The four known firearms that John
                             firearms that      Cookson did
                                           John Cookson did make
                                                            make in
                                                                 in America
                                                                    America are
                                                                            are different
                                                                                different types
                                                                                          types
  of single-shot
  of single-shot firearms:
                 firearms: one
                           one is
                               is aa breech-loader,
                                     breech-loader, the
                                                    the others
                                                        others are muzzle-loading.47
                                                               are muzzle-loading.47

  Today  this type
  Today this  type of
                   of repeating
                      repeating firearm
                                firearm is
                                         is generally
                                            generally identified
                                                      identified by
                                                                 by English and American
                                                                    English and American collectors
                                                                                         collectors
  and curators
  and curators as
               as employing
                  employing the
                             the Lorenzoni   system.
                                 Lorenzoni system.
         43
         43 Weaver  and Godwin,
            Weaver and             “John Cookson,
                         Godwin, "John   Cookson, gunmaker,”
                                                    gunmaker," 51-56,
                                                                 51-56, 59-61
                                                                        59-61
          44
           Ibid., 56,
           Ibid.,
          44      56, 60.
                      60. Weaver
                          Weaver and
                                  and Godwin
                                       Godwin make
                                                make clear
                                                      clear that
                                                            that the
                                                                 the firearm
                                                                     firearm referred to as
                                                                             referred to as aa
  “Volitional Cookson
  "Volitional Cookson Repeating
                        Repeating Flintlock"
                                   Flintlock” in
                                              in the
                                                 the collection
                                                     collection of
                                                                of the
                                                                   the National
                                                                       National Firearms
                                                                                Firearms Museum
                                                                                          Museum in
                                                                                                 in
  Washington, D.C.
  Washington,  D.C. was
                     was made
                          made in the late
                               in the      1600s by
                                      late 1600s  by John
                                                     John Shaw,
                                                           Shaw, aa London   gunsmith.
                                                                    London gunsmith.
          45
          45 Ibid., 55.
             Ibid., 55.
          46
             Ibid., 60.
          46 Ibid., 60.
          47
             Ibid.,
          47 Ibid.,   56-57.
                      56-57.


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          28.
          28.     The next appearance
                  The next appearance of
                                      of an
                                         an identifiable repeating firearm
                                            identifiable repeating firearm dates
                                                                           dates to
                                                                                 to April
                                                                                    April of
                                                                                          of 1777
                                                                                             1777
  and comes
  and comes from the records
            from the records and
                             and correspondence of the
                                 correspondence of the Continental
                                                       Continental Congress.
                                                                   Congress. Joseph Belton
                                                                             Joseph Belton
  wrote to
  wrote to the
           the Continental
               Continental Congress
                           Congress claiming that he
                                    claiming that    had aa method
                                                  he had    method "wherein
                                                                   “wherein aa common small arm,
                                                                               common small arm,
  may be
  may be maid
         maid [sic.]
              [sic.] to
                     to discharge
                        discharge eight
                                  eight balls
                                        balls one
                                              one after
                                                  after another,
                                                        another, in
                                                                 in eight,
                                                                    eight, five or three
                                                                           five or three seconds
                                                                                         seconds of
                                                                                                 of
  time.”48 He
  time."48 He also
              also claimed
                   claimed that
                           that such
                                such aa gun
                                        gun could be made
                                            could be made to
                                                          to discharge
                                                             discharge "sixteen
                                                                       “sixteen or
                                                                                or twenty,
                                                                                   twenty, in
                                                                                           in
  sixteen, ten
  sixteen, ten or
               or five seconds.”49 Its
                  five seconds."49 Its stated
                                       stated range was aa mere
                                              range was    mere 20
                                                                20 to
                                                                   to 30
                                                                      30 yards.
                                                                         yards. On
                                                                                On July 10, 1777,
                                                                                   July 10, 1777,
  Belton demonstrated
  Belton demonstrated aa firearm
                         firearm that
                                 that successively
                                      successively discharged 16 bullets.
                                                   discharged 16 bullets. He
                                                                          He also
                                                                             also claimed
                                                                                  claimed that
                                                                                          that this
                                                                                               this
  weapon could
  weapon could "do
               “do execution
                   execution [at] 200 yards"
                             [at] 200 yards” which
                                             which would
                                                   would have
                                                         have been
                                                              been aa dramatic—and
                                                                      dramatic—and somewhat
                                                                                   somewhat
  inexplicable—increase in
  inexplicable—increase in the
                           the weapon's
                               weapon’s supposed
                                        supposed range
                                                 range of
                                                       of 20
                                                          20 to
                                                             to 30 yards.50 In
                                                                30 yards.5° In any
                                                                               any event,
                                                                                   event, Belton
                                                                                          Belton
  and Congress
  and Congress failed
               failed to
                      to agree
                         agree on
                               on aa financial arrangement. Belton
                                     financial arrangement. Belton requested
                                                                   requested the
                                                                             the princely
                                                                                 princely sum
                                                                                          sum of
                                                                                              of
  £13,000—£1000
  £13,000-£1000 from each of
                from each of the
                             the 13
                                 13 states—to
                                    states—to compensate
                                              compensate him
                                                         him for
                                                             for inventing this system,
                                                                 inventing this system,
  though he
  though he subsequently
            subsequently reduced his demand
                         reduced his demand to
                                            to only
                                               only £500
                                                    £500 from each of
                                                         from each of the states.51 There
                                                                      the states.51       is no
                                                                                    There is no
  documentary or
  documentary or physical
                 physical evidence
                          evidence indicating that Belton
                                   indicating that Belton produced
                                                          produced any
                                                                   any of
                                                                       of these
                                                                          these firearms
                                                                                firearms in
                                                                                         in 1777.
                                                                                            1777.
          29.
          29.     The specific design
                  The specific        of the
                               design of the firearm
                                             firearm that
                                                     that Belton
                                                          Belton demonstrated
                                                                 demonstrated in
                                                                              in 1777
                                                                                 1777 remains
                                                                                      remains
  unclear. There
  unclear.       is aa brass-barreled,
           There is    brass-barreled, flintlock
                                       flintlock fusil
                                                 fusil in the collection
                                                       in the            of the
                                                              collection of the Smithsonian Institution
                                                                                Smithsonian Institution

  that has
  that has been
           been proposed
                proposed as
                         as the
                            the actual
                                actual gun or aa prototype
                                       gun or    prototype for the gun
                                                           for the     that Joseph
                                                                   gun that        Belton
                                                                            Joseph Belton
  demonstrated in
  demonstrated    1777.52 It
               in 1777.52 It is
                             is engraved “IOS. BELTON
                                engraved "IOS. BELTON INVENTOR ET ARTIFEX
                                                      INVENTOR ET ARTIFEX -– PHILAL-
                                                                             PHILAL-



          48
          48
             Quoted in
             Quoted in Brown,
                        Brown, Firearms
                                Firearms in in Colonial  American, 317.
                                               Colonial American,  317. This
                                                                          This letter and others
                                                                               letter and  others are
                                                                                                  are
  reproduced in
  reproduced  in their
                 their entirety
                       entirety at
                                at Joseph   Belton to
                                   Joseph Belton   to the
                                                      the Continental
                                                          Continental Congress,
                                                                      Congress, April
                                                                                  April 1,
                                                                                        1, 1777
                                                                                           1777 at
                                                                                                 at
  “Correspondence between
  "Correspondence    between John    [sic.] Belton
                               John [sic.]  Belton and
                                                   and the
                                                        the Continental
                                                            Continental Congress"
                                                                        Congress” atat
  https://en.wikkisource/ Correspondence
  https://en.wikkisource/  Correspondence_ between
                                               between_John_Belton     [sic.]_and_ the_
                                                          John_Belton [sic.]_and_   the_ Continental
                                                                                         Continental
  _Congress.
  _Congress.
          49
          49  Ibid.
              Ibid.
           50
           5° Letter with Enclosure,
              Letter with Enclosure, Joseph  Belton to
                                      Joseph Belton  to the
                                                        the Continental
                                                            Continental Congress,
                                                                        Congress, July  10, 1777,
                                                                                   July 10, 1777, at
                                                                                                  at
  “Correspondence between
  "Correspondence     between John   [sic.] Belton
                               John [sic.]  Belton and
                                                   and the
                                                       the Continental
                                                            Continental Congress"
                                                                        Congress” at
                                                                                  at
  https://en.wikkisource/ Correspondence
  https://en.wikkisource/  Correspondence_ between
                                               between_John_Belton    [sic.]_and_ the_
                                                         John_Belton [sic.]_and_  the_ Continental
                                                                                        Continental
  _Congress.
  _Congress.
          51
          51Joseph Belton to
            Joseph Belton to the
                             the Continental
                                 Continental Congress,
                                              Congress, May
                                                        May 7,
                                                            7, 1777
                                                               1777 and
                                                                    and Joseph Belton to
                                                                        Joseph Belton to John
                                                                                         John
  Hancock, May
  Hancock,  May 8,
                 8, 1777
                    1777 at
                         at https://en.wikkisource/
                            https://en.wikkisource/ Correspondence
                                                    Correspondence_ between
                                                                    between_John_Belton
                                                                             John_Belton
  [sic.]_and_ the_
  [sic.]_and_ the_ Continental
                   Continental _Congress.
                               _Congress.
          52
          52Robert Held,
            Robert Held, "The
                          “The Guns
                               Guns of
                                     of Joseph Belton Part
                                        Joseph Belton Part I” American Rifleman
                                                           I" American   Rifleman (March
                                                                                   (March 1987),
                                                                                          1987),
  36-39, 68-69;
  36-39, 68-69; Oregon   Firearms Federation
                Oregon Firearms    Federation v. Brown, U.S.
                                              v. Brown, U.S. Dist.
                                                              Dist. Ct.
                                                                    Ct. Civ.
                                                                        Civ. No.
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  (lead case),
  (lead case), Declaration
               Declaration of
                           of Ashley
                              Ashley Hlebinsky
                                     Hlebinsky (ECF
                                                (ECF 72)
                                                     72) at
                                                         at 18,
                                                            18, n
                                                                n 24.
                                                                  24.


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  MDCCLVIII [i.e.
  MDCCLVIII [i.e. 1758]".
                  1758]”. An
                          An additional
                             additional engraving
                                        engraving on
                                                  on the
                                                     the gun
                                                         gun refers
                                                             refers to
                                                                    to "CAPT
                                                                       “CAPT JOSEPH
                                                                             JOSEPH
  BELTON OF
  BELTON    Philad.”53 However,
         OF Philad."53 However, the
                                the Joseph Belton who
                                    Joseph Belton who arrived
                                                      arrived in Philadelphia in
                                                              in Philadelphia in 1775
                                                                                 1775 and
                                                                                      and
  who came
  who came into
           into contact
                contact with
                        with Benjamin
                             Benjamin Franklin
                                      Franklin and
                                               and subsequently
                                                   subsequently other
                                                                other members
                                                                      members of
                                                                              of the
                                                                                 the
  Continental Congress
  Continental Congress and
                       and the
                           the Continental
                               Continental Army
                                           Army was
                                                was aa 1769
                                                       1769 graduate
                                                            graduate of
                                                                     of the
                                                                        the College
                                                                            College of
                                                                                    of Rhode
                                                                                       Rhode
  Island, which is
  Island, which    today Brown
                is today       University.54 In
                         Brown University.54    1758, this
                                             In 1758, this Joseph Belton was
                                                           Joseph Belton was not
                                                                             not in
                                                                                 in Philadelphia;
                                                                                    Philadelphia;
  he was
  he was not
         not aa captain; and he
                captain; and he was
                                was not
                                    not then
                                        then aa gunsmith.
                                                gunsmith. Despite
                                                          Despite claims
                                                                  claims to
                                                                         to the
                                                                            the contrary,
                                                                                contrary, it
                                                                                          it is
                                                                                             is
  unlikely that
  unlikely that this
                this particular
                     particular gun was demonstrated
                                gun was demonstrated in Philadelphia in
                                                     in Philadelphia in July    1777.55
                                                                             of 1777.55
                                                                        July of
          30.
          30.       However as
                    However as Harold
                               Harold Peterson
                                      Peterson suggested
                                               suggested many
                                                         many years
                                                              years ago,
                                                                    ago, it
                                                                         it is
                                                                            is quite
                                                                               quite likely
                                                                                     likely that
                                                                                            that the
                                                                                                 the
  firearm demonstrated in
  firearm demonstrated in 1777
                          1777 employed
                               employed some
                                        some version
                                             version of
                                                     of what
                                                        what is
                                                             is known as aa superimposition
                                                                known as    superimposition
  system.56 In
  system.56 In the
               the simplest
                   simplest version
                            version of
                                    of aa superimposed
                                          superimposed or
                                                       or superposed
                                                          superposed system
                                                                     system of
                                                                            of loading
                                                                               loading aa firearm,
                                                                                          firearm, aa
  series of
  series of alternating
            alternating powder
                        powder charges
                               charges and
                                       and balls
                                           balls are
                                                 are loaded directly into
                                                     loaded directly into aa gun's
                                                                             gun’s barrel.
                                                                                   barrel. There is no
                                                                                           There is no
  detachable or
  detachable or integral
                integral magazine,
                         magazine, just
                                   just aa standard
                                           standard barrel
                                                    barrel that
                                                           that is
                                                                is loaded from the
                                                                   loaded from the muzzle
                                                                                   muzzle in
                                                                                          in an
                                                                                             an
  alternating sequence
  alternating sequence of
                       of gunpowder
                          gunpowder and
                                    and balls.
                                        balls. All
                                               All of
                                                   of these
                                                      these charges were—ideally—set off
                                                            charges were—ideally—set off in
                                                                                         in
  order from
  order from front
             front to
                   to back
                      back by
                           by igniting
                              igniting the
                                       the powder
                                           powder charge
                                                  charge located behind the
                                                         located behind the ball
                                                                            ball closest to the
                                                                                 closest to the
  muzzle of
  muzzle of the
            the gun's
                gun’s barrel.
                      barrel. There
                              There is no magazine
                                    is no magazine involved, and the
                                                   involved, and the ensuing
                                                                     ensuing discharge of balls
                                                                             discharge of balls is
                                                                                                is
  uncontrolled after
  uncontrolled after it
                     it is
                        is initiated.
                           initiated.
          31.
          31.       The superposed system
                    The superposed system for
                                          for discharging
                                              discharging aa succession
                                                             succession of
                                                                        of balls
                                                                           balls had
                                                                                 had been
                                                                                     been tried
                                                                                          tried as
                                                                                                as
                                                         57
  early as
  early as 1580
           1580 by
                by aa German
                      German gunsmith
                             gunsmith working
                                      working in
                                              in London.
                                                 London.57  Today, early flintlock
                                                            Today, early           pistols that
                                                                         flintlock pistols that
  used aa simple
  used    simple superposed
                 superposed loading
                            loading system
                                    system are
                                           are sometimes
                                               sometimes referred
                                                         referred to
                                                                  to as
                                                                     as "Roman
                                                                        “Roman candle
                                                                               candle pistols"
                                                                                      pistols”
  because they
  because they employed
               employed "the
                        “the same
                             same principle
                                  principle as
                                            as the
                                               the firework"
                                                   firework” which
                                                             which involves
                                                                   involves setting
                                                                            setting off
                                                                                    off "a
                                                                                        “a chain
                                                                                           chain



          53
          53  Smithsonian National Firearms
              Smithsonian National Firearms Collection,
                                             Collection,
  :https://americanhistory.si.edu/collections/search/object,nmah_440031
  :https://americanhistory.si.edu/collections/search/object,nmah          Accessed 2/2/2013.
                                                                   440031 Accessed  2/2/2013.
           54
              Benjamin Franklin
           54 Benjamin Franklin to
                                to Silas Deane, August
                                   Silas Deane, August 27,
                                                         27, 1775
                                                             1775 in
                                                                  in Papers
                                                                     Papers of
                                                                            of Benjamin
                                                                               Benjamin Franklin,
                                                                                        Franklin,
  Vol. 22,
  Vol. 22, 183-185,
            183-185, especially
                     especially footnote, 2.
                                footnote, 2.
          55
          55  Quite distinct
              Quite distinct from the questions
                             from the questions raised by what
                                                raised by  what is
                                                                is known
                                                                   known ofof Joseph  Belton’s biography
                                                                              Joseph Belton's    biography
  is the
  is the claim  in Adam
         claim in  Adam Weinstein
                          Weinstein "I
                                     “I am
                                        am Tired of Being
                                           Tired of  Being Tired”  December 21,
                                                            Tired" December     21, 2018
                                                                                    2018 that
                                                                                          that his
                                                                                               his
  grandfather, Kenneth
  grandfather,   Kenneth Weinstein,
                          Weinstein, aa gunsmith,  fabricated this
                                        gunsmith, fabricated  this particular
                                                                   particular firearm.
                                                                              firearm.
  adamweinstein.substack.com/p/i-am-tired-of-being-tired <Accessed
  adamweinstein.substack.com/p/i-am-tired-of-being-tired       <Accessed 2/2/2023
                                                                            2/2/2023 at
                                                                                      at 12:00PM>.
                                                                                         12:00PM>.
           56
              Peterson, Arms
           56 Peterson, Arms and
                               and Armor
                                   Armor in
                                          in Colonial America, 218.
                                             Colonial America,   218.
          57
          57   Peterson, Treasury
               Peterson,          of the
                         Treasury of the Gun, 195.
                                         Gun, 195.


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                                   58
 reaction of
 reaction of multiple
             multiple discharges.”
                      discharges."58  Other writers
                                      Other writers also
                                                    also liken flintlock long
                                                         liken flintlock long arms
                                                                              arms that
                                                                                   that employed
                                                                                        employed aa
 simple superposed
 simple superposed system
                   system of
                          of multiple
                             multiple charges
                                      charges to
                                              to "Roman candles”.59
                                                 “Roman candles".59
        32.
        32.     Later in London,
                Later in London, Joseph Belton was
                                 Joseph Belton was involved
                                                   involved in producing aa sophisticated
                                                            in producing    sophisticated and
                                                                                          and
 controllable version
 controllable version of
                      of aa firearm
                            firearm employing
                                    employing aa superposed
                                                 superposed system.
                                                            system. In 1784, Belton
                                                                    In 1784, Belton went
                                                                                    went to
                                                                                         to
 England where he
 England where he failed to interest
                  failed to interest the
                                     the English Ordnance Department
                                         English Ordnance Department in
                                                                     in some
                                                                        some version
                                                                             version of
                                                                                     of his
                                                                                        his
 superposed system.
 superposed system. By
                    By 1786,
                       1786, he
                             he had
                                had entered into aa partnership
                                    entered into    partnership with
                                                                with London
                                                                     London gunsmith William
                                                                            gunsmith William

 Jover
 Jover (active 1750-1810). Together
       (active 1750-1810).          they produced
                           Together they produced for Britain’s East
                                                  for Britain's East India Company aa
                                                                     India Company
 smoothbore repeating
 smoothbore repeating firearm with aa sliding
                      firearm with    sliding gunlock, that moved
                                              gunlock, that moved down the barrel
                                                                  down the barrel to
                                                                                  to ignite
                                                                                     ignite aa
 succession of
 succession of powder
               powder charges that propelled
                      charges that propelled aa series
                                                series of
                                                       of musket
                                                          musket balls
                                                                 balls contained
                                                                       contained in
                                                                                 in aa replaceable
                                                                                       replaceable
 metal magazine
 metal magazine holding
                holding 7
                        7 projectiles.
                          projectiles. There
                                       There are
                                             are two
                                                 two authentic
                                                     authentic examples
                                                               examples of
                                                                        of this
                                                                           this particular
                                                                                particular
 firearm in the
 firearm in the collection of the
                collection of the Royal
                                  Royal Armouries,
                                        Armouries, National
                                                   National Firearms
                                                            Firearms Center
                                                                     Center in
                                                                            in Leeds,
                                                                               Leeds, England.
                                                                                      England.
        33.
        33.     Belton’s 1786
                Belton's 1786 firearm allowed the
                              firearm allowed the shooter
                                                  shooter to
                                                          to control
                                                             control the
                                                                     the weapon's
                                                                         weapon’s discharge
                                                                                  discharge and
                                                                                            and
 aim each
 aim each shot,
          shot, which
                which was
                      was not
                          not possible
                              possible with
                                       with the
                                            the simpler
                                                simpler superposed
                                                        superposed system.
                                                                   system. As
                                                                           As the
                                                                              the 1786
                                                                                  1786
 firearm’s moving gunlock
 firearm's moving gunlock lined up with
                          lined up with the
                                        the next powder charge
                                            next powder charge and
                                                               and ball,
                                                                   ball, the
                                                                         the shooter
                                                                             shooter primed
                                                                                     primed aa
 pan, pulled
 pan, pulled back
             back the
                  the cock
                      cock on
                           on the
                              the sliding
                                  sliding gunlock,
                                          gunlock, and
                                                   and then
                                                       then pulled
                                                            pulled aa trigger
                                                                      trigger firing off aa single
                                                                              firing off    single
 projectile. Because
 projectile. Because of
                     of the
                        the need
                            need to
                                 to cock
                                    cock and
                                         and prime
                                             prime each
                                                   each time
                                                        time before
                                                             before pulling
                                                                    pulling the
                                                                            the trigger
                                                                                trigger and
                                                                                        and firing
                                                                                            firing

 the gun,
 the gun, this
          this was
               was not
                   not aa rapid-fire
                          rapid-fire repeating arm. This
                                     repeating arm. This firearm was also
                                                         firearm was also something
                                                                          something of
                                                                                    of aa challenge
                                                                                          challenge
 to handle.
 to handle. It
            It weighs
               weighs 10
                      10 pounds
                         pounds unloaded
                                unloaded and
                                         and would
                                             would have
                                                   have weighed
                                                        weighed close
                                                                close to
                                                                      to 11
                                                                         11 pounds
                                                                            pounds when
                                                                                   when
 loaded. Jonathan
 loaded. Jonathan Ferguson,
                  Ferguson, the
                            the Keeper
                                Keeper of
                                       of Firearms
                                          Firearms and
                                                   and Artillery
                                                       Artillery at
                                                                 at the
                                                                    the Leeds Firearms Center
                                                                        Leeds Firearms Center
 observes in
 observes in an
             an on-line
                on-line video
                        video that
                              that managing
                                   managing the
                                            the weapon
                                                weapon is “a bit
                                                       is "a bit of
                                                                 of aa three-handed job.”60
                                                                       three-handed job."6°
        34.
        34.     A much
                A much cruder
                       cruder version
                              version of
                                      of aa firearm
                                            firearm employing
                                                    employing aa superposed
                                                                 superposed system
                                                                            system was
                                                                                   was produced
                                                                                       produced in
                                                                                                in
 America in
 America in the
            the early 1790s. A
                early 1790s. A July 20, 1793
                               July 20, 1793 newspaper
                                             newspaper report
                                                       report in
                                                              in Philadelphia's
                                                                 Philadelphia’s Gazette of the
                                                                                Gazette of the
 United States from
 United States from Elizabeth
                    Elizabeth Town, Pennsylvania describes
                              Town, Pennsylvania describes aa firearm created by
                                                              firearm created by "the
                                                                                 “the ingenious
                                                                                      ingenious and
                                                                                                and



        58
        Jeff Kinard, Pistols:
        Jeff Kinard,
        58           Pistols: An
                              An Illustrated
                                 Illustrated History
                                             History of
                                                     of their Impact (Santa
                                                        their Impact        Barbara,
                                                                     (Santa Barbara,
 CA: ABC-CLIO,
 CA: ABC-CLIO, 2004),
                2004), 37.
                       37.
        59
        Brown, Firearms
        Brown,
        59     Firearms in
                        in Colonial  America, 100;
                            Colonial America,  100; Peterson,
                                                    Peterson, Treasury of the
                                                              Treasury of the Gun, 197.
                                                                              Gun, 197.
        60
     60 Jonathan Ferguson, "Flintlock
        Jonathan Ferguson, “Flintlock Repeating
                                      Repeating —– 1786"
                                                   1786” youtube.com/watch?v=-
                                                         youtube.com/watch?v=-
 wOmUM40G2U. <Accessed
 wOmUM40G2U.     <Accessed online
                            online 11/6/2022
                                   11/6/2022 at
                                             at 4:00
                                                4:00 P.M>
                                                     P.M>


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  philosophic Mr.
  philosophic Mr. Chambers
                  Chambers of
                           of Mercersburg
                              Mercersburg in
                                          in Pennsylvania."
                                             Pennsylvania.” This
                                                            This was
                                                                 was Joseph
                                                                     Joseph Gaston Chambers
                                                                            Gaston Chambers
  (1756-1829). According
  (1756-1829). According to
                         to the
                            the news
                                news report,
                                     report, this
                                             this pistol
                                                  pistol "discharged
                                                         “discharged six
                                                                     six balls
                                                                         balls in succession, with
                                                                               in succession, with
  only one
  only one loading
           loading and
                   and once
                       once drawing
                            drawing the
                                    the trigger,
                                        trigger, exclusive
                                                 exclusive of
                                                           of the
                                                              the reserve
                                                                  reserve shot,
                                                                          shot, which
                                                                                which went
                                                                                      went off
                                                                                           off with
                                                                                               with
  the drawing
  the drawing of
              of another
                 another trigger."
                         trigger.” Later in the
                                   Later in the year,
                                                year, Chambers
                                                      Chambers attempted
                                                               attempted to
                                                                         to interest the United
                                                                            interest the United States
                                                                                                States
  War Department
  War Department in
                 in buying
                    buying long
                           long arms
                                arms employing
                                     employing his
                                               his version
                                                   version of
                                                           of the
                                                              the superposed
                                                                  superposed system.
                                                                             system.
         35.
         35.     A drawing
                 A drawing that
                           that was
                                was probably
                                    probably done
                                             done later reveals that
                                                  later reveals that Chambers's
                                                                     Chambers’s superposed
                                                                                superposed
  system for
  system for aa musket
                musket employed two gunlocks:
                       employed two gunlocks: one
                                              one near
                                                  near the
                                                       the front of the
                                                           front of the barrel
                                                                        barrel and
                                                                               and the
                                                                                   the other
                                                                                       other in
                                                                                             in the
                                                                                                the
  usual location
  usual location at
                 at the
                    the barrel's
                        barrel’s breech.
                                 breech. First
                                         First aa powder
                                                  powder charge
                                                         charge was
                                                                was poured
                                                                    poured down
                                                                           down the
                                                                                the barrel
                                                                                    barrel followed
                                                                                           followed
  by aa traditional
  by    traditional spherical
                    spherical ball
                              ball which
                                   which was
                                         was pushed
                                             pushed down
                                                    down to
                                                         to the
                                                            the breech.
                                                                breech. This was the
                                                                        This was the reserve
                                                                                     reserve shot.
                                                                                             shot.
  Next aa succession
  Next    succession of
                     of 88 special,
                           special, cylindrically
                                    cylindrically shaped
                                                  shaped bullets
                                                         bullets with
                                                                 with conical tails and
                                                                      conical tails and 88 powder
                                                                                           powder
  charges were
  charges were pushed
               pushed down the barrel.
                      down the barrel. Pulling
                                       Pulling aa cord
                                                  cord triggered
                                                       triggered the
                                                                 the lock near the
                                                                     lock near the front of the
                                                                                   front of the
  barrel and
  barrel and ignited the first
             ignited the       powder charge
                         first powder charge closest
                                             closest to
                                                     to the
                                                        the muzzle,
                                                            muzzle, which
                                                                    which fired
                                                                          fired the
                                                                                the first cylindrical
                                                                                    first cylindrical
  projectile. A
  projectile. A hole
                hole in
                     in the
                        the next projectile carried
                            next projectile carried the
                                                    the charge
                                                        charge through
                                                               through it and down
                                                                       it and down its
                                                                                   its conical tail,
                                                                                       conical tail,
  which ignited
  which ignited the
                the charge,
                    charge, which
                            which propelled
                                  propelled the
                                            the second
                                                second cylindrical
                                                       cylindrical charge,
                                                                   charge, and
                                                                           and so
                                                                               so on.
                                                                                  on. Finally,
                                                                                      Finally, the
                                                                                               the
  spherical ball
  spherical ball resting
                 resting at
                         at the
                            the barrel's
                                barrel’s breech
                                         breech was
                                                was discharged
                                                    discharged by
                                                               by pulling
                                                                  pulling the
                                                                          the second
                                                                              second trigger
                                                                                     trigger near
                                                                                             near the
                                                                                                  the
  breech.61 Chamber's
  breech.61 Chamber’s system
                      system did
                             did not
                                 not employ
                                     employ aa detachable
                                               detachable magazine,
                                                          magazine, and
                                                                    and once
                                                                        once initiated, the gun's
                                                                             initiated, the gun’s
  discharge could
  discharge could not
                  not be
                      be controlled. A drawing
                         controlled. A         of this
                                       drawing of this firearm
                                                       firearm is
                                                               is attached
                                                                  attached as
                                                                           as Exhibit
                                                                              Exhibit B.
                                                                                      B.
         36.
         36.     Chambers’s initial
                 Chambers's initial efforts to win
                                    efforts to win government
                                                   government interest
                                                              interest in 1793 and
                                                                       in 1793 and aa patent
                                                                                      patent for
                                                                                             for his
                                                                                                 his
  invention were
  invention were unsuccessful.
                 unsuccessful. A
                               A demonstration in May
                                 demonstration in May of
                                                      of 1793
                                                         1793 failed
                                                              failed to
                                                                     to impress the War
                                                                        impress the War
  Department. Later
  Department.       in 1813,
              Later in 1813, Chambers
                             Chambers did
                                      did secure
                                          secure aa patent
                                                    patent and
                                                           and supplied
                                                               supplied the
                                                                        the U.S.
                                                                            U.S. Navy
                                                                                 Navy with
                                                                                      with 200
                                                                                           200
  repeating muskets
  repeating muskets and
                    and 100
                        100 repeating
                            repeating pistols
                                      pistols and
                                              and also
                                                  also sold
                                                       sold weapons
                                                            weapons to
                                                                    to the
                                                                       the state
                                                                           state of Pennsylvania.62
                                                                                 of Pennsylvania.62
  The Navy’s use
  The Navy's use of
                 of these
                    these weapons
                          weapons attracted
                                  attracted the
                                            the attention
                                                attention of
                                                          of the
                                                             the British
                                                                 British and
                                                                         and Dutch
                                                                             Dutch governments.
                                                                                   governments.
  However, in
  However, in the
              the end,
                  end, Chambers's
                       Chambers’s system
                                  system with
                                         with its
                                              its unusual projectiles failed
                                                  unusual projectiles failed to
                                                                             to obtain
                                                                                obtain sustained
                                                                                       sustained
  interest from
  interest from any
                any government.
                    government. His
                                His guns did work,
                                    guns did work, but
                                                   but they
                                                       they could
                                                            could also
                                                                  also produce
                                                                       produce devastating
                                                                               devastating
  malfunctions. As
  malfunctions. As historian
                   historian Andrew
                             Andrew Fagal
                                    Fagal has
                                          has pointed
                                              pointed out,
                                                      out, cramming
                                                           cramming the
                                                                    the gun's
                                                                        gun’s barrel
                                                                              barrel with
                                                                                     with

         61
         61  For the
             For the best
                     best description
                          description of
                                      of the
                                         the system
                                             system and
                                                    and an
                                                        an illustration
                                                           illustration of
                                                                        of how
                                                                           how the
                                                                               the gun
                                                                                   gun was
                                                                                        was loaded see
                                                                                            loaded see
  Fagal, "The
  Fagal, “The Promise
               Promise of
                        of American
                           American Repeating
                                      Repeating Weapons,
                                                  Weapons, 1791-1821"
                                                            1791-1821” pages
                                                                          pages 2-3
                                                                                2-3 of
                                                                                    of 6.
                                                                                       6.
          62
             Peterson, Treasury
          62 Peterson,           of the
                       Treasury of  the Gun,  197.
                                        Gun, 197.


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  projectiles and
  projectiles and gunpowder
                  gunpowder produced
                            produced what
                                     what was
                                          was potentially
                                              potentially aa pipe bomb.63 All
                                                             pipe bomb.63 All superposed
                                                                              superposed
  weapons were
  weapons were difficult to load
               difficult to load correctly, and if
                                 correctly, and    the bullets
                                                if the bullets did not fit
                                                               did not     tightly, flame
                                                                       fit tightly, flame could leak
                                                                                          could leak
  around them
  around them and
              and set
                  set off
                      off all
                          all the
                              the charges
                                  charges at once.64 In
                                          at once.64    the 1820s,
                                                     In the 1820s, the
                                                                   the "complexity
                                                                       “complexity and
                                                                                   and inherent
                                                                                       inherent
  dangers” of
  dangers" of superposed
              superposed systems
                         systems that
                                 that filled gun barrels
                                      filled gun barrels with
                                                         with multiple
                                                              multiple charges
                                                                       charges of
                                                                               of explosive
                                                                                  explosive gun
                                                                                            gun
  powder "led
  powder “led to
              to their
                 their wholesale abandonment.”65
                       wholesale abandonment."65
         37.
         37.      A safer
                  A safer alternative
                          alternative to
                                      to the
                                         the systems
                                             systems employed
                                                     employed by
                                                              by Cookson
                                                                 Cookson and
                                                                         and Chambers
                                                                             Chambers was
                                                                                      was an
                                                                                          an air
                                                                                             air
  gun that
  gun that did
           did not
               not use
                   use black
                       black powder
                             powder as
                                    as aa propellant.
                                          propellant. There are two
                                                      There are two advertisements—one
                                                                    advertisements—one for
                                                                                       for aa
  demonstration and
  demonstration and one
                    one for an auction—that
                        for an auction—that contained
                                            contained references to an
                                                      references to an air
                                                                       air gun able to
                                                                           gun able to fire 20
                                                                                       fire 20
  times with
  times with aa single
                single charging.
                       charging. The February 10,
                                 The February 10, 1792,
                                                  1792, issue of New
                                                        issue of New York
                                                                     York City's
                                                                          City’s Daily
                                                                                 Daily Advertiser
                                                                                       Advertiser
  announced "To
  announced “To the
                the Curious"
                    Curious” daily
                             daily exhibitions
                                   exhibitions of
                                               of an
                                                  an air
                                                     air gun.
                                                         gun. This gun was
                                                              This gun was supposedly
                                                                           supposedly made
                                                                                      made by
                                                                                           by aa
  young man
  young man who
            who was
                was aa native
                       native of
                              of Rhode
                                 Rhode Island, though in
                                       Island, though    an advertisement
                                                      in an advertisement almost
                                                                          almost two
                                                                                 two years
                                                                                     years later,
                                                                                           later,
  it was
  it was claimed that the
         claimed that the gun
                          gun was
                              was made
                                  made in New York
                                       in New York City
                                                   City by
                                                        by "An
                                                           “An American
                                                               American Artist."
                                                                        Artist.” This gun
                                                                                 This gun

  discharged twenty
  discharged twenty times
                    times without
                          without needing
                                  needing to
                                          to renew
                                             renew the
                                                   the propellant
                                                       propellant provided
                                                                  provided by
                                                                           by compressed
                                                                              compressed air.
                                                                                         air.
  Each pull of
  Each pull of the
               the trigger
                   trigger provided
                           provided enough air to
                                    enough air to send
                                                  send aa ball
                                                          ball through
                                                               through an
                                                                       an inch-thick board at
                                                                          inch-thick board at aa
  distance of
  distance of sixty
              sixty yards.
                    yards. For
                           For 66 pence,
                                  pence, aa resident of the
                                            resident of the city
                                                            city could
                                                                 could see
                                                                       see Gardiner
                                                                           Gardiner Baker
                                                                                    Baker demonstrate
                                                                                          demonstrate
  the air
  the air gun
          gun twice
              twice aa day—Tuesday
                       day—Tuesday and
                                   and Friday
                                       Friday afternoons
                                              afternoons excepted—at
                                                         excepted—at his
                                                                     his museum
                                                                         museum located
                                                                                located at
                                                                                        at no.
                                                                                           no.
  13 Maiden
  13 Maiden Lane. There is
            Lane. There    no indication
                        is no indication that
                                         that Gardiner
                                              Gardiner Baker,
                                                       Baker, "the
                                                              “the young
                                                                   young man
                                                                         man in Rhode Island”
                                                                             in Rhode Island"
  or the
  or the "American
         “American Artist"
                   Artist” in
                           in New
                              New York
                                  York was
                                       was marketing
                                           marketing air
                                                     air guns.
                                                         guns. Instead, once again
                                                               Instead, once again aa repeater
                                                                                      repeater
  was being
  was being featured as aa novelty
            featured as    novelty in
                                   in aa show
                                         show put
                                              put on
                                                  on for paying customers.
                                                     for paying customers.
         38.
         38.      The air gun
                  The air gun demonstrated
                              demonstrated by
                                           by Baker
                                              Baker appears
                                                    appears to
                                                            to have
                                                               have resembled or possibly
                                                                    resembled or possibly might
                                                                                          might
  have been
  have been an
            an actual
               actual example
                      example of
                              of aa European
                                    European air
                                             air rifle
                                                 rifle designed
                                                       designed by
                                                                by Bartholomeo
                                                                   Bartholomeo Girardoni
                                                                               Girardoni in
                                                                                         in 1779.
                                                                                            1779.
  A Girardoni
  A Girardoni air
              air gun
                  gun had
                      had aa magazine
                             magazine with
                                      with aa capacity
                                              capacity of
                                                       of 22
                                                          22 balls,
                                                             balls, each
                                                                    each of
                                                                         of which
                                                                            which was
                                                                                  was propelled
                                                                                      propelled by
                                                                                                by
  discharges of
  discharges of compressed air from
                compressed air from aa replaceable
                                       replaceable cannister
                                                   cannister carried
                                                             carried in
                                                                     in the
                                                                        the gun's
                                                                            gun’s stock.
                                                                                  stock. The
                                                                                         The gun
                                                                                             gun



         63
         63   Fagal, "The
              Fagal, “The Promise
                          Promise of
                                  of American
                                     American Repeating
                                              Repeating Weapons,
                                                        Weapons, 1791-1821,"
                                                                 1791-1821,” page
                                                                             page 44 of
                                                                                     of 6.
                                                                                        6.
         64
         64   Peterson, Treasury
              Peterson,          of the
                        Treasury of  the Gun, 198.
                                         Gun, 198.
         65
         65   Andrew J.
              Andrew     B. Fagal,
                      J. B. Fagal, "The
                                   “The Promise
                                         Promise of
                                                  of American
                                                     American Repeating
                                                              Repeating Weapons,
                                                                          Weapons, 1791-1821"
                                                                                     1791-1821” page
                                                                                                   page
  22 of
     of 6.
        6. <Accessed
           <Accessed online
                      online 10/25/2022
                             10/25/2022 atat 4:55
                                             4:55 P.M>
                                                  P.M> Fagal
                                                        Fagal is
                                                              is currently
                                                                 currently an
                                                                           an assistant
                                                                              assistant editor
                                                                                        editor of
                                                                                               of the
                                                                                                  the
   Papers of
  Papers   of Thomas
              Thomas Jefferson  at Princeton
                      Jefferson at  Princeton University.
                                              University.


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 weighed about
 weighed about 10
               10 pounds—which
                  pounds—which was
                               was about
                                   about the
                                         the same
                                             same as
                                                  as aa musket—but
                                                        musket—but was
                                                                   was shorter,
                                                                       shorter, being
                                                                                being only
                                                                                      only
 four feet
 four feet in
           in length
              length overall.
                     overall. As
                              As contemporaries in Europe
                                 contemporaries in        reported, these
                                                   Europe reported, these air
                                                                          air guns were not
                                                                              guns were not
 without their
 without their problems:
               problems: "Due
                         “Due to
                              to their
                                 their construction,
                                       construction, these
                                                     these guns were much
                                                           guns were much more
                                                                          more difficult
                                                                               difficult to
                                                                                         to use
                                                                                            use
                                                                                         66
 effectively than
 effectively than normal,
                  normal, as
                          as one
                             one had
                                 had to
                                     to handle
                                        handle them
                                               them much
                                                    much more
                                                         more cautiously
                                                              cautiously and
                                                                         and carefully.”
                                                                             carefully."66  In
                                                                                            In
 the late
 the late 1700s,
          1700s, the
                 the Austrian
                     Austrian Army,
                              Army, which
                                    which had
                                          had aa peacetime
                                                 peacetime establishment of 304,628
                                                           establishment of 304,628 men,
                                                                                    men,
 purchased 1,500
 purchased 1,500 Girardoni
                 Girardoni air
                           air rifles
                               rifles that,
                                      that, theoretically,
                                            theoretically, could have armed
                                                           could have armed only
                                                                            only 0.5%
                                                                                 0.5% of
                                                                                      of its
                                                                                         its
 soldiers.67 As
 soldiers.67 As it
                it turned
                   turned out,
                          out, "after
                               “after aa while
                                         while no
                                               no more
                                                  more than
                                                       than one-third
                                                            one-third of
                                                                      of them
                                                                         them were
                                                                              were in
                                                                                   in aa usable
                                                                                         usable state,"
                                                                                                state,”
 and they
 and they were
          were all
               all phased
                   phased out
                          out by
                              by 1810
                                 1810 if
                                      if not before.68
                                         not before.68
         39.
         39.     The American military's
                 The American military’s use
                                         use of
                                             of aa Girardoni
                                                   Girardoni air
                                                             air rifle
                                                                 rifle was
                                                                       was more
                                                                           more limited in number
                                                                                limited in number and
                                                                                                  and
 briefer in
 briefer in its
            its timespan,
                timespan, but
                          but is
                              is also
                                 also much
                                      much better
                                           better known. On their
                                                  known. On their 1804-1806
                                                                  1804-1806 expedition
                                                                            expedition to
                                                                                       to the
                                                                                          the Pacific
                                                                                              Pacific
 Ocean and
 Ocean and back,
           back, Lewis and Clark
                 Lewis and Clark and
                                 and their
                                     their "Corps
                                           “Corps of
                                                  of Discovery"
                                                     Discovery” carried
                                                                carried with
                                                                        with them
                                                                             them aa single
                                                                                     single
 Girardoni air
 Girardoni     rifle.69 While
           air rifle.69 While it
                              it was
                                 was occasionally
                                     occasionally used
                                                  used for
                                                       for hunting,
                                                           hunting, their
                                                                    their air
                                                                          air rifle was primarily
                                                                              rifle was primarily
 employed to
 employed to impress
             impress Natives
                     Natives that
                             that they
                                  they encountered along the
                                       encountered along the way.
                                                             way. As
                                                                  As Private
                                                                     Private Joseph Whitehouse
                                                                             Joseph Whitehouse
 recorded in
 recorded in his
             his journal:
                 journal: "Captain
                          “Captain Lewis took his
                                   Lewis took his Air
                                                  Air Gun
                                                      Gun and
                                                          and shot
                                                              shot her
                                                                   her off,
                                                                       off, and
                                                                            and by
                                                                                by the
                                                                                   the Interpreter,
                                                                                       Interpreter,
 told them
 told them that
           that there
                there was
                      was medicine
                          medicine in her, and
                                   in her, and that
                                               that she
                                                    she could
                                                        could do very great
                                                              do very great execution.” “They all
                                                                            execution." "They all
 stood amazed
 stood amazed at
              at this curiosity.”70 Eight
                 this curiosity."70       decades after
                                    Eight decades after John Pimm’s repeating
                                                        John Pimm's repeating firearm
                                                                              firearm had
                                                                                      had been
                                                                                          been used
                                                                                               used
 to impress
 to impress Native
            Native Americans
                   Americans in
                             in Boston,
                                Boston, Lewis and Clark—like
                                        Lewis and Clark—like the
                                                             the showman
                                                                 showman Philadelphia
                                                                         Philadelphia Gardiner
                                                                                      Gardiner
 Baker—were still
 Baker—were still able
                  able to
                       to exploit
                          exploit the
                                  the rarity
                                      rarity of
                                             of aa repeating gun to
                                                   repeating gun to awe
                                                                    awe and
                                                                        and entertain.
                                                                            entertain.
         40.
         40.     It is possible
                 It is possible that
                                that someone
                                     someone in
                                             in the
                                                the United
                                                    United States may have
                                                           States may have been
                                                                           been marketing
                                                                                marketing Girardoni
                                                                                          Girardoni

 air rifles
 air rifles or
            or something
               something very
                         very similar
                              similar to
                                      to them
                                         them in
                                              in the
                                                 the mid-1790s.
                                                     mid-1790s. An
                                                                An announcement
                                                                   announcement for
                                                                                for aa public
                                                                                       public



         66
         66 Quoted in
            Quoted  in Frederick
                       Frederick J.  Chiaventone, "The
                                  J. Chiaventone,     “The Girardoni
                                                            Girardoni Air
                                                                       Air Rifle:
                                                                           Rifle: The
                                                                                  The Lewis  and Clark
                                                                                      Lewis and   Clark
 Expedition’s
 Expedition's Secret   Weapon” Military
                Secret Weapon"    Military Heritage
                                            Heritage Vol.
                                                        Vol. 14
                                                              14 No.
                                                                 No. 55 (January  2015), 19.
                                                                        (January 2015),  19.
         67
            Richard Bassett,
         67 Richard  Bassett, For
                              For God    and Kaiser:
                                   God and    Kaiser: The    Imperial Austrian
                                                        The Imperial  Austrian Army
                                                                                Army (New
                                                                                      (New Haven:
                                                                                             Haven: Yale
                                                                                                     Yale
 University Press,
 University  Press, 2015),
                    2015), 186.
                            186.
         68
            Chiaventone, "Girardoni
         68 Chiaventone,   “Girardoni Air
                                        Air Rifle,"
                                            Rifle,” 19.
                                                     19.
         69
            For the
         69 For the identification
                    identification of
                                   of the
                                       the air
                                           air rifle
                                               rifle on
                                                     on the
                                                        the Lewis  and Clark
                                                            Lewis and   Clark Expedition  as aa Girardoni
                                                                              Expedition as     Girardoni
 see Madeline
 see  Madeline Hiltz,
                Hiltz, "The
                       “The Lewis    and Clark
                             Lewis and   Clark Air
                                                 Air Rifle:
                                                      Rifle: A
                                                             A Blast
                                                               Blast from  the Past"
                                                                     from the  Past” War  History on
                                                                                     War History   on Line
                                                                                                      Line
 (June 16,
 (June  16, 2021) https://warhistoryonline.com/war-articles/lewis-and-clark-air-
            2021) https://warhistoryonline.com/war-articles/lewis-and-clark-air-
 rifle.html?firefox=1 <Accessed
 rifle.html?firefox=1   <Accessed online
                                    online 1/21/2023,
                                            1/21/2023, 8:00AM>
                                                         8:00AM>
         70
            Chiaventone, "Girardoni
         70 Chiaventone,   “Girardoni Air
                                        Air Rifle,"
                                            Rifle,” 66.
                                                     66.


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  auction in
  auction in the
             the issue of the
                 issue of the Boston
                              Boston Columbian
                                     Columbian Centinel
                                               Centinel for March 7,
                                                        for March    1795 listed
                                                                  7, 1795 listed among
                                                                                 among the
                                                                                       the items to
                                                                                           items to
  be sold
  be sold "a
          “a Magazine
             Magazine Air-Gun,
                      Air-Gun, equipped for hunting,
                               equipped for hunting, and
                                                     and will
                                                         will carry
                                                              carry ball
                                                                    ball or
                                                                         or shot."
                                                                            shot.” This
                                                                                   This air
                                                                                        air gun
                                                                                            gun
  appears to
  appears to be
             be aa repeating
                   repeating gun because of
                             gun because of its
                                            its reference to aa "Magazine."
                                                reference to    “Magazine.” However,
                                                                            However, one
                                                                                     one should
                                                                                         should not
                                                                                                not
  automatically assume
  automatically assume that
                       that all
                            all early air guns
                                early air      were repeaters.
                                          guns were            Air rifles
                                                    repeaters. Air        made by
                                                                   rifles made by Isaiah
                                                                                  Isaiah Lukens
                                                                                         Lukens
  (1779-1846) of
  (1779-1846) of Pennsylvania
                 Pennsylvania were
                              were single
                                   single shot
                                          shot air
                                               air guns,
                                                   guns, though
                                                         though some
                                                                some writers
                                                                     writers erroneously assume
                                                                             erroneously assume
  that they
  that they were
            were repeaters
                 repeaters like
                           like Girardoni's
                                Girardoni’s air rifle.71 It
                                            air rifle.71    wasn’t until
                                                         It wasn't until the
                                                                         the 1880s
                                                                             1880s that
                                                                                   that two
                                                                                        two Michigan
                                                                                            Michigan
  companies—the most
  companies—the most famous
                     famous of
                            of which
                               which was
                                     was the
                                         the Daisy
                                             Daisy Manufacturing
                                                   Manufacturing Company—would
                                                                 Company—would begin
                                                                               begin
  marketing the
  marketing the first
                first commercially
                      commercially successful,
                                   successful, mass-produced
                                               mass-produced repeating air rifles,
                                                             repeating air         aiming them
                                                                           rifles, aiming them at
                                                                                               at aa
  youth market,
  youth market, employing
                employing aa lever-action operating system,
                             lever-action operating system, and
                                                            and shooting
                                                                shooting BB-caliber
                                                                         BB-caliber pellets.
                                                                                    pellets.
          41.
          41.     Two more references
                  Two more references to
                                      to what
                                         what appear
                                              appear to
                                                     to be
                                                        be repeating firearms were
                                                           repeating firearms were discovered
                                                                                   discovered in
                                                                                              in
  eighteenth-century newspapers.
  eighteenth-century newspapers. One
                                 One from the August
                                     from the August 19,
                                                     19, 1793
                                                         1793 issue of the
                                                              issue of the Concord,
                                                                           Concord, New
                                                                                    New
  Hampshire Mirrour
  Hampshire Mirrour contains
                    contains aa vague
                                vague report
                                      report of
                                             of aa repeating weapon supposedly
                                                   repeating weapon supposedly designed
                                                                               designed by
                                                                                        by an
                                                                                           an
  “Artist in
  "Artist    Virginia”. However,
          in Virginia". However, this
                                 this particular
                                      particular news
                                                 news report has been
                                                      report has been dismissed
                                                                      dismissed as    fabrication.72
                                                                                as aa fabrication.'
  The other reference
  The other reference to
                      to what
                         what does
                              does appear
                                   appear to
                                          to be
                                             be an
                                                an identifiable
                                                   identifiable type
                                                                type of
                                                                     of repeating
                                                                        repeating firearm
                                                                                  firearm was
                                                                                          was
  contained in
  contained in aa large
                  large advertisement
                        advertisement in the October
                                      in the October 26,
                                                     26, 1785
                                                         1785 issue of the
                                                              issue of the Columbian Herald in
                                                                           Columbian Herald in
  Charleston, South
  Charleston,       Carolina. It
              South Carolina.    was placed
                              It was placed by
                                            by James
                                               James Lambet Ransier, aa native
                                                     Lambet Ransier,    native of
                                                                               of Liege, which
                                                                                  Liege, which
  was aa center
  was           of small
         center of small arms
                         arms manufacturing
                              manufacturing in
                                            in the
                                               the Low Countries. Ransier
                                                   Low Countries. Ransier announced
                                                                          announced that
                                                                                    that he
                                                                                         he had
                                                                                            had
  “a beautiful
  "a beautiful and
               and complete
                   complete assortment
                            assortment of
                                       of Firearms"
                                          Firearms” and
                                                    and in particular, he
                                                        in particular, he could
                                                                          could furnish
                                                                                furnish guns “that
                                                                                        guns "that
  will fire
  will fire four
            four different
                 different times,
                           times, with
                                  with only
                                       only charging
                                            charging once;
                                                     once; or,
                                                           or, if the person
                                                               if the person pleases,
                                                                             pleases, he
                                                                                      he may
                                                                                         may fire
                                                                                             fire four
                                                                                                  four
  different times
  different times one
                  one after
                      after another,
                            another, with
                                     with only
                                          only one
                                               one single
                                                   single lock."
                                                          lock.”
          42.
          42.     Ransier appears
                  Ransier appears to
                                  to be
                                     be describing
                                        describing imported
                                                   imported Belgian
                                                            Belgian or
                                                                    or French-made
                                                                       French-made Segales pistols
                                                                                   Segales pistols
  which had
  which had four rifled barrels.
            four rifled barrels. These were small
                                 These were small pistols
                                                  pistols that
                                                          that had
                                                               had aa box
                                                                      box lock and aa swiveling
                                                                          lock and    swiveling

          71
          71 Nancy McClure,
             Nancy   McClure, "Treasures
                               “Treasures from  Our West:
                                           from Our  West: Lukens   Air Rifle"
                                                            Lukens Air   Rifle” August
                                                                                  August 3,   2014,
                                                                                           3, 2014,
  Buffalo Bill
  Buffalo  Bill Center
                Center of
                        of the
                           the West.
                               West. <Accessed
                                     <Accessed online
                                                online on
                                                       on 10/31/2022,
                                                           10/31/2022, atat 10:40
                                                                            10:40 A.M>
                                                                                     A.M> OnOn November
                                                                                                November
  2, 2022,
  2, 2022, II received
              received an
                       an email from Danny
                          email from  Danny Michael,
                                              Michael, Curator
                                                       Curator of
                                                               of the
                                                                  the Cody
                                                                       Cody Firearms
                                                                               Firearms Museum
                                                                                          Museum at at the
                                                                                                       the
  Buffalo Bill
  Buffalo  Bill Center
                Center of
                        of the
                           the West,
                               West, confirming that their
                                     confirming that their Lukens  air rifle
                                                           Lukens air  rifle is
                                                                             is aa single
                                                                                   single shot
                                                                                          shot weapon.
                                                                                               weapon.
         72
            Many aspects
         72 Many    aspects of
                             of the
                                the news
                                    news report   in the
                                           report in the Mirrour
                                                         Mirrour raise
                                                                   raise fundamental
                                                                          fundamental questions     about its
                                                                                         questions about  its
  believability, as does
  believability, as does the
                          the fact
                              fact that
                                   that it was immediately
                                        it was immediately followed
                                                              followed by by aa news
                                                                                news report
                                                                                      report on
                                                                                             on aa Sea
                                                                                                   Sea
  Monster. An
  Monster.   An intensive   search of
                 intensive search   of Virginia
                                       Virginia newspapers
                                                 newspapers in in America's
                                                                  America’s Historical
                                                                                Historical Newspapers
                                                                                           Newspapers failed
                                                                                                        failed
  to uncover
  to uncover the
              the supposed
                   supposed origin
                              origin of
                                     of the
                                        the news
                                             news report.  Because it
                                                   report. Because    it could
                                                                         could not
                                                                                not be
                                                                                    be confirmed
                                                                                        confirmed and
                                                                                                    and
  because of
  because of its
              its lack of detail
                  lack of detail and
                                 and credibility,  the report
                                      credibility, the        was dismissed.
                                                       report was   dismissed.


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  breech attached
  breech attached to
                  to aa cluster
                        cluster of
                                of four
                                   four separate
                                        separate barrels:
                                                 barrels: two
                                                          two upper
                                                              upper barrels
                                                                    barrels placed
                                                                            placed on
                                                                                   on top
                                                                                      top of
                                                                                          of two
                                                                                             two lower
                                                                                                 lower
  barrels. The
  barrels.     box lock
           The box      had two
                   lock had two triggers
                                triggers and
                                         and two
                                             two hammers
                                                 hammers holding
                                                         holding two
                                                                 two flints,
                                                                     flints, while
                                                                             while the
                                                                                   the swiveling
                                                                                       swiveling
  or rotating
  or rotating breech
              breech had
                     had four
                         four frizzens that were
                              frizzens that were attached
                                                 attached to
                                                          to the
                                                             the barrels.
                                                                 barrels. Each barrel was
                                                                          Each barrel was loaded
                                                                                          loaded
  separately at
  separately at the
                the muzzle
                    muzzle with
                           with powder
                                powder and
                                       and ball.
                                           ball. The two upper
                                                 The two upper barrels
                                                               barrels could be fired
                                                                       could be       one at
                                                                                fired one at aa
  time by
  time by pulling
          pulling each
                  each of
                       of the
                          the individual
                              individual triggers
                                         triggers in
                                                  in succession
                                                     succession or
                                                                or fired simultaneously by
                                                                   fired simultaneously by pulling
                                                                                           pulling
  both triggers
  both triggers at
                at once
                   once (which
                        (which could be risky).
                               could be         After discharging
                                        risky). After discharging the
                                                                  the two
                                                                      two upper
                                                                          upper barrels,
                                                                                barrels, the
                                                                                         the shooter
                                                                                             shooter
  then swiveled
  then swiveled the
                the rotating
                    rotating breech
                             breech and
                                    and the
                                        the cluster
                                            cluster of
                                                    of four barrels by
                                                       four barrels by pulling
                                                                       pulling on
                                                                               on the
                                                                                  the pistol's
                                                                                      pistol’s trigger
                                                                                               trigger
  guard. Once
  guard. Once rotated
              rotated to
                      to the
                         the upper position, the
                             upper position, the two
                                                 two barrels
                                                     barrels formerly in the
                                                             formerly in the lower
                                                                             lower position
                                                                                   position could
                                                                                            could
  now be
  now be fired when the
         fired when the triggers
                        triggers were
                                 were pulled
                                      pulled individually or simultaneously.
                                             individually or simultaneously. However,
                                                                             However, as
                                                                                      as experts
                                                                                         experts
  have pointed
  have pointed out:
               out: "All
                    “All revolvers,
                         revolvers, and
                                    and other
                                        other multibarrel
                                              multibarrel guns,
                                                          guns, of
                                                                of the
                                                                   the muzzle-loading
                                                                       muzzle-loading type
                                                                                      type were
                                                                                           were at
                                                                                                at
  risk from
  risk from aa dangerous
               dangerous chain
                         chain reaction,
                               reaction, in which firing
                                         in which        one chamber
                                                  firing one chamber could accidently set
                                                                     could accidently set off
                                                                                          off all
                                                                                              all the
                                                                                                  the
  others.”73 If
  others."73    this happened,
             If this happened, the
                               the gun
                                   gun would
                                       would explode in the
                                             explode in the shooter's
                                                            shooter’s hand.
                                                                      hand.
         43.
         43.     Finally, something
                 Finally, something needs
                                    needs to
                                          to be
                                             be said
                                                said about
                                                     about aa gun
                                                              gun which—ironically—was
                                                                  which—ironically—was never
                                                                                       never
  found in
  found in the
           the 13
               13 Colonies,
                  Colonies, but
                            but has
                                has assumed
                                    assumed an
                                            an out-sized
                                               out-sized importance
                                                         importance in
                                                                    in the
                                                                       the minds
                                                                           minds of
                                                                                 of some
                                                                                    some writing
                                                                                         writing
  about colonial
  about colonial Americans
                 Americans and
                           and their
                               their presumed
                                     presumed interest
                                              interest in and familiarity
                                                       in and             with repeating
                                                              familiarity with repeating
            74
  firearms.
  firearms.74  In the early
               In the early 1700s,
                            1700s, James Puckle, an
                                   James Puckle, an English
                                                    English lawyer, writer, and
                                                            lawyer, writer, and part-time
                                                                                part-time inventor
                                                                                          inventor
  created aa firearm
  created    firearm fed by aa 11-shot
                     fed by    11-shot magazine
                                       magazine located
                                                located at
                                                        at the
                                                           the back
                                                               back of
                                                                    of the
                                                                       the gun that was
                                                                           gun that was rotated
                                                                                        rotated by
                                                                                                by aa
  crank. Rotating
  crank. Rotating the
                  the crank
                      crank aligned
                            aligned aa power
                                       power charge
                                             charge and
                                                    and bullet
                                                        bullet in
                                                               in the
                                                                  the magazine
                                                                      magazine with
                                                                               with the
                                                                                    the weapon's
                                                                                        weapon’s
  barrel. After
  barrel. After locking the magazine
                locking the magazine and
                                     and the
                                         the barrel
                                             barrel together,
                                                    together, the
                                                              the operator
                                                                  operator had
                                                                           had to
                                                                               to manually
                                                                                  manually prime
                                                                                           prime
  each shot
  each shot and
            and pull
                pull back
                     back the
                          the cock
                              cock before
                                   before pulling
                                          pulling the
                                                  the trigger
                                                      trigger for
                                                              for each discharge of
                                                                  each discharge of the
                                                                                    the weapon.
                                                                                        weapon.
  Because of
  Because of the
             the time
                 time needed
                      needed to
                             to prime
                                prime and
                                      and cock
                                          cock the
                                               the hammer
                                                   hammer before
                                                          before each
                                                                 each shot
                                                                      shot and
                                                                           and to
                                                                               to change
                                                                                  change the
                                                                                         the
  magazine after
  magazine after it was emptied,
                 it was          the gun
                        emptied, the gun had
                                         had aa rate
                                                rate of
                                                     of fire
                                                        fire of
                                                             of only
                                                                only 99 rounds
                                                                        rounds per
                                                                               per minute.
                                                                                   minute. It was
                                                                                           It was




         73
         73  Rimer, Smithsonian's
             Rimer, Smithsonian’s Firearms,
                                   Firearms, 56.
                                             56.
         74
         74  Clayton E.
             Clayton E. Cramer
                        Cramer and
                                and Joseph
                                    Joseph Edward   Olson, "Pistols,
                                           Edward Olson,   “Pistols, Crime,
                                                                     Crime, and
                                                                            and Public
                                                                                Public Safety
                                                                                       Safety in
                                                                                              in
  Early America” Willamette
  Early America"               Law Review
                   Willamette Law  Review Vol.
                                           Vol. 44.
                                                44. No.
                                                    No. 4
                                                        4 (Summer
                                                          (Summer 2008),
                                                                     2008), 716-717; David B.
                                                                            716-717; David B.
  Kopel, "The
  Kopel, “The History
                History of
                        of Firearm
                           Firearm Magazines
                                   Magazines and
                                              and Magazine
                                                  Magazine Prohibitions"
                                                             Prohibitions” Albany
                                                                            Albany Law
                                                                                   Law Review
                                                                                        Review Vol.
                                                                                                Vol.
  78, No. 22 (2014-2015),
  78, No.    (2014-2015), 852.
                           852.


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  never used
  never used in
             in battle.
                battle. The company producing
                        The company producing it went out
                                              it went out of
                                                          of business
                                                             business before
                                                                      before 1730.
                                                                             1730. This
                                                                                   This gun
                                                                                        gun had
                                                                                            had
  no discernable
  no discernable impact
                 impact on
                        on colonial
                           colonial Americans
                                    Americans nor
                                              nor on
                                                  on the
                                                     the development
                                                         development of
                                                                     of firearms technology.75
                                                                        firearms technology.75
          44.
          44.      However, the
                   However, the Puckle
                                Puckle gun
                                       gun lives
                                           lives on
                                                 on in the imaginations
                                                    in the                 some.76 Because
                                                                        of some.76
                                                           imaginations of         Because of
                                                                                           of its
                                                                                              its
  weight, the
  weight, the Puckle
              Puckle gun
                     gun used
                         used aa tripod.
                                 tripod. Visually
                                         Visually the
                                                  the weapon
                                                      weapon bears
                                                             bears an
                                                                   an undeniable
                                                                      undeniable physical
                                                                                 physical
  resemblance to
  resemblance to certain
                 certain .30
                         .30 caliber machine guns
                             caliber machine guns used in World
                                                  used in World War
                                                                War II. As aa result,
                                                                    II. As            some refer
                                                                              result, some       to
                                                                                           refer to
  it today
  it today as
           as "an
              “an eighteenth-century machine gun."
                  eighteenth-century machine gun.” It was not
                                                   It was not aa machine
                                                                 machine gun as we
                                                                         gun as we understand
                                                                                   understand and
                                                                                              and
  use the
  use the term
          term today,
               today, in
                      in either
                         either its mode of
                                its mode of operation
                                            operation or
                                                      or its
                                                         its rate of fire.
                                                             rate of fire. The machine gun,
                                                                           The machine gun, invented
                                                                                            invented
  by Hiram
  by Hiram Maxim
           Maxim in 1884, used
                 in 1884, used the
                               the recoil action of
                                   recoil action of the
                                                    the gun to load
                                                        gun to      it continuously
                                                               load it              and discharge
                                                                       continuously and discharge
  spent cartridges.
  spent cartridges. Just pull the
                    Just pull the trigger
                                  trigger and
                                          and it
                                              it kept
                                                 kept firing
                                                      firing bullets
                                                             bullets as
                                                                     as long as the
                                                                        long as the operator's
                                                                                    operator’s assistant
                                                                                               assistant
  kept feeding
  kept feeding it an ammo
               it an ammo belt.
                          belt. Another
                                Another less
                                        less common version of
                                             common version of the
                                                               the machine
                                                                   machine gun
                                                                           gun diverted
                                                                               diverted some
                                                                                        some
  of the
  of the gasses
         gasses produced
                produced by
                         by discharging
                            discharging the
                                        the weapon
                                            weapon into
                                                   into aa tube
                                                           tube with
                                                                with aa piston
                                                                        piston that
                                                                               that automatically
                                                                                    automatically
  and repeatedly
  and repeatedly loaded the gun
                 loaded the gun and
                                and ejected
                                    ejected spent
                                            spent cartridges. (A modern
                                                  cartridges. (A modern assault
                                                                        assault rifle
                                                                                rifle uses
                                                                                      uses aa
  similar system
  similar system that
                 that also
                      also employs diverted gasses
                           employs diverted gasses to
                                                   to operate
                                                      operate aa piston.)
                                                                 piston.) The
                                                                          The .30
                                                                              .30 caliber medium
                                                                                  caliber medium
  machine gun
  machine gun used
              used by
                   by the
                      the American
                          American army
                                   army during
                                        during World
                                               World War
                                                     War II
                                                         II fired approximately 500
                                                            fired approximately     rounds aa
                                                                                500 rounds
  minute. The
  minute. The only
              only thing
                   thing this
                         this weapon
                              weapon had
                                     had in
                                         in common
                                            common with
                                                   with the
                                                        the eighteenth-century
                                                            eighteenth-century Puckle
                                                                               Puckle Gun
                                                                                      Gun was
                                                                                          was
  its use
  its use of
          of aa tripod.
                tripod.
          45.
          45.      In summary, period
                   In summary, period probate
                                      probate inventories and newspapers
                                              inventories and newspapers indicate that repeating
                                                                         indicate that repeating
  firearms were extraordinarily
  firearms were extraordinarily rare
                                rare in
                                     in eighteenth-century America. Like
                                        eighteenth-century America. Like muskets,
                                                                         muskets, repeaters
                                                                                  repeaters were
                                                                                            were
  regarded as
  regarded as military
              military firearms.
                       firearms. In 1777, the
                                 In 1777, the Continental
                                              Continental Congress
                                                          Congress demonstrated an interest
                                                                   demonstrated an interest in
                                                                                            in
  Joseph Belton’s firearm,
  Joseph Belton's          and in
                  firearm, and in 1813
                                  1813 the
                                       the United
                                           United States Navy purchased
                                                  States Navy purchased 200
                                                                        200 muskets
                                                                            muskets and
                                                                                    and 100
                                                                                        100
  pistols produced
  pistols produced by
                   by Joseph Gaston Chambers.
                      Joseph Gaston Chambers. However,
                                              However, such
                                                       such superposed
                                                            superposed systems
                                                                       systems were
                                                                               were in the
                                                                                    in the
                                                                              77
  assessment of
  assessment of military
                military historian
                         historian Joseph G. Bilby
                                   Joseph G. Bilby "a
                                                   “a developmental
                                                      developmental dead
                                                                    dead end.”
                                                                         end."77 Well into
                                                                                 Well into the
                                                                                           the
  third-quarter of
  third-quarter of the
                   the nineteenth
                       nineteenth century,
                                  century, the
                                           the American
                                               American government armed the
                                                        government armed the overwhelming
                                                                             overwhelming



          75
          75Brown, Firearms
            Brown,  Firearms in
                              in Colonial  America, 239.
                                 Colonial America,          Brown appears
                                                      239. Brown  appears to
                                                                          to misstate
                                                                             misstate the
                                                                                      the capacity of
                                                                                          capacity of
  the magazine
  the magazine as
                as 9-shot, when it
                   9-shot, when     was actually
                                 it was actually aa 11-shot
                                                    11-shot magazine.
                                                            magazine.
         76
         76 See note 74
            See note 74 above.
                        above.
          77
          Joseph  G. Bilby,
           Joseph G.
          77         Bilby, A
                            A Revolution
                              Revolution in Arms: History
                                         in Arms: History of
                                                          of the First Repeating
                                                             the First Repeating Rifles
                                                                                 Rifles (Yardly,
                                                                                        (Yardly,
  Penn.: Westholme
  Penn.: Westholme Publishing,
                   Publishing, 2015),
                               2015), 41.
                                      41.


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                            KEVIN M. SWEENEY
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  majority of
  majority of its
              its soldiers
                  soldiers with
                           with muzzle-loading
                                muzzle-loading single-shot
                                               single-shot long arms. Even
                                                           long arms.      during the
                                                                      Even during the Civil
                                                                                      Civil War,
                                                                                            War,
  the Union
  the Union army
            army made
                 made only
                      only limited use of
                           limited use of the
                                          the much
                                              much more
                                                   more reliable
                                                        reliable repeating long arms
                                                                 repeating long arms made
                                                                                     made by
                                                                                          by
  Samuel Colt, the
  Samuel Colt, the Spencer Arms Company,
                   Spencer Arms Company, and
                                         and the
                                             the New
                                                 New Haven
                                                     Haven Arms
                                                           Arms Company,
                                                                Company, which
                                                                         which was
                                                                               was
  owned by
  owned by Oliver
           Oliver Winchester
                  Winchester and
                             and produced
                                 produced aa repeater designed by
                                             repeater designed by Benjamin Henry.78
                                                                  Benjamin Henry.78
         46.
         46.       The
                   The earlier
                       earlier lack of enthusiasm
                               lack of enthusiasm for repeating firearms
                                                  for repeating          among eighteenth-century
                                                                firearms among eighteenth-century
  Americans is
  Americans is unsurprising given the
               unsurprising given the colonists'
                                      colonists’ demonstrated
                                                 demonstrated preferences
                                                              preferences for
                                                                          for inexpensive,
                                                                              inexpensive, light
                                                                                           light
  firearms that used
  firearms that used less
                     less gunpowder
                          gunpowder and
                                    and lead than did
                                        lead than did muskets.
                                                      muskets. By
                                                               By contrast,
                                                                  contrast, most
                                                                            most of
                                                                                 of the
                                                                                    the period's
                                                                                        period’s
  repeating arms
  repeating arms were
                 were expensive,
                      expensive, heavy, and required
                                 heavy, and required greater
                                                     greater expenditures—that were often
                                                             expenditures—that were often
  uncontrollable—of gunpowder
  uncontrollable—of gunpowder and
                              and lead. Because repeating
                                  lead. Because repeating firearms
                                                          firearms contained multiple charges
                                                                   contained multiple charges
  of explosive
  of explosive black
               black powder
                     powder gunpowder,
                            gunpowder, they
                                       they were
                                            were also
                                                 also more
                                                      more dangerous than aa gun
                                                           dangerous than    gun using
                                                                                 using aa smaller
                                                                                          smaller
  charge of
  charge of gunpowder
            gunpowder and
                      and aa single
                             single projectile.
                                    projectile. Some of these
                                                Some of these repeating
                                                              repeating firearms
                                                                        firearms had
                                                                                 had the
                                                                                     the potential
                                                                                         potential
  to turn
  to turn into
          into aa Roman
                  Roman candle
                        candle or
                               or aa pipe
                                     pipe bomb.
                                          bomb. As
                                                As Harold
                                                   Harold Peterson
                                                          Peterson has
                                                                   has observed
                                                                       observed "As
                                                                                “As long as the
                                                                                    long as the
  powder and
  powder and ball
             ball had to be
                  had to be loaded separately there
                            loaded separately there was
                                                    was no
                                                        no hope
                                                           hope for
                                                                for aa simple
                                                                       simple and
                                                                              and safe
                                                                                  safe magazine
                                                                                       magazine
  repeater.”79 For
  repeater."79 For these
                   these reasons,
                         reasons, eighteenth-century
                                  eighteenth-century advertisements
                                                     advertisements and
                                                                    and homes
                                                                        homes were
                                                                              were filled
                                                                                   filled with
                                                                                          with
  muzzle-loading, single
  muzzle-loading, single shot
                         shot firearms.
                              firearms.
         47.
         47.       The
                   The fact that some
                       fact that some repeating
                                      repeating firearms
                                                firearms had been produced
                                                         had been produced in
                                                                           in Europe
                                                                              Europe for four
                                                                                     for four
  centuries by
  centuries by 1800
               1800 does
                    does not
                         not necessarily
                             necessarily support
                                         support the
                                                 the conclusion
                                                     conclusion that
                                                                that Americans
                                                                     Americans in
                                                                               in the
                                                                                  the late
                                                                                      late 1700s
                                                                                           1700s
  would have
  would have assumed
             assumed that
                     that such
                          such weapons
                               weapons would
                                       would inevitably
                                             inevitably become
                                                        become reliable,
                                                               reliable, safe,
                                                                         safe, and
                                                                               and widely
                                                                                   widely
  available. An
  available. An individual
                individual looking back from
                           looking back from 1800
                                             1800 might
                                                  might have
                                                        have been
                                                             been just
                                                                  just as
                                                                       as likely
                                                                          likely to
                                                                                 to conclude
                                                                                    conclude that
                                                                                             that
  very little
  very        progress had
       little progress had been
                           been made
                                made over
                                     over the
                                          the previous
                                              previous four centuries. It
                                                       four centuries.    was still
                                                                       It was still not
                                                                                    not possible
                                                                                        possible to
                                                                                                 to
  manufacture with
  manufacture with precision
                   precision and
                             and in
                                 in any
                                    any quantity
                                        quantity firearms with closely
                                                 firearms with closely fitting
                                                                       fitting parts
                                                                               parts that
                                                                                     that could
                                                                                          could
  contain the
  contain the destructive
              destructive explosive
                          explosive potential
                                    potential associated
                                              associated with
                                                         with the
                                                              the use
                                                                  use of
                                                                      of black
                                                                         black powder
                                                                               powder gunpowder.
                                                                                      gunpowder.
  The superposed systems
  The superposed systems employed by Belton
                         employed by Belton and
                                            and Chambers,
                                                Chambers, the
                                                          the Girardoni
                                                              Girardoni air
                                                                        air rifle,
                                                                            rifle, and
                                                                                   and the
                                                                                       the
  Puckle Gun
  Puckle     proved to
         Gun proved to be
                       be dead ends. Calling
                          dead ends. Calling these
                                             these weapons
                                                   weapons and
                                                           and others
                                                               others like
                                                                      like them
                                                                           them "eighteenth-
                                                                                “eighteenth-
  century assault
  century assault rifles” or "an
                  rifles" or “an eighteenth-century
                                 eighteenth-century machine
                                                    machine gun"
                                                            gun” are
                                                                 are examples of modern-day
                                                                     examples of modern-day


         78
         78   Bilby, Revolution
              Bilby, Revolution in Arms, 44-48,
                                in Arms, 44-48, 60-91.
                                                60-91.
         79
         79   Peterson, Treasury
              Peterson,          of the
                        Treasury of the Gun, 233.
                                        Gun, 233.


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  Page 26    DECLARATION OF
                         OF KEVIN M. SWEENEY
                            KEVIN M. SWEENEY
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     rhetoric, not evidence of inevitable developments in firearms technology. As George Basalla, an

     historian of technology, has cautioned: "All too often it is assumed that the development of

     technology is rigidly unilinear."80
            I hereby declare that the above statement is true to the best of my knowledge and belief,

     and that I understand it is made for use as evidence in court and is subject to penalty for perjury.

            Dated this      day of February, 2023.



                                                   7   - --     r
                                                   Kevin M. Sweeney




            80 George Basalla, The Evolution of Technology (New York: Cambridge University Press,
     1988), 189.


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                                                                                                       1

 Curriculum Vitae: Kevin M. Sweeney


 Home Address: 9 Orchard Street,
               Greenfield, MA 01301


 Home Phone:     (413) 774-5027
 E-mail:         kmsweeney@amherst.edu


 Education: Ph.D. in History 1986, Yale University.
            B.A. in History 1972, Williams College.


 Employment:

 2000-2016   Professor of History and American Studies, Amherst College.
 1993-2000   Associate Professor of History and American Studies, Amherst College.
 1989-1993   Assistant Professor of History and American Studies, Amherst College.
 1986-1989   Director of Academic Programs, Historic Deerfield, Deerfield, Mass.
 1985-1986   Assistant Professor, Winterthur Museum, Winterthur, Delaware.
 1980-1984   Administrator-Curator, Webb-Deane-Stevens Museum, Wethersfield, Conn.
 1978-1980   History Instructor, Westover School, Middlebury, Conn.


 Other Academic Appointments:

 2007      Visiting Faculty, American Studies Seminar, American Antiquarian Society, Worcester,
             Mass.
 1987-1989 Assistant Professor of American Studies at Smith College under the Five
            College Program.
 1985-1986 Adjunct Assistant Professor, Early American Culture, University of
            Delaware.
 1982-1984 Visiting Lecturer in American Studies, Trinity College, Hartford, Conn..
 1981      Adjunct, Art History Department, University of Hartford.


 Declarations Filed as an Expert Witness:

 2022          Hanson v. District of Columbia, Case No. 1:22-cv-02256-RC.
 2023          Delaware State Sportsmen’s Assoc., Inc. v. Delaware Dept. of Safety and Homeland
               Security, United States District Court, District of Delaware, Case No. 1:22-cv-00951-RGA.


 Academic Honors and Prizes:

 2003 Book Prize, New England Historical Association.
 2003 Award of Merit, American Association for State and Local History.
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                                                                                                         2

 1995 Harold L. Peterson Award, Eastern National Parks & Monuments Association.
 1986 Jamestown Prize of the Institute of Early American History and Culture,
       Williamsburg, VA.
 1986 Frederick W. Beinecke Prize in History, Yale University.
 1973 Mary Cady Tew Prize in History, Yale University.
 1972 William Bradford Turner Prize in American History, Williams College.
 1971 Phi Beta Kappa, Williams College.

 Publications:

        Books

 With Evan Haefeli, co-editors, Captive Histories: English, French and Native Narratives
  of the 1704 Deerfield Raid (Amherst, Mass.: University of Massachusetts Press, 2006).

 With Evan Haefeli, Captors and Captives: The 1704 French and Indian Raid on
  Deerfield (Amherst, Mass.: University of Massachusetts Press, 2003). Awarded 2003 Book Prize, New
  England Historical Association and 2003 Award of Merit, American Association for State and Local
  History.


        Articles/Book Chapters/Catalogue Essays

 “Revolutionary State Militias in the Backcountry and Along the Frontiers,” The American Revolution on
   the Frontier, edited by Seanegan Sculley, Sons of the American Revolution 2022 Conference
   Proceedings, (publication forthcoming).

 “Firearms Ownership and Militias in Seventeenth- and Eighteenth-Century England and America” in
   Jennifer Tucker, Barton C. Hacker, and Margaret Vining, editors A Right to Bear Arms? The Contested
   Role of History in Contemporary Debates on the Second Amendment (Washington, D.C.: Smithsonian
   Scholarly Press, 2019), 54-71.

 “Firearms, Militias, and the Second Amendment” in Saul Cornell and Nathan Kozuskanich, editors, The
   Second Amendment on Trial: Critical Essays on District of Columbia v. Heller (Amherst: University of
   Massachusetts Press, forthcoming August 2013), 310-382.

 “Mary Rowlandson: Taken by Indians,” American Heritage 58:5 (Fall 2008): 23-25.

 “Early American Religious Traditions: Native Visions and Christian Providence,” OAH Magazine of
   History (January 2008):8-13.

 With Jessica Neuwirth, Robert Paynter, Braden Paynter and Abbott Lowell Cummings, “Abbott Lowell
  Cummings and the Preservation of New England,” The Public Historian 29:4 (Fall 2007):57-81.

 With Evan Haefeli, “The Redeemed Captive as Recurrent Political Text” The New England
  Quarterly (September 2004):341-367.

 “The 1704 French and Indian Raid on Deerfield” New England Ancestors 5:1 (Winter 2004): 23-26.


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                                                                                                             3

"Regions and the Study of Material Culture: Explorations along the Connecticut River" for American
  Furniture, Luke Beckerdite, editor (Milwaukee, Wis.: Chipstone Foundation/ the University Press of
  New England, 1995), 145-166.

With Evan Haefeli, "Revisiting The Redeemed Captive: New Perspectives on the 1704
 Attack on Deerfield" William and Mary Quarterly 3rd ser. 52:1(January 1995):3-46. Awarded the 1995
 Harold L. Peterson Award, Eastern National Parks & Monument Association, and the 1995 Essay
 Prize, Society of Colonial Wars.

With Evan Haefeli, "Wattanummon's World: Personal and Tribal Identity in the Algonquian Diaspora, c.
 1660-1712" in William Cowan, ed., Papers of the Twenty Fifth Algonquian Conference (Ottawa,
  1994), 212-224.

"High Style Vernacular: Lifestyles of the Colonial Elite " in Of Consuming Interests: The Style of Life in
  Eighteenth-Century America, edited by Ronald Hoffman, Cary Carson, and Peter J. Albert
  (Charlottesville: University of Virginia Press, 1994),1-58. Volume awarded the Harold Hugo
  Memorial Book Prize, Old Sturbridge Village, 1995.

"Meetinghouses, Town Houses, and Churches: Changing Perceptions of Sacred and Secular Space in
  Southern New England, 1725-1850" Winterthur Portfolio 28:1 (Winter 1994):59-93.

"Using Tax Lists to Detect Biases in Probate Inventories," Early American Probate Inventories: Dublin
  Seminar for New England Folklife Annual Proceedings 1987, Peter Benes, ed. (Boston: Boston
  University Press, 1989), 32-40.

"Gentlemen Farmers and Inland Merchants: The Williams Family and Commercial Agriculture in Pre-
  Revolutionary Western Massachusetts," Dublin Seminar for New England Folklife, Annual
  Proceedings 1986, Peter Benes, ed. (Boston University Press, 1988), 60-73.

"Furniture and the Domestic Environment in Wethersfield, Connecticut, 1640-1800," Connecticut
  Antiquarian 36:2 (1984): 10-39. Revised and reprinted in Material Life in America, 1600-1860, Robert
  B. St. George, editor (Boston: Northeastern University Press, 1988), 261-290.

"From Wilderness to Arcadian Vale: Material Life in the Connecticut River Valley, 1635 to 1760" and
  "Gravestones" in The Great River: Art and Society of The Connecticut Valley, 1635-1820 (Wadsworth
   Atheneum, Hartford, CT., 1985), 17-27, 485-523. Volume awarded the Harold Hugo
   Memorial Book Prize, Old Sturbridge Village, 1985.

"Where the Bay Meets the River: Gravestones and Stonecutters in the River Towns of Western
  Massachusetts, 1690-1810," Markers III, David Watters, ed. (Association for Gravestone
  Studies, 1985),1-46.

"Mansion People: Class, Kinship and Architecture in Western Massachusetts in the Mid-18th Century,"
  Winterthur Portfolio (Winter 1984):231-255.

“Furniture and furniture making in mid-eighteenth-century Wethersfield, Connecticut” Antiques 125:5
   (May 1984), 1156-1163.



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                                                                                                        4

"River Gods in the Making: The Williams Family in Western Massachusetts," Dublin Seminar for New
   England Folklife, Annual Proceedings 1981, Peter Benes, ed. (Boston University Press, 1982), pp.
   101-116. Reprinted in a Place Called Paradise: 1654-2004, edited by Kerry Buckley (Amherst,
   Mass.: University of Massachusetts Press, 2004), 76-90.



Exhibitions:

2007-2008      Consultant, “Shays’s Rebellion,” N. E. H. Funded Web-Exhibition, Springfield Technical
                Community College and Pocumtuck Valley Memorial Association.

2003-2005      Consultant and Contributor, “The Many Stories of 1704,” N.E.H. Funded Web-exhibition,
                Pocumtuck Valley Memorial Association. 2005 Museums and Webs Award Winner; 2005
                Award of Merit, American Association for State and Local History; 2007 Merlot History
                Classics Award and others.

1984-1985 Consultant and Contributor, "The Great River: Art and Society of the Connecticut Valley, -
            1820” Catalogue awarded Charles F. Montgomery Prize for 1985 by the Decorative Arts
            Society; Award of Merit from the American Association for State and Local History,
            1986; Honorable Mention, E. Harold Hugo Memorial Book Prize, Old Sturbridge Village,
            1986.

1982           Consultant and Contributor, "Two Towns: Concord and Wethersfield - A Comparative
                 Exhibition of Regional Culture, 1635-1850," 1982. N. E. H. Funded Exhibition.


Films/Videos:

2012           Contributor, Cherry Cottage, The Story of an American House, Dave Simonds,
                 Williamstown, Mass.

2009           Contributor, The Forgotten War: The Battle for the North Country, Mountain Lake Public
                  Television, Plattsburg, NY.

2005           Contributor, Captive: The Story of Esther, VisionTV and Aboriginal Peoples
                  Television Network, Canada.

2003           Contributor, New England’s Great River: Discovering the Connecticut,
                  Vermont Public Television, Burlington, VT


Memberships in Professional and Scholarly Societies:

               American Historical Association.
               Colonial Society of Massachusetts.
               Massachusetts Historical Society.
               Organization of American Historians.
               Society of Military Historians
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                                                                                                   5



 Other Professional Activities

 2008-2010   Chair, History Department, Amherst College.
 2005-2007   Chair, American Studies Department, Amherst College.
 2003-2004   Consultant, “Remembering 1704: Context and Commemoration of the Deerfield Raid”
               Pocumtuck Valley Memorial Association and Historic Deerfield, Inc.
 1997-2001   Consultant, "Turns of the Centuries" Project, Pocumtuck Valley Memorial Association.
 1997-1999   Chair, History Department, Amherst College.
 1997-1998   Consultant, Exhibition entitled "Performing Arts: The Refinement of Rural New England,"
              Historic Deerfield., Inc.
 1996-1998   Member, Advisory Committee for the Dickinson Homestead, Amherst College.
 1994-1995   Chair, Committee on Priorities and Resources, Amherst College.
 1993-1995   Chair, American Studies Department, Amherst College
 1992        Consultant, "Forty Acres: A Reinterpretation Initiative," Porter-Phelps-Huntington
               Foundation, Hadley, Mass.
 1991        Consultant, "Furniture-making in Central New England, 1790-1850," Old Sturbridge
               Village.
 1991-1994   Member, Five College Standing Committee on American Indian Studies.
 1986-1989   Member, Five College American Studies Steering Committee.
 1981-1986   Member, Advisory Committee for Historic Deerfield.


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